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         IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT OF MISSOURI

In re:

 JLK CONSTRUCTION, LLC,                           Case No.: 23-50034- btf11
                                                  Chapter 11
                                  Debtor.

 JLK CONSTRUCTION, LLC,                           Adv. Pro. No.

                                 Plaintiff,

 v.

 GFE NY, LLC, a New York limited
 liability company; WHITE ROAD
 CAPITAL, LLC, SERIES 120785, dba
 GFE HOLDINGS, a Delaware limited
 liability company; WHITE ROAD
 CAPITAL, LLC, SERIES 127009 DBA
 GFE HOLDINGS, a Delaware limited
 liability company; PREMIUM
 MERCHANT FUNDING 18, LLC, a
 Delaware limited liability company;
 BOOST CAPITAL GROUP, LLC, a New
 York limited liability company,

                               Defendant.

                         COMPLAINT FOR:
                       DECLARATORY RELIEF;
                             FRAUD;
                              USURY;
                       UNJUST ENRICHMENT;
               AVOIDANCE OF FRAUDULENT TRANSFERS;
                     AVOIDANCE OF TRANSFERS;
             PRESERVATION AND RECOVERY OF TRANSFERS;
                   RACKETEERING (18 U.S.C. § 1962).




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                                             I.
                                   INTRODUCTION,
                            JURISDICTION, AND VENUE
       Plaintiff JLK CONSTRUCTION, LLC, a Missouri limited liability company, the
debtor and debtor-in-possession in the above-entitled case (the “Debtor” or “Plaintiff”)
hereby respectfully alleges and states as follows:
       1.     Plaintiff, a Missouri limited liability company, is the debtor and debtor-in-
possession in the Bankruptcy Case, with the rights, powers, and duties of a trustee. 11
U.S.C. §§1107 and 704.
       2.     At all times herein mentioned, Defendant GFE NY, LLC is a New York
corporation (“GFE”) which is not and was not registered to transact business in the State
of Missouri, and which therefore unlawfully transacted business in the State of Missouri
when it fraudulently induced a small Missouri business, the Plaintiff here, to make
extortionate and fraudulent loans, in violation of MO. REV. STAT. § 347.153 (2015).
       3.     At all times herein mentioned, Defendants in this adversary proceeding is
WHITE ROAD CAPITAL, LLC SERIES 120785, dba GFE HOLDINGS, a Delaware
limited liability company (“WHITE ROAD 1”) which is not and were not registered to
transact business in the State of Missouri, and which therefore unlawfully transacted
business in the State of Missouri when they fraudulently induced a small Missouri
business, the Plaintiff here, to make extortionate and fraudulent loan, in violation of MO.
REV. STAT. § 347.153 (2015).
       4.     At all times herein mentioned, Defendants in this adversary proceeding are
WHITE ROAD CAPITAL, LLC SERIES 127009, dba GFE HOLDINGS, a Delaware
limited liability company (“WHITE ROAD 2”) which are not and were not registered to
transact business in the State of Missouri, and which therefore unlawfully transacted
business in the State of Missouri when they fraudulently induced a small Missouri
business, the Plaintiff here, to make extortionate and fraudulent loan, in violation of MO.
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REV. STAT. § 347.153 (2015). Plaintiff is further informed and believes and based thereon
that GFE, WHITE ROAD 1 and WHITE ROAD 2 are the alter-ego and/or joint-venturer
of the other, and in doing the things alleged herein acted within the course and scope of
such agency, employment, alter-ego and/or in furtherance of the joint venture. Each of
GFE’s, WHITE ROAD 1’s and WHITE ROAD 2’s alleged actions were done with the
permission, consent, and ratification of each other. GFE, WHITE ROAD 1 and WHITE
ROAD 2 are hereinafter collectively referred to as “GFE”.
       5.     At all times herein mentioned, Defendant in this adversary proceeding is
PREMIUM MERCHANT FUNDING 18, LLC, a Delaware limited liability company
with its principal place of business in New York (“PMF”) which is not and was not
registered to transact business in the State of Missouri, and which therefore unlawfully
transacted business in the State of Missouri in violation of MO. REV. STAT. § 347.153
(2015), when it brokered a loans between Plaintiff to make extortionate and fraudulent
loans that Defendants, and each of them, misleadingly labeled a sale of “future receipts”.
Plaintiff is further informed and believes and based thereon alleges that PMF solicits
loans and brokers loans for other lenders who made loans to this Debtor, including, but
not limited to GCM Capital, LLC , in addition to making a loan directly to Plaintiff.
       5.     At all times herein mentioned, Defendant in this adversary proceeding is
BOOST CAPITAL GROUP, LLC, a New York limited liability company (“BOOST”)
which is not and was not registered to transact business in the State of Missouri, and
which therefore unlawfully transacted business in the State of Missouri in violation of
MO. REV. STAT. § 347.153 (2015) when it fraudulently induced a small Missouri
business, the Plaintiff here, to make extortionate and fraudulent loans that Defendants
misleadingly labeled a sale of “future receipts”. Plaintiff is further informed and believes
and based thereon alleges that BOOST solicits loans and brokers loans for other lenders
who made loans to this Debtor, including, but not limited to Alva Advance, LLC, EIN
CAP, FFCG, LLC, and Fundamental Capital, LLC.
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       6.     Plaintiff filed a petition under Chapter 11 of Title 11 of the United States
Code on February 13, 2023 (the “Petition Date”), initiating In re JLK Construction, LLC,
Case No. 23-50034-BTF (the “Bankruptcy Case”).
       7.     Within all times herein mentioned, Plaintiff was insolvent as defined by the
United States Bankruptcy Code, 11 U.S.C. § 101(32).
       8.     The claims in this adversary proceeding arise in and relate to the
Bankruptcy Case.
       9.     The Bankruptcy Court has jurisdiction over this adversary proceeding
pursuant to 28 U.S.C. §§ 157 and 1334(b).
       10.    This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.
§§ 157(b)(2)(A), (E), (F) and (H) and (O).
       11.    If this adversary proceeding is determined to be a non-core proceeding,
Plaintiff consents to the entry of final orders and judgments by the bankruptcy judge.
Plaintiff notifies each Defendant that Fed. R. Bankr. P. 7012(b) requires it to admit or
deny whether this adversary proceeding is a core or non-core proceeding and, if non-core,
to state whether each Defendant consents, or does not consent, to the entry of final orders
or judgment by the bankruptcy judge.
       12.    This adversary proceeding is a civil proceeding arising in and related to the
Bankruptcy Case, and such case is pending before this Court. Accordingly, venue in this
Court is proper under 28 U.S.C. § 1409(a).
       13.    Plaintiff is unaware of the names of other potential defendants who may be
responsible for the unlawful practices, acts, conduct, and occurrences alleged herein.
Plaintiff will seek leave of the Court to amend this Complaint to allege the true names
and capacities of these unknown defendants, and to detail the roles they played once
Plaintiff ascertains their identities and/or their manner of participation in the wrongful
conduct herein described.


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       14.    At all relevant times, as alleged more fully herein, each Defendant acted as
an agent, servant, employee, co-conspirator, alter-ego and/or joint-venturer of the other
Defendant, and in doing the things alleged herein acted within the course and scope of
such agency, employment, alter-ego and/or in furtherance of the joint venture. Each one
of Defendants’ alleged actions was done with the permission and consent of each of the
other Defendants.
       15.    At all relevant times, as alleged more fully herein, PMF was and is a loans
broker for GFE acting as its agent, servant, employee, co-conspirator, alter-ego and/or
joint-venturer of the other and in doing the things alleged herein acted within the course
and scope of such agency, employment, alter-ego and/or in furtherance of the joint venture.
Each act of said Defendants alleged herein was done with the permission and consent of
each of the other Defendants.
       16.    At all relevant times, as alleged more fully herein, BOOST was and is a loan
broker for GFE acting as its agent, servant, employee, co-conspirator, alter-ego and/or
joint-venturer of the other and in doing the things alleged herein acted within the course
and scope of such agency, employment, alter-ego and/or in furtherance of the joint venture.
Each act of said Defendants alleged herein were done with the permission and consent of
each of the other Defendants.
                                            II.
                                FACTUAL BACKGROUND
       17.    Plaintiff is informed and believes, and based thereon alleges that PMF is a
consulting group and loan broker.
       18.    Beginning on or about 2019, Plaintiff received telephone solicitations from
PMF, offering PMF’s Premium Business Financing Service and Custom Small Business
Solutions, which includes credit servicing, credit card processing, bookkeeping, payroll,
SEO (Search Engine Optimization), and employee retention credit program as well as


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Merchant Cash Advances, Line of Credit, Equipment Financing, Mortgage Financing,
Term Loans, Factoring, P.O. Financing, and SBA Loans.
      19.    On or about February 1, 2022 by interstate cell phone communication and
interstate e-mail communication, PMF’s Premium Financing Service pitch to Plaintiff
was that:
             a.     Lenders for which it brokered transactions were legitimate business
             lenders;
             b.     Lenders for which it brokered transactions charged reasonable
             interest rates.
             c.     Loans which it brokered were based on commercially reasonable
             terms that would be repaid from daily or weekly withdrawals from
             Plaintiff’s bank account; and
             d.     Lenders for which it brokered transactions would work with Plaintiff
             just like a bank but would be easier to work with than a bank.
      20.    On or about February 14, 2022, Plaintiff and Defendant PMF executed a
one-year Consulting Agreement pursuant to which PMF contracted to provide a:

             broad array of services and solutions for small businesses. PMF advises
             merchants on reliable, safe, and innovative financing and payments
             solutions combined with individualized attention to provide tailored
             solutions that respond to the various needs of the business, including but
             not limited to Accounting, Payroll Processing, Marketing, Branding and
             more. Our all-inclusive bundle will provide Client with a thorough review
             of the various metrics of their business and provided tailored solutions that
             solve the business’s most pressing needs.

(Emphasis added.) A true and correct copy of PMF’s Consulting Agreement is attached
hereto as Exhibit “1”.
      21.    Pursuant to the Consulting Agreement, Plaintiff agreed to pay a 9% flat fee
commission for PMF’s services payable at the earlier of the (i) completion of any of the
services contemplated by the Consulting Agreement or (ii) the delivery of any financing.


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       20.       Plaintiff is informed and believes, and based thereon alleges that BOOST is
a loan broker.
       21.       Beginning in or about 2020, Plaintiff received interstate telephone
solicitations from BOOST, offering his brokering services.
       22.       BOOST’s lending pitch to Plaintiff was that:
                 a.     Lenders for which it brokered transactions were legitimate business
                 lenders;
                 b.     Lenders for which it brokered transactions charged reasonable
                 interest rates.
                 c.     Loans which it brokered were based on commercially reasonable
                 terms that would be repaid from daily or weekly withdrawals from
                 Plaintiff’s bank account; and
                 d.     Lenders for which it brokered transactions would work with Plaintiff
                 just like a bank but would be easier to work with than a bank.
       23.       When Defendants made the foregoing representations and offered financing
to Plaintiff, Defendants, GFE, PMF, and BOOST, and each of them, were aware of the
following facts:
                 A.     Plaintiff was a Missouri limited liability company;
                 B.     Plaintiff had no regular business operations outside of Missouri; and
                 C.     Plaintiff had no contacts with New York, the stated jurisdiction,
venue, and choice of law designated by the Loans Documents.
       24.       PMF brokered and arranged for Plaintiff to borrow money from GFE for
which Plaintiff paid PMF a commission or referral fee (“Commission Transfers”)
       25.       BOOST brokered and arranged for Plaintiff to borrow money from GFE for
which Plaintiff paid BOOST a commission or referral fee (“Commission Transfers”)
       26.       Defendants made four short term loans to Plaintiff, the terms of which
required daily payments designed to pay the balance over the course of between 111 to
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218 business days, without disclosing that Defendants were charging an interest rate
between 0.3659% daily and .9827% daily, or an imputed annual interest rate between
133% and 358%. As a result, each loan was usurious, extortionate, and unconscionable in
violation of New York, Missouri, and Federal law.
       27.      Plaintiff is informed and believes and based thereon alleges that at all times
herein mentioned, Defendants and each of them, had actual and constructive knowledge
that they were brokering or making loans without disclosing a material term, i.e., the
interest rate that Defendants purported to charge Plaintiff. In fact, Plaintiff alleges that the
interest rate charged by the Defendant to the Plaintiff was exorbitant, unconscionable,
and criminal.
       28.      The Loans Documents do not identify Plaintiff’s receivables that
Defendants purported to purchase by date, percentage, name, or any other identifying
data that demonstrate Plaintiff’s ownership of such receivables. Plaintiff made no
alterations to any of Defendants’ form documents
                                          The Loans
      10.       On or about August 2, 2021, GFE made a Loan of money to Plaintiff in the
amount of $125,000.00 (the “August 2nd Loan”), for which Plaintiff was required to repay
Defendant the sum of $180,000.00 (“Receivables Purchased Amount”) within 139
business days. PMF brokered the loan between Plaintiff and GFE. Attached hereto as
Exhibit “2” is a true and correct copy of the Merchant Agreement (“August 2nd Loan
Documents”) pursuant to which GFE made such Loan to Plaintiff. Plaintiff paid GFE
$97,500.00. Pursuant to the Weekly Advance Addendum to Merchant Agreement,
attached hereto as part of Exhibit “2”, The Loan was broken into 10 weekly amounts.
       11.      The effective daily interest rate on the August 2nd Loan was 0.6858%, or
250.3150% annually, more than the allowable interest rate pursuant to New York,
Missouri, or Federal law.


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      12.     On December 7, 2021, GFE made a loan of money to Plaintiff in the
amount of $600,000.00 (the “December 7th Loan”), for which Plaintiff was required to
repay Defendant the sum of $870,000.00 (“Receivables Purchased Amount”) within 218
business days. PMF brokered the loan between Plaintiff and GFE. Attached hereto as
Exhibit “3” is a true and correct copy of the Merchant Agreement (“December 7th Loan
Documents”) pursuant to which GFE made such loan to Plaintiff. Plaintiff paid GFE $
893,994.00.
      13.     The effective daily interest rate on the December 7th Loan was 0.3659%, or
133.5360% annually, more than the allowable interest rate pursuant to New York,
Missouri, or Federal law
      14.     On July 13, 2022, GFE made a Loan of money to Plaintiff in the amount of
$277,000.00 (the “July 13th Loan”), for which Plaintiff was required to repay Defendants
the sum of $387,523.00 (“Receivables Purchased Amount”) within 156 weeks. PMF
brokered the loan between Plaintiff and GFE. Attached hereto as Exhibit “4” is true and
correct copy of the Merchant Agreement July 13th Loan Documents pursuant to which
GFE made such loan to Plaintiff. Pursuant to the Weekly Advance Addendum to
Merchant Agreement, attached hereto as part of Exhibit “4”, the loan was broken into 18
weekly amounts; the lender only advanced 4 of the of the 18 installments for a total of
$64,331.00. On July 28, 2022, GFE withdrew $63,716.29; in total, Plaintiff paid GFE
$83,207.29.
      15.     The effective daily interest rate on the July 13th Loan was 0.4640%, or
169.350% annually, more than the allowable interest rate pursuant to New York,
Missouri, or Federal law.
      16.     On August 5, 2022, GFE made a loan of money to Plaintiff in the amount of
$50,000.00 (the “August 5th Loan”), for which Plaintiff was required to repay GFE the
sum of $64,950.00 (“Receivables Purchased Amount”) within 111 business days. BOOST
brokered the loan between Plaintiff and GFE. Attached hereto as Exhibit “5” is a true and
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correct copy of the Merchant Agreement (“August 5th Loan Documents “) pursuant to
which it made such loan to Plaintiff. Plaintiff paid GFE $67,421.80. The August 2nd Loan
Documents, December 7th Loan Documents, July 13th Loan Documents and August 5th
Loan Documents are hereinafter collectively referred to as “Loan Documents”.
       17.    The effective daily interest rate on the August 5th Loan was 0.7208%, or
263.10% annually, more than the allowable interest rate pursuant to New York, Missouri,
or Federal law.
       18.    Defendants transmitted the Loan Documents to Plaintiff through interstate
email transmission for signature by DocuSign.
       19.    The Loan Documents violate New York and/or Missouri law because each
one fails to disclose the interest rate, which is a material term of the contract for a loan.
The annual interest rate or cost of funding that Defendants charged to Plaintiff and which
Plaintiff paid was more than 25%, which exceeds the maximum interest rate permitted by
New York law. N.Y. PENAL LAW §190.42.
       20.    Plaintiff relied upon Defendants’ representations and on the basis thereof
accepted the loans offered by them.
       21.    Defendants intentionally failed to disclose a material term of each loan by
failing to disclose the interest rate that Defendants, and each of them, purported to charge
to the Plaintiff by fraudulently labeling the loans sales of “future receipts.” In fact,
nothing Plaintiff sold nothing. The transactions offered and executed were and are loans
of money, notwithstanding the language at “Section 1.9 that “Merchant and GFE agree
that the Purchase Price under this Agreement is in exchange for the Purchased amount
and that such Purchase Price is not intended to be, nor shall be construed as a loan from
GFE to Merchant.”
       22.    Defendants intentionally misled Plaintiff by placing on the first page of the
Loan Documents a percentage rate of 15% that was intended to confuse, mislead, and
trick Plaintiff into believing that the stated percentage was the interest rate for the loans,
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when in fact, the percentage rate related to the percentage of daily receivables to be
deducted from Plaintiff’s bank account until the loans were repaid.
       23.    Defendants knew, or had reason to know, that the loans bore an interest at a
rate of more than 25% per annum.
       24.    Defendants knew, or had reasons to know, that Plaintiff would pay
Defendants interest at a rate more than 25% on all funds received from the loans between
Plaintiff and Defendants.
       25.    At the time the Defendants made the loans to Plaintiff, Defendants were
transacting interstate business in Missouri through repeated and successive transactions
of business with Plaintiff, beginning from the time PMF or BOOST first solicited
Plaintiff’s business as a broker and received commissions therefore, and, from the time
that Defendants made their loans to Plaintiff thereafter withdrew the Loan Transfers
and/or Commission Transfers from Plaintiff’s bank account.
       26.    Defendants violated Missouri law because they were not authorized to
conduct business in Missouri. Defendants continued to do business in the State of
Missouri and to make loans and withdraw money from Plaintiff’s bank account in
Missouri in violation of Missouri law.
       27.    Plaintiff made the series of transfers to GFE identified in Exhibit “6”
attached hereto on account of the August 2nd Loan (“August 2nd Loan Transfers”) from
Plaintiff’s property in the sum of $97,500.00.
       28.    Plaintiff made the series of transfers to GFE identified in Exhibit “7”
attached hereto on account of the December 7th Loan (“December 7th Loan Transfers”)
from Plaintiff’s property in the sum of $893,994.00.
       29.    Plaintiff made the series of transfers to GFE identified in Exhibit “8”
attached hereto on account of the July 13th Loan (“July 13th Loan Transfers”) from
Plaintiff’s property in the sum of $83,207.29.


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         30.   Plaintiff made the series of transfers to GFE identified in Exhibit “9”
attached hereto on account of the August 5th Loan (“August 5th Loan Transfers”) from
Plaintiff’s property in the sum of $67,421.80.
         31.   Plaintiff made transfers to PMF on account of the August 2nd, December 7th
and July 13th Loan (“PMF Commission Transfers”) from Plaintiff’s property in an
amount according to proof.
         32.   Plaintiff made the transfer to BOOST on account of the August 5th
(“BOOST Commission Transfers”) from Plaintiff’s property in an amount according to
proof.
         33.   The transactions represented in the Loan Documents were loans
notwithstanding the “Reconciliation Provision,” Defendants required daily payments, a
security interest in all of Plaintiff’s receivables and, the personal guarantee of the
Plaintiff’s principal. The transactions were loans because the agreements relied on the
Plaintiff’s creditworthiness, rather than the creditworthiness of Plaintiff’s customers, who
owed Plaintiff receivables.
         34.   Defendants had a confidential relationship with the Plaintiff because
Plaintiff relied on and trusted them with the management of Plaintiff’s property when the
Loan Documents dictated that the manner of Plaintiff’s repayment to Defendants was a
daily withdrawal of money directly from Plaintiff’s designated bank account. As a result,
Defendants had a fiduciary duty to Plaintiff.
         35.   When Defendants made the loans to Plaintiff, Defendants knew the
effective annual interest rate was more than 25% and in fact between 169.50% and 358%
and that such rates were unconscionable. Defendants knowingly and intentionally
engaged in loan sharking in Missouri when it made the loans in violation of New York,
Missouri, and Federal Law.




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       36.        The transactions offered by Defendants and accepted by Plaintiff were loans
of money notwithstanding that Defendants described the transaction in each of the Loan
Documents as a sale of “future receipts.”
       37.        Defendants’ Loan Documents provide for recovery of attorneys’ fees and
costs and Plaintiff is therefore entitled to an award of attorneys’ fees and costs pursuant to
Missouri law, MO. REV. STAT. § 455.075 (2022) and New York Law, N.Y. DEBT. &
CRED. LAW § 278(A).
                                FIRST CLAIM FOR RELIEF:
                                   DECLARATORY RELIEF
       38.        Plaintiff alleges Paragraphs 1 through 37, inclusive, as though fully stated
in full herein.
       39.        Plaintiff alleges that the transactions documented by the Loan Documents
were and are void and unenforceable due to Defendants’ status when they made the loans
and because Defendants fraudulently induced Plaintiff to execute the Loan Documents .
       40.        Plaintiff alleges the transactions documented by the Loan Documents were
and are void ab intio and unenforceable pursuant to New York law that provides that for
loans found to be criminally usurious, for the interest rates of more than 25%, the loans
are unenforceable. Defendants’ Loans to Plaintiff were and are criminally usurious. N.Y.
PENAL CODE § 190.42.
       41.        Plaintiff alleges the transactions documented and reflected in the Loan
Documents were loans of money under New York law. Defendants dispute this contention
and alleges the transactions reflected in the Loan Documents are purchases of “future
receipts”, not loans.
       42.        Plaintiff alleges that the transactions documented and reflected in the Loan
Documents were loans of money because Defendant GFE bore the risk of non-
performance because: a) although the Loan Documents contain a reconciliation
provision, Defendant GFE did not permit reconciliation; b) the selection of daily payment
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rates did not represent a good faith estimate of receivables; c) the Loan Documents
provisions permit rejection of an automated debit without prior notice an event of default
entitling Defendant GFE to immediate repayment of the full uncollected purchased
amount; and d) the Loan Documents authorize Defendants GFE to collect on the personal
guaranty in the event of Plaintiff’s inability to pay or bankruptcy.
                            SECOND CLAIM FOR RELIEF:
                                           FRAUD
       43.    Plaintiff alleges Paragraphs 1 through 36, inclusive and Paragraphs 39,
inclusive, through 42, inclusive, as though fully stated in full herein.
       44.    Defendants fraudulently represented to Plaintiff that the interest rates
chargeable for the loans were reasonable and lawful, when in fact the rates were greater
than the allowed rates pursuant to New York law and Federal law, and which are
exorbitant pursuant to Missouri law.
       45.    Defendants knew that the Loan Documents falsely represented that the
transactions were sales of future receipts and intended that Plaintiff would act in the
manner reasonably contemplated by the Loan Documents drafted by the Defendants.
       46.    Plaintiff reasonably relied upon these false representations and was induced
to execute the Loan Documents by these fraudulent and deceitful material falsehoods and
believed Defendants’ statements to be true.
       47.    Plaintiff was damaged by the above-described fraud in a sum of not less
than $1,142,123 on account of the Loans Transfers and in a sum according to proof on
account of the Commission Transfers.
       48.    PMF’s conduct with respect to Plaintiff was egregious and directed at
Plaintiff by charging it interest rate that is more than the interest rate that is considered
criminal usury and in fact, felonious usury pursuant to New York law, which was a
pattern of activity directed to the public generally and Plaintiff is entitled to punitive
damages in the sum of $100,000.00.
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          49.   Boost’s conduct with respect to Plaintiff was egregious and directed at
Plaintiff by charging it interest rate that is more than the interest rate that is considered
criminal usury and in fact, felonious usury pursuant to New York law, which was a
pattern of activity directed to the public generally and Plaintiff is entitled to punitive
damages in the sum of $100,000.00.
          50.   GFE’s conduct with respect to Plaintiff was egregious and directed at
Plaintiff by charging it interest rate that is more than the interest rate that is considered
criminal usury and in fact, felonious usury pursuant to New York law, which was a
pattern of activity directed to the public generally and Plaintiff is entitled to punitive
damages in the sum of $3,000,000.00.
                              THIRD CLAIM FOR RELIEF:
                                           USURY
          51.   Plaintiff alleges Paragraphs 1 through 37, inclusive and Paragraphs 39
through 42, inclusive, and Paragraphs 44 through Paragraph 50, inclusive as though fully
stated in full herein.
          52.   Defendants knowingly, willfully, and intentionally charged interest on the
sums advanced pursuant to the loans more than New York’s usury limitations.
          53.   Defendants charged interest rates on the loans more than the 25% usury
limitations in N.Y. DEBT. & CRED. PENAL LAW § 190.42 makes it a criminal offense to
charge an effective interest rate of more than 25% but less than 45%.
          54.   Defendants charged interest rates on the loans of more than 45%, in
addition to other fees that are usurious and extortionate themselves. N.Y. DEBT. & CRED.
PENAL LAW § 190.42 provides that interest rates that exceed 45% are punishable as
felony.
          55.   The loans to Plaintiff are criminally usurious, compelling forfeitures of
interest.


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       56.     The loans to Plaintiff are criminally usurious and are therefore
unenforceable.
       57.     Plaintiff is entitled to an award of attorneys’ fees and costs.
                                    FOURTH CLAIM FOR RELIEF:
                                       UNJUST ENRICHMENT
       58.     Plaintiff alleges Paragraphs 1 through 37, inclusive and Paragraphs 39
through 42, inclusive, Paragraphs 44 through Paragraph 50, Paragraphs 52 through
Paragraph 57, inclusive, as though fully stated in full herein.
       59.     Defendants unjustly retained benefits at Plaintiff’s expense.
       60.     Defendants financially benefitted at the Plaintiff’s expense from the loans;
equity and good conscience require restitution in the amount of at least $1,142,123,
Plaintiff’s payments to GFE as well as Plaintiff’s payments to PMF and
BOOST(“Commission Transfers”) in an amount according to proof, as well as by the loss
of business to Plaintiff.
       61.     There is a lack of remedy under the law.
                               FIFTH CLAIM FOR RELIEF:
                     AVOIDANCE OF FRAUDULENT TRANSFER
                   (11 U.S.C. § 548(a)(l)(B), MO. REV. STAT. § 428.024,
                             N.Y. DEBT. & CRED. LAW §§ 270-280)
       62.     Plaintiff alleges Paragraphs 1 through 37 inclusive, as though fully stated in
full herein.
       63.     Defendants withdrew the Loan Transfers and Commission Transfers from
the Plaintiff’s bank accounts within two years before the date of the filing of Plaintiff’s
Petition.
       64.     Plaintiff did not receive reasonably equivalent value for the Loan Transfers
and Commission Transfers.


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       65.    At the time Plaintiff made the Loan Transfers and Commission Transfers,
Plaintiff was insolvent or became insolvent because of such transfers for the following
reasons:
              A.     The sum of Plaintiff’s debts was greater than the value all of
Plaintiff’s property, determined at a fair valuation;
              B.     Plaintiff was engaged or was about to engage in a business or a
transaction for which Plaintiff's remaining assets were unreasonably small in relation to
the business or transaction; and
              C.     Plaintiff intended to incur, or it believed or should have reasonably
believed that it would incur, debts beyond its ability to pay as they became due thereafter.
       66.    The Loan Transfers and Commission Transfers are avoidable pursuant to 11
U.S.C. § 548(a)(l)(B) and the Missouri Uniform Fraudulent Transfer Act, MO. REV. STAT.
§ 428.024 and the Uniform Voidable Transactions Act, N.Y. DEBT. & CRED. LAW §§ 270-
280. Plaintiff is entitled to a judgment for relief in no less than the sums on account of the
Loan Transfers in the sum of $1,142,123 and in an amount according to proof on account
of the Commission Transfers, and for a declaration that loans are void, in addition to
attorneys’ fees.
                             SIXTH CLAIM FOR RELIEF:
                            AVOIDANCE OF TRANSFERS
                                      (11 U.S.C. § 544)
       67.    Plaintiff alleges Paragraphs 1 through 37 inclusive, and Paragraphs 63
through 67, inclusive, as though fully stated in full herein.
       68.    Defendants withdrew the Loan Transfers and Commission Transfers from
the Plaintiff’s bank accounts.
       69.    Plaintiff did not receive reasonably equivalent value for the Loan Transfers
or Commission Transfers.


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       70.     At the time Defendants withdrew from Plaintiff’s bank account for the
Loan Transfers and Commission Transfers, Plaintiff was insolvent or became insolvent
because of such transfers for the following reasons:
               A.     The sum of Plaintiff’s debts was greater than the value all of
               Plaintiff’s property, determined at a fair valuation;
               B.     Plaintiff was engaged or was about to engage in a business or a
               transaction for which Plaintiff’s remaining assets were unreasonably small
               in relation to the business or transaction; and
               C.     Plaintiff intended to incur, or it believed or reasonably should have
               believed that it would incur, debts beyond its ability to pay as they became
               due thereafter.
       71.     The Plaintiff made the Loan Transfers and Commission Transfers at a time
when Plaintiff owed money to at least one creditor, and such creditor holds an unsecured
claim that is allowable pursuant to 11 U.S.C. § 502.
       72.     The Loan Transfers and Commission Transfers are avoidable pursuant to 11
U.S.C. § 544 and the Missouri Uniform Fraudulent Transfer Act, MO. REV. STAT. §
428.024 as well as the Uniform Voidable Transactions Act, N.Y. DEBT. & CRED. Law
§§ 270-280.
                            SEVENTH CLAIM FOR RELIEF
                PRESERVATION AND RECOVERY OF TRANSFERS
                                 ( 11 U.S.C. § 550)
       73.     Plaintiff alleges Paragraphs 1 through 37, inclusive and Paragraphs 63
through 66 inclusive, and Paragraphs 68 through 72, inclusive, as though fully stated in
full herein.
       74.     The Loan Transfers and the Commission Transfers are avoidable pursuant
to 11 U.S.C. § 544, 11 U.S.C. § 547, 11 U.S.C. § 548, the Missouri Uniform Fraudulent


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Transfer Act, MO. REV. STAT. § 428.024 as well as the Uniform Voidable Transactions
Act, N.Y. DEBT. & CRED. Law §§ 270-280.
       75.    Plaintiff moves to preserve and recover each of them as provided by 11
U.S.C. §§ 550 and 551, as more fully set forth in the Fifth and Sixth Claims for Relief.
                           EIGHTH CLAIM FOR RELIEF:
                                           RICO
                                  (18 U.S.C. §1961 et. seq.)
       76.    Plaintiff alleges Paragraphs 1 through 37, inclusive, Paragraphs 39 through
42, inclusive, Paragraphs 44 through 50, inclusive, Paragraphs 52 through 57, inclusive,
and Paragraphs 59 through Paragraphs 61, inclusive, as though fully stated in full herein.
       77.    This claim against Defendants GFE, PMF and BOOST for civil liability is
premised upon 18 U.S.C. § 1961, et. seq., also known as the Racketeer Influence and
Corporate Organizations Act (“RICO”).
       78.    As alleged herein, Defendants’ actions fall within the scope of this statute,
pursuant to 18 U.S.C. § 892:

       (a)     Whoever makes any extortionate extension of credit, or conspires to do so,
shall be fined under this title, or imprisoned not more than 20 years, or both.
       (b)    In any prosecution under this section, if it is shown that all the following
factors were present in connection with the extension of credit in question, there is prima
facie evidence that the extension of credit was extortionate, but this subsection is
nonexclusive and in no way limits the effect or applicability of subsection (a):
      (1)     The repayment of the extension of credit, or the performance of any
promise given in consideration thereof, would be unenforceable, through civil judicial
processes against the debtor (A) in the jurisdiction within which the debtor, if a natural
person, resided or (B) in every jurisdiction within which the debtor, if other than a natural
person, was incorporated or qualified to do business at the time the extension of credit
was made.
         (2)    The extension of credit was made at a rate of interest in excess of an annual
rate of 45 per centum calculated according to the actuarial method of allocating payments
made on a debt between principal and interest, pursuant to which a payment is applied
first to the accumulated interest and the balance is applied to the unpaid principal.
       (3)    At the time the extension of credit was made, the debtor reasonably
believed that either (A) one or more extensions of credit by the creditor had been
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collected or attempted to be collected by extortionate means, or the nonrepayment thereof
had been punished by extortionate means; or (B) the creditor had a reputation for the use
of extortionate means to collect extensions of credit or to punish the nonrepayment
thereof.
       (4)     Upon the making of the extension of credit, the total of the extensions of
credit by the creditor to the debtor then outstanding, including any unpaid interest or
similar charges, exceeded $100.
         79.   GFE and PMF are employed by or associated with the enterprise.
         80.   GFE and PMF engaged in an enterprise whose activities affect interstate
commerce by use of wire fraud, using telecommunications and information technology to
continually make withdrawals directly from Plaintiff’s bank account to collect the
amounts asserted to be due pursuant to the Loan Documents .
         81.   GFE and PMF agreed to and did engage in an enterprise by their conduct in
the enterprise’s affairs through a pattern of racketeering activity and for the unlawful
purpose of intentionally defrauding Plaintiff as detailed in the allegations above and to
charge unconscionable, undisclosed, and criminally usurious interest rates to Plaintiff, to
engage in loan sharking or predatory lending across state lines use of wire fraud.
         82.   GFE and BOOST are employed by or associated with the enterprise.
         83.   GFE and BOOST engaged in an enterprise whose activities affect interstate
commerce by use of wire fraud, using telecommunications and information technology to
continually make withdrawals directly from Plaintiff’s bank account to collect the
amounts asserted to be due pursuant to the Loan Documents .
         84.   GFE and BOOST agreed to and did engage in an enterprise by their
conduct in the enterprise’s affairs through a pattern of racketeering activity and for the
unlawful purpose of intentionally defrauding Plaintiff as detailed in the allegations above
and to charge unconscionable, undisclosed, and criminally usurious interest rates to
Plaintiff, to engage in loan sharking or predatory lending across state lines use of wire
fraud.
         85.   Defendant PMF and/or BOOST brokered and Defendant GFE executed
loans with Plaintiff, as a result of which Defendants withdrew the Loan Transfers and/or
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Commission Transfers from Plaintiff’s bank account from August 2021 through
November 2022 as a regular means of collecting on the loans, which was an unlawful
debt.
        86.    Defendants engaged in a pattern of racketeering by charging criminal and
felonious interest rates to Plaintiff over the entire period of time during which Defendants
withdrew payments from Plaintiff’s bank account. As a direct and proximate result of
Defendants’ racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiff has
been injured in its business and property as its business revenues have declined, it has lost
millions in value, its business reputation has been severely damaged in the community, it
has been rendered insolvent, and it has been forced to seek relief pursuant to Chapter 11
of the United States Bankruptcy Code and pay or will pay all of the costs associated with
a Chapter 11 filing, including attorneys’ fees for the prosecution of this adversary
proceeding.
        87.    Plaintiff requests that this Court enter a judgment against EIN CAP and
NAFTALI in the amount of Plaintiff’s actual damages, plus treble damages, and
attorney’s fee.
                                  PRAYER FOR RELIEF
        WHEREFORE, Plaintiff prays for a judgment as follows:
        On its First Claim for Relief for Declaratory Relief that:
        1.     The transactions in the Loan Documents are loans of money under
applicable law;
        2.     Defendants were unlawfully doing business in Missouri when they made
the loans;
        3.     The contracts in the Loan Documents are unenforceable and/or void;
        4.     Since the contracts in the Loan Documents are void and unenforceable any
repayments of principal and interest made with respect to the alleged obligations therein
were made for no consideration.
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       5.        The Loan Documents violate applicable law because each one fails to
disclosure a material term of the loans by failing to state the interest rate(s);
       6.        For recovery of principal, interest and commissions paid to Defendants by
Plaintiff; and
       7.        For attorneys’ fees and court costs.
       On Plaintiff’s Second Claim for Relief for Fraud:
       8.        For a judgment for fraud against Defendants;
       9.        For recovery of principal and interest paid to GFE by Plaintiff because of
the Loan Transfers in the sum of $1,142,123;
       10.       For recovery of the Commission Transfers paid to PMF because of the
Commission Transfers in a sum according to proof;
       11.       For recovery of the Commission Transfers paid to BOOST because of the
Commission Transfers in a sum according to proof;
       12.       Punitive damages in the sum of no less than $3,000,000.00 against GFE;
       13.       Punitive damages in the sum of no less than $100,000.00 against PMF;
       14.       Punitive damages in the sum of no less than $100,000.00 against BOOST;
       On the Third Claim for Relief for Usury:
       15.       For a judgment preserving and recovering for the benefit of the estate the
interest paid to Defendants on account of the loans, plus a penalty equal to be trebled the
interest that Plaintiff paid Defendant on account of the loans pursuant to applicable law
       16.       Declaring the loans unenforceable; and
       17.       For attorneys’ fees and costs
       On the Fourth Claim for Relief for Unjust Enrichment:
       18.       For a judgment that Defendants have unjustly retained the benefit at
Plaintiff’s expense;




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       19.    For an order of restitution in the amount of at least $1,142,123 on account
of the Loan Transfers to GFE, as well as damages by the loss of business to Plaintiff,
according to proof;
       20.    For an order of restitution on account of the PMF Commission Transfers as
well as damages by the loss of business to Plaintiff, according to proof;
       21.    For an order of restitution on account of the BOOST Commission Transfer;
account of the Commission Transfers, as well as damages by the loss of business to
Plaintiff, according to proof;
       On Plaintiff’s Fifth Claim for Relief Avoidance of Fraudulent Transfers:
       22.    For a judgment avoiding the Loan Transfers; and
       23.    For a judgment avoiding the Commission Transfers.
       On Plaintiff’s Sixth Claim for Relief for Avoidance of Transfers:
       24.    For a judgment avoiding the Loan Transfers; and
       25.    For a judgment avoiding the Commission Transfers.
       On the Seventh Claim for Relief for Preservation and Recovery of Transfers:
       26.    For a judgment preserving and recovering for the benefit of the estate the
avoidable transfers described in the Fifth and Sixth Claims for Relief as provided in 11
U.S.C. §§ 550 and 551.
       On the Ninth Claim for Relief for RICO:
       27.    For a judgment against Defendants in the amount of the Plaintiff’s actual
damages, and attorneys’ fees and costs as provided by law for no less than $1,000,000.00,
to be trebled as allowed by applicable law.
       On all Claims for Relief:
       28.    For such other and further relief as the Court deems just and proper.

Dated: October 24, 2023             THE FOX LAW CORPORATION, INC.



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                                 By: /s/ Steven R. Fox
                                 Steven R. Fox, CA State Bar No. 138808
                                 17835 Ventura Blvd, Suite 306,
                                 Encino, California A 91316
                                 Tel: (818) 774-3545; Fax (818) 774-3707
                                 Srfox@foxlaw.com

                                 EVANS & MULLINIX, P.A.


                                 By: /s/ Colin N. Gotham
                                 Colin N. Gotham, KS #19538; MO#52343
                                 7225 Renner Road, Suite 200
                                 Shawnee, KS 66217
                                 Tel: (913) 962-8700; Fax: (913) 962-8701
                                 cgotham@emlawkc.com

                                 Counsel for Debtor-in-Possession, JLK
                                 Construction, LLC




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 Exhibit “2”           August 2, 2021 Loan Documents
 Exhibit “3”           December 7, 2021 Loan Documents
 Exhibit “4”           July 13, 2022 Loan Documents
 Exhibit “5”           August 5, 2022 Loan Documents
 Exhibit “6”           August 2nd Loan Transfers
 Exhibit “7”           December 7th Loan Transfers
 Exhibit “8”           July 13th Loan Transfers
 Exhibit “9”           August 5th Loan Transfers




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                                                                          GLOBAL FUNDING EXPERTS
                                                          2701 QUEENS PLAZA NORTH, SUITE 802, LONG ISLAND CITY, NY 11101
Ir                                                                           Tel: 1-877-253-7686, Fax: 718-504-3736
It                                                   Website: 1\'WW.globatrundingexperts.com I Email: undenvritlng@globalfundlngexperts.com



                                                                           MERCHANT AGREEMENT
     Agreement dated                    12/0712021         between GFE NY, LLC ("GFE") and the Merchant listed below ("MERCHANT")
                                    (Month) (Day) (Year)

                                                                               MERCHANT INFORMATION

       M~a:bao1':i I ~1.tal Haws:r                                          JLK CONSTRUCTION, LLC.
       ~                                                                    JLK CONSTRUCTION, LLC.
       State QfTni;:2m2ratiQn l Qrgani~!i"Ul'                               MO
       TYJle ofBusiness Entitl;:j                                           LLC
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       Ml!iling A!Jslrsi1.i:r                                               18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
       Priminl'. ~Qnta!i;;t & N11w:Q~r                                      JESSE LEE KAGARICE

                                                                  PURCHASE AND SALE OF FUTURE RECEIVABLES

     Merchant ("Merchant"), 'in consideration of the funds provided to Merchant by GFE as specified below ("Purchase Price"), hereby sells, assigns and transfers to GFE (making GFE the
     absolute owner) the Specified Percentage indicated below of all of Merchant's future accounts, contract rights and other entitlements arising from or relating to the payment of monies
      from Merchant's customers' and/or other third party payors (the "Receipts") defined as all payments made by cash, check, electronic transfer or other fonn of monetary payment in the
     ,.ordinacy course of the Merchant's business, for the payments due to Merchant as a result of Merchant's sale of goods or services (the "Transactions") until the amount specified below
      (the "Purchased Amount") has been delivered by or on behalf of Merchant to GFE.

     The Purchased Amount shall be paid to GFE by Merchant irrevocably directing und authorizing that there be only one depositing bank account, which account must be acceptable to and
     pre-approved by GFE (the "Account'') into which Merchant and Merchant's customers shall remit the percentage specified below (the "Specified Percentage'') of the Merchant's
     settlement amounts due from each Transaction, until such time as GF:E receives payment in full of the Purchased Amount. Merchant hereby authorizes GFE to ACH Debit the specified
     remittances from the MerChant's Account on the frequency outlined herein below in the "Specified Remittance Amount & Frequency" box and will provide GFE with all required
     access codes and monthly bank statements. Merchant understands that it is responsible for ensuring that the Specified Percentage to be debited by GFE remains in the Account and will
     be held responsible for any fees incurred by GFE resulting from a rejected ACH attempt or an event of default. {See Appendix A) GFE is not responsible for any overdrafts or rejected
     transactions that may result from GFE's ACH debiting the specified amounts under the terms of this agreement. GFE will debit the specified remittance amount during a business day
     based on the frequency outlined herein below in the "Specified Remittance Amotmt & Frequency" box. The Merchant shall deliver to GFE, no later than the 18th date of each month the
     bank statement for the Account in respect of the immediately preceding month. Within three business days ofGFE's receipt of the Merchant's monthly bank statements, GFE shall
     reconcile the Merchant's Account by either crediting or debiting the difference from or back to the Merchant's Account so that the amount debited per month equals the Specified
     Percentage. If the Merchant fails to deliver the bank statement for the Account for any month, GFE shall consider t11at the specific remittances were equal to the Specified Percentage of
     the settlement amotmt due from each Transaction for such month. GFE may, upon Merchant's request, adjust the amount of any payment due under this Agreement at GFE's sole
     discretion and as it deems appropriate. Notwithstanding anything to the contrary in this Agreement or any other agreement between GFE and Merchant, upon the violation of any
     provision contained in Section 1.11 of the MERCHANT AGREEMENT TERMS AND CONDITIONS or the occurrence of an Event ofDefault under Section 3 of the MERCHANT
     AGREEMENT TERMS AND CONDITIONS, the Specified Percentage shall equal lOOo/o. A list of all fees applicable under this Agreement is contained in Appendix A.

        ORIGINAL OFFER:
       Total Purchase PriCe:                                      $600,000.00                  Merchant'§: A:y:erage Monthll'. Revenue:                        $1,159,953.39
       Purchased Amount of Receivables:                           $870,000.00                  Suecified Percentage of Monthly Revenue:                         15o/o
       TQtal Fee~*:                                               $0.00                        ~yecified Remittance Amount & Freguen~;                         $3,999.00 I Daily
       Net Funded Amount**:                                       $600,000.00                  Initial Estimated# of Remittance PaJ:'.!!!ents:                 218

     *This amount reflects the total fees Merchant will pay at funding. See Appendix A for a complete breakdown of fees.
     **This amount reflects the total funds Merchant will receive after all the fees and balance transfers are deducted from the Total Purchase Price. See Balance Transfer Form
      for a complete breakdown of the remaining RTR balances,
      ***If an Early Payment Addendum has been executed by GFE and the Merchant, the promotional early termination discount referenced above shall be applicable subject to
      the terms and conditions set forth In the Early Payment Addendum.

      The Total Purchase Price may also be paid incrementally over time, in the increments and in the SpecillC Remittance Amounts set forth In the Attachment A Addendum
      annexed hereto.


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     TIIE MERCHJ'NT AGREEMENT TERMS AND CONDITIONS SET FORTH ON PAGE 2, THE "SECURITY AGREEMENT AND GUARANTY" AND THE
     "ADMINISTRATIVE FORM HEREOF, ARE ALL HEREBY INCORPORATED IN AND MADE A PART OF THIS MERCHANT AGREEMENT. BY SIGNING
     BELOW,MERCHANTHEREBYREPRESENTSANDWARRANTSTHATNOTIIINGCONTAINEDHEREINISFALSE,:MISLEADING,ANDTHATMERCHANT
     HASNOTFAILEDTODISCLOSEANYMATERIALINFORMATIONTOOBTAINFUNDINGFROMGFE.


      i\ll:ncllAN I (#1)                                   Signature
      Full Name:              JESSE LEE KAGARICE           Home Address:
      Title                    Sole Member                 Cell Phone Number:
      Social Security No:                                  Home or Secondary Number:
      Driver License No:                                   Email:                      jesse@jlkconstruction.com


      O\VNI:R I GUAH.AJ';'I OR (#1)                        Signature
      Full Name:              JESSE LEE KAGARICE           Home Address:
      Title                    Sole Member                 Cell Phone Number:
      Social Security No:                                  Home or Secondary Number:
      Driver License No:                                   Email:                      jesse@jlkconstntction.com




     GFENY,LLC
     By:

                               (Company Officer)




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                                           MERCHANT AGREEMENT TERMS AND CONDITIONS
             '
I. TERMS OF ENROLLMENT IN PROGRAM
1. 1 Merchant Deposit Agreement. Merchant shall execute an agreement (the "Merchant Deposit Agreement") acceptable to GFE with a Bank
acceptable to GFE to obtain electronic fund transfer services for the Merchant's account at the Bank approved by GFE (the "Account"). Merchant shall
provide GFE and/or its authorized agent(s) with all of the information, authorizations and passwords necessary for verifying Merchant's receivables,
receipts, deposits and withdrawals into and from the Account. Merchant hereby authorizes GFE and/or its agent(s) to deduct from the Account the
amounts owed to GFE for the receipts as specified herein and to pay such amounts to GFE. Merchant also hereby authorizes GFE to withdraw from the
Account the Specified Percentage(s) and/or sums by GFE debiting the account. These authorizations apply not only to the approved Account but also to
any subsequent or alternate account used by the Merchant for these deposits. whether pre·approved by GFE or not. This additional authorization is not a
waiver of GFE's entitlement to declare this Agreement breached by Merchant as a result of its usage of an account which GFE did not first pre· approve in
writing prior to Merchant's usage thereof. The aforementioned authorizations shall be irrevocable without the written consent ofGFE.
Merchant understands and agrees that this Agreement, including the authorizations to access Merchant's accounts (including the Account) set. forth
herein. as well as all other payment processing agreements entered into with respect to the Transactions irrevocably authorize the processor of such
payments {the "Processor") and Operator to pay the cash attributable to the Specified Percentage of Receivables to GFE rather than to Merchant until
GFE receives the cash attributable to the entire Specified Amount of Future Receivables from Processor and Operator. Merchant and Guarantor(s)
authorize GFE and its agents: i) to investigate Merchant's financial status and history, and wi11 provide to GFE any authorizations. bank or financial
statements, tax returns, etc., as GFE deems necessary in its sole and absolute discretion prior to or at any time after execution of this Agreement. and ii) to
update such infonnation and financial .and credit profiles from time to time as GFE deems appropriate. Merchant hereby authorizes all of its banks.
brokers. processors and customers to·provide GFE with Merchant's bank statements, brokerage statements, processing history and such other statements
and infonnation as GFE may in its sole discretion require to determine Merchant's and Guarantor's qualification or continuation in this program and for
collections purposes. Merchant shall provide GFE w_ith copies of any documents related to Merchant's card processing activity or financial and banking
affairs within five days after a request from GFE.
These authorizations and instructions may be revoked only with the prior written consent of GFE. Merchant agrees that Processor and Operator may rely
upon the instructions ofGFE, without any independent verification, in making the cash payments above. Merchant waives any claim for damages it may
have against Processor or Operator in connection with actions· taken based on instructions from GFE, unless such damages were due to such Processor's
or Operator's failure to follow GFE's instructions. Merchant acknowledges and agrees that (a) Processor and Operator will be acting on behalf ofGFE
with respect to the specified Percentage of Receivables until cash attributable to the entire Specified Amount of Future Receivables has been remitted by
Processor and Operator to GFE, (b) Processor and Operator may or may not be affiliates of GFE, (c) GFE does not have any power or authority to control
Processor's or Operator's actions with respect to the processing of Card transactions or remittance of cash to GFE, (d) GFE is not responsible and shall
not be liable for, and Merchant agrees to hold GFE hannless for, the actions of Processor and Operator, and (e) funds representing the Specified
Percentage of Receivables in the possession of Processing or Operator constitute property owned solely by GFE, and Merchant disclaims any and all
interest therein. For purposes of this Agreement, the tenn "Operator" shall mean GFE or any person or entity designated by GFE to debit or otherwise
withdraw (via the.Automated Clearing House ("ACH") system, electronic checks, wires, or otherwise) any amounts from Merchant's or principal(s)
accounts as authorized or permitted by this Agreement.
1.2 Term of Agreement. This Agreement shall remain in full force and effect until the entire "Purchased Amount" is received by GFE as per the tenns of
this Agreement. The termination of this Agreement shall not affect Merchant's continuing obligation and responsibility to fully satisfy all outstanding
obligations that are due to GFE.
1.3 Future Purchases. GFE reserves the right to rescind the offer to make any purchase payments hereunder, in its sole and absolute discretion,
1.4 Financial Condition. Merchant and Guarantor(s) (as hereinafter defined) authorize GFE. its agents and representatives, as well as any credit reporting
agency engaged by GFE, i) to investigate their financial responsibility and history, including any references given or any other statements or data obtained
from or about Merchant or any of the Guarantor{s); ii) to obtain consumer and business credit reports on the Merchant and Guarantor(s); iii) to contact any
current or prior bank of the Merchant in order to obtain whatever infonnation it may require regarding any and a11 of Merchant's transactions with any
such bank, .including, but not limited to applications, bank statements, financial statements and tax returns; and {iv) to contact personal and business
references provided by the Merchant or Guarantor(s), at any time now or for so long as Merchant and/or Guarantor(s) continue to have any obligation
owed to GFE as a consequence of this Merchant Agreement or for GFE's ability to detennine Merchant's eligibility to enter into any future agreement
with GFE. Merchant and Guarantor(s) will further provide to GFE any authorizations, bank or financial statements, tax returns, etc., as GFE deems
necessary in its sole and absolute discretion prior to or at any time after execution of this Agreement. A photocopy of this authorization will be deemed as
acceptable as an authorization for release of financial and credit infonnation. GFE is authorized to update such infonnation and financial and credit
profiles from time to time as it deems appropriate. Merchant and Guarantor(s) acknowledge and agree that all infonnation (financial and other) provided
by or on behalf of Merchant and Guarantor(s) has been relied upon to GFE in connection with its decision to purchase the Specified Amount of Future
Receivables from Merchant.
1.5 Transactional Historv. Merchant authorizes all of their banks and brokers to provide GFE with Merchant's banking, brokerage and/or processing
history to detennine qualification or continuation in this program. Merchant herby (i) authorizes GFE to contact any past, present or future processor of
Merchant, its predecessors or affiliates, to obtain any infonnation that GFE deems necessary or appropriate regarding any of their transactions with such
processors, and (ii) authorizes and directs such processors to provide GFE with all such infonnation in compliance with this Section. Such infonnation
may include infonnation to verify the amount of Card receivables previously processed on behalf of Merchant, its predecessors or affiliates, and any
amounts that may have been paid to. offset, held or reversed by, such processors. Without limiting the generality of the foregoing, Merchant authorizes
GFE to contact any past, present or future processor ofMerchanl:, its predecessors or affiliates, to confinn that Merchant is exclusively using the Processor
accepted by GFE in accordance with this Agreement.
1.6 Indemnification. Merchant and Guarantor(s) jointly and severally indemnify and hold harmless Processor and Operator, their respective officers,
directors, affiliates, employees, agents, representatives and shareholders against all losses, damages, claims, liabilities and expenses (including reasonable


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attorney's te.es) suffered or incurred by Processor or Oper~tor resulting from (a) claims asserted by GFE for monies owed to CiFE from Merchant and (b)
actions taken by Processor in reliance upon any fraudulent, misleading or deceptive information or instructions provided by GFE.
1.7 No Liability. In no event will Processor, Operator or GFE be liable for any claims asserted by Merchant or Guarantors under any legal theory or law,
including any tort or contract theory for lost profits, Jost revenues, lost business opportunities, exemplary, punitive, special, incidental, indirect or
consequential damages, each of which is waived by both Merchant and Guarantor(s). In the event these claims are nonetheless raised, Merchant and
Guarantors will be jointly liable for all of GFE's legal fees and expenses resulting therefrom.
 1.8 Reliance on Terms. Section 1.1, 1.7, 1.8 and 2.5 of this Agreement are agreed to for the benefit of Merchant, GFE and Processor, and
 notwithstanding the fact that Processor is not a party of this Agreement, Processor may rely upon their terms and raise them as a defense in any action.
1.9 Sale of Receipts. Merchant and GFE agree that the Purchase Price under this Agreement is in exchange for the Purchased Amount, and that such
Purchase Price is not intended to be, nor shall it be construed as a loan from GFE to Merchant. Merchant agrees that the Purchase Price is in exchange for
the Receipts pursuant to this Agreement, and that it equals the fair market value of such Receipts. GFE has purchased and shall own all the Receipts
described in this Agreement up to the full Purchased Amount as the Receipts are created. Payments made to GFE in respect to the full amount of the
Receipts shall be conditioned upon Merchant's sale of products and services, and the payment therefore by Merchant's customers in the manner provided
in Section 1.1. In no event shall the aggregate of all amounts or any portion thereof be deemed as interest hereunder, and in the event it is found to be
interest despite the parties hereto specifically representing that it is NOT interest,. - it shall be found that no sum charged or collected hereunder shall
exceed the highest rate pennissible at law. In the event that a court nonetheless detennines that GFE has charged or received interest hereunder in excess
of the highest applicable rate, the rate in effect hereunder shall automatically be reduced to the maximum rate pennitted by applicable law and GFE shall
promptly refund to Merchant any interest received by GFE in excess of the maximum lawful rate, it being intended that Merchant not pay or contract to
pay, and that GFE not receive or contract to receive, directly or indirectly in any manner whatsoever, interest in excess of that which may be paid by
Merchant under applicable law. Merchant is not a debtor to GFE as of the date of this Agreement. As a result thereof, Merchant knowingly and willingly
waives the defense of Usury in any action or proceeding.
1.10 Power of Attorney. Merchant irrevocably appoints GFE as its agent and attorney-in-fact with full authority to take any action or execute any
instrument or document to settle all obligations due to GFE from Processor, or in the case of a violation by Merchant of Section 1.12 or the occurrence of
an Event of Default under Section 4 hereof, from Merchant, under this Agreement, including without limitation (i) to obtain and adjust insurance; (ii) to
collect monies due o.r to become due under or in respect of any of the Collateral; (iii) to receive, endorse and collect any checks, notes, drafts, instruments,
documents or chattel paper in connection with clause (i) or clause (ii) above; (iv) to sign Merchant's name on any invoice, bill of lading, or assignment
directing customers or account debtors to make payment directly to GFE; and (v) to file any claims or take any action or institute any proceeding which
GFE may deem necessary for the collection of any of the unpaid Purchased Amount from the Collateral, or otherwise to enforce its rights with respect to
payment of the Purchased Amount. In connection therewith, all costs, expenses and fees, including legal fees, shall be payable by and from Merchant, and
GFE is authorized to use Merchant's funds to pay for same. In addition to any other remedies available for violation of the Merchant's Contractual
Covenants, in the event that Merchant changes or pennits the change of the Processor accepted by GFE or utilizes the services of an additional Processor,
GFE shall have the right, without waiving any of its rights or remedies and without notice to Merchant or Principal(s), to notify the new or additional
Processor of the sale of the Specified Amount of Future Receivables hereunder and to direct such new or additional Processor to make payment to GFE of
all or any portion of the amounts received or held by such Processor for or on behalf of Merchant to pay any amounts GFE is entitled to receive
hereunder. Merchant hereby grants GFE an irrevocable power of attorney, which power of attorney shall be coupled with an interest, and hereby appoints
GFE and its designees as Merchant's attorney-in-fact, to take any and all actions necessary and appropriate to direct such new or additional Processor to
make payment to GFE as contemplated by this Section. Merchant further hereby grants GFE an irrevocable power of attorney, which power of attorney
shall be coupled with an interest, and hereby appoints GFE and its designees as Merchant's attorney-in-fact, to execute any alI documents in the
Merchant's name sufficient to provide and perfect any security interest granted by Merchant to GFE hereunder, including but not limited to security
interests in motor vehicles and real estate.
 1.11 Protections against Default. The following Protections 1 through 8 may be invoked by GFE immediately and without notice to Merchant in the
 event: (a) Merchant takes any action to discourage the use of electronic check processing that are settled through Processor, or permits any event to occur
 that could have an adverse effect on the use, acceptance, or authorization of checks or other payments or deposits for the purchase of Merchant's services
 and products including but not limited to direct deposit of any checks into a bank account without scanning into the GFE electronic check processor; (b)
 Merchant changes its arrangements with Processor in any way that is adverse or unacceptable to GFE; (c) .Merchant changes the electronic check
 processor through which the Receipts are settled from Processor to another electronic check processor, or permits any event to occur that could cause
 diversion of any of Merchant's check or deposit transactions to another processor or an unauthorized depository account; (d) Merchant interrupts the
 operation of this business (other than adverse weather, natural disasters or acts of God), transfers, moves, sells, disposes, or otherwise conveys its business
 and/or assets without (i) the express prior written consent of GFE, and (ii) the written agreement of any purchaser or transferee to the assumption of all of
 Merchant's obligations under this Agreement pursuant to documentation satisfactory to GFE; (e) Merchant takes any action, fails to take any action, or
 offers any incentive-economic or otherwise-the result of which will be to induce any customer or customers to pay for Merchant's services with any
 means other than payments, checks or deposits that are settled through Processor or (f) Merchant enters into any agreement with any third person or entity
 that relates to the Receipts or any portion thereof, whether in the fonn of a purchase, sale, loan, pledge or the granting of any security interest in the
 Receipts or any portion thereof These protections are in addition to any other remedies available to GFE at law, in equity or otherwise pursuant to this
 Agreement.
 Protection 1. The full uncollected Purchase Amount plus all fees (including legal fees) due under this Agreement and the attached Security Agreement
 become due and payable in full immediately,
 Protection 2, GFE may enforce the provisions of the Personal Guaranty of Performance against the Guarantor(s),
 Protection 3. Merchant agrees to execute affidavit(s) of Confession of Judgment in favor of GFE in the amount of Purchase Amount stated in the
 Agreement. Merchant also hereby authorizes GFE to execute in the name of the Merchant affidavit(s) of Confession of Judgment in favor of GFE in the
 amount of Purchase Amount stated in the Agreement. Upon breach of any provision in this paragraph 1.11, GFE may, without further notice, enter
 judgment against Merchant(s) and Owner(s)/Guarantor(s) with the judgment clerk of any appropriate court based upon the affidavit(s) of judgment by

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cohfession pi;evious1y executed by Merchant(s) and bwner(s)/Guarantor(s).
Protection 4. GFE may enforce its security interest in the Collateral identified in the Security Agreement hereof.
Protection 5. The entire Purchase Amount and all fees (including legal fees) shall become immediately refundable and payable to GFE from Merchant.
 Protection 6. GFE may proceed to protect and enforce its rights and remedies by lawsuit. In any such lawsuit, under which GFE shall recover Judgment
 against Merchant, Merchant shall be liable for all of GFE's costs of the lawsuit, including but not limited to all reasonable attorneys' fees and court costs.
 GFE reserves the right to apply amounts received by it under this Agreement to any fees or other charges due to GFE from Merchant prior to applying
.such amounts to reduce the amount of any outstanding Purchase Amount.
Protection 7. This Agreement shall be deemed Merchants Assignment of Merchant's Lease of Merchant's business premises to GFE. Upon breach of any
provision in this Agreement, GFE may exercise its rights under this Assigrunent of Lease without prior Notice to Merchant
Protection 8. GFE may debit Merchant's depository accounts wherever situated by means of ACH debit or facsimile GFE on a computer-generated check
drawn on Merchant's bank account or otherwise for all sums due to GFE.
1.12 Protection of Information. Merchant and each person signing this Agreement on behalf of Merchant and/or as Owner or Guarantor, in respect of
himself or herself personally, authorizes GFE, its agents and employees to obtain and disclose infonnation concerning Merchant's and each Owner's and
each Guarantor's credit standing (including credit bureau reports that GFE obtains) and business conduct only to it employees. agents, affiliates,
subsidiaries, and credit reporting bureaus. Merchant and each Owner and each Guarantor hereby and each waives to the maximum extent permitted by
law any claim for damages against GFE or any of its affiliates relating to any (i) investigation undertaken by or on behalf of GFE as pennitted by this
Agreement or (ii) disclosure of information as permitted by this Agreement.
1.13 ContidentiaHtv. Merchant understands and agrees that the terms and conditions of the products and services offered by GFE, including this
Agreement and any other GFE documentations (collectively, "Confidential Infonnation") are proprietary and confidential infonnation of GFE.
Accordingly unless disclosure is required by law or court order, Merchant shall not disclose Confidential Infonnation of GFE to any person other than an
attorney, accountant, financial advisor or employee of Merchant who needs to know such information for the purpose of advising Merchant ("Advisor"),
provided such Advisor uses such information solely for the purpose of advising Merchant and first agrees in writing to be bound by the terms of this
section: A breach hereof entitles GFE to not only damages and legal fees but also to both a Temporary Restraining Order and a Preliminary Injunction
without Bond or Security.
1.14 Publlcity..Merchant and each of Merchant's Owners and all Guarantors hereto all hereby authorizes GFE to use its, his or her name in listings of
clients and in advertising and marketing materials.
1.15 DIB/A's. Merchant hereby acknowledges and agrees that GFE may be using "doing business as" or "d/b/a" names in connection with various matters
relating to the transaction between GFE and Merchant, including the filing ofUCC-1 financing statements and other notices or filings.
1.16 P11rchnse of Increments. .In the event that GFE offers to purchase additional Receipts in the "incren1ents' stated on Attachment A of this Agreement,
then GFE reserves the unilateral right to delay or rescind such offer in its sole and absolute discretion at any time.

1.17 Sharing of Information. Merchant hereby authorizes GFE to share infonnation regarding Merchant's performance under this Agreement with
affiliates and unaffiliated third parties.

II. REPRESENTATIONS, WARRANTIES AND COVENANTS
Merchant represents warrants and covenants that, as of this date and during the tenn of this Agreement, and until GFE is fully paid:
2.1 Financial Condition and Financial Information. Merchant's and Guarantors' bank and financial Statements, copies of which have been furnished to
OFE, and future statements which will be furnished hereafter at the discretion ofOFE, fairly represent the financial condition of Merchant at such dates,
and since those dates there has been no material adverse changes, financial or otherwise, in such condition, operation or ownership of Merchant. Merchant
and Guarantors have a continuing, affinnative obligation to advise GFE of any material adverse change in their financial condition, operation or
ownership. Merchant hereby warrants that its Average Monthly Revenue as enumerated on page (1) of this Agreement is accurate, and that any and nil
cash advances or loans outstanding by Merchant have be disclosed to GFE. GFE may request statements at any time during the perfonnance of this
Agreement and the Merchant and Guarantors shall provide them to GFE within 5 business days. Merchant's or Guarantors' failure to do so is a material
breach of this Agreement.
2.2 Goyernmentat Approyals. Merchant is in compliance and shall comply with all Jaws and has valid permits, authorizations and licenses to own,
operate and lease its properties and to conduct the business in which it is presently engaged and/or will engage in hereafter.
2.3 Authorization. Merchant, and the person(s) signing this Agreement on behalf of Merchant, have full power and authority to incur and perform the
obligations under this Agreement_, all of which have been duly authorized.
2.4 Insurance. Merchant will maintain business-interruption insurance naming GFE as loss payee and additional insured in amounts and against risks as
are satisfactory to GFE and shall provide GFE proof of such insurance upon request. Merchant shall also maintain such other insurance in such amounts
and against such risks as GFE deems necessary to protect Merchant's business, and Merchant shall provide proof of such insurance to GFE upon demand.
2.S Electronic Check Processing Agreement. Merchant will not change its processor, add terminals, change its financial institution or bank account(s)or
take any other action that could have any adverse effect upon Merchant's obligations under this Agreement1 without GFE's prior written consent, Any
such changes shall be a material breach of this Agreement.
2.6 Chpnge of Name or J,ocatlon nnd Related Entities. Merchant will not conduct Merchant's businesses under any name other than as disclosed to the
Processor and GFE, nor shall Merchant change any of its places of business without prior written consent by GFE. Merchant does not and shall not
conduct Merchant's business under any name other than as set forth in this agreement and shall not change its place of business. Merchant shall not
change its legal name, entity type or jurisdiction of organization. In the event Merchant, any of its officers or directors or any Owner/Guarantor, during

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the· term of this agreement or while Merchant remains liable to GFE for any obligations under this agreement, directly or indirectly. including acting by,
through or in conjunction with any other person, causes to be fanned a new entity, otherwise becomes associated with any new or existing entity, or was
and/or is associated with an existing entity, whether corporate, partnership, limited liability company or otherwise, which operates a business similar to or
competitive with that of Merchant, such entity shall be deemed to have expressly assumed the obligations due GFE under this Agreement. With respect to
any such entity, GFE shall have the right to name such newly formed or existing entity as a debtor in any claim, suit, or legal proceeding.
2.7 Daily Batch Out. Merchant will batch out receipts with the Processor on a daily basis.

2.8 EstqppeJ Certificate. Merchant will at every and all times, and from time to time, upon at least one (1) day's prior notice from GFE to Merchant,
execute, acknowledge and de1iver to GFE and/or to any other person, firm or corporation specified by GFE, a statement certifying that this Agreement is
unmodified and in full force and effect (or, if there have been modifications, that the same is in full force and effect as modified and stating the
modifications) and stating the dates which the Purchased Amount or any portion thereof has been repaid.
2.9 No Bankruptcy. As of the date of this Agreement, Merchant is not insolvent and does not contemplate and has not fl.led any petition for
bankruptcy protection under Title 11 of the United States Code and there has been no involuntary petition brought or pending against
Merchant. Merchant further warrants that it does not anticipate filing any such bankruptcy petition and it does not anticipate that an
involuntary petition will be filed against it.
2.10 Working Capital Funding. Merchant shall not enter into any arrangement, agreement or commitment that relates to or involves the Receipts or
future check sales, or any portion thereof, whether in the fonn of a purchase, sale, a loan against, collateral against or the sale or purchase of credits
against, such Receipts or future check sales, with any party other than GFE. GFE may share information regarding this Merchant Agreement with any
third party in order to detennine whether Merchant is in compliance with this provision.
2.11 !Jn encumbered Recefnts. Merchant has, and at all times will have, good, complete, unencumbered and marketable title to all Receipts, free and
clear of any and all liabilities; liens, claim~ changes, restrictions, conditions, options, rights, mortgages, security interests, equities, pledges and
encumbrances of any kind or nature whatsoever or any other rights or interests that may be inconsistent with. the transactions contemplated with, or
adverse to the interests of GFE. Without limiting the generality of the foregoing, all future Receipts purchased by GFE hereunder shall be free and clear of
any and all liens (other than GFE's ownership rights therein) at the time they become Receivables. All amounts received by GFE attributable to the
Specified Amount of Future Receivables purchased by GFE hereunder shall arise from bona fide sales by Merchant of its goods and services to Card
holders who present their Cards as payment thereof.
2. 12 Business Purnose. Merchant is a valid business in good standing under the laws of the jurisdictions in which it is organized and/or operates, and
Merchant is entering into this Agreement for business purposes and not as a consumer for personal, family or household purposes.
2.13 Default§ under Other Contract§. Merchant's execution of, and/or perfonnance under this Agreement, will not cause or create an event of default
by Merchant under any contract with another person or entity.
2.14 Good Faith. Bel't Efforts and Due Diligence. Merchant and Guarantors hereby affirm that it will conduct its business in Good Faith and will
expend its Best Efforts to maintain and grow its business; to ensure that GFE obtains the Purchased Amount, Furthermorej Merchant and Guarantors
hereby agree, warrant and represent hereby that they will constantly perfonn all appropriate Due Diligence and credit checks of all of the customers'
finances, cash flow, solvency, good faith, payment histories and business reputations (the "Due Diligence Requirements") as may suffice to ensure any
and all products and/or services provided, sold or delivered by Merchant to said customers will be paid for by customers in full and on time, and will not
result in the creation of an unpaid account. These Due Diligence Requirements must be performed prior to any sales to any customer, and repeated no less
frequently than monthly for so long as any sums are due from those customers. Full documentation of all of Merchant's compliance with its Due
Diligence Requirements must be maintained in Merchant's files so long as GFE has not fully collected all sums due to it. This is not a guaranty of
payment by customers, but is a guaranty of full, adequate and good faith Due Diligent investigation and credit check of customers before extending credit
to them and continuing no less frequently than monthly so long as sums are still due.
2. 15 Taxes. Merchant will promptly pay all necessary taxes, including 'but not limited to employment, sales and use taxes.
2.16 No Violntion of Prior Agreements. Merchant warrants that its execution and performance of this Merchanf Agreement will not violate or conflict
with any other agreement, obligation, promise, court order, administrative order or decree, law or regulation to which Merchant is subject, including any
agreement that prohibits the sale or pledge of Merchant's future receipts or the Purchased Amount.
2.17 Opportunitv for Counsel. Merchant represents, warrants and agrees that it is a sophisticated business entity familiar with the kind of transaction
covered by the Merchant Agreement, and that it has been represented by legal counsel or has had full opportunity to consult with its own legal counsel.
2. 18 Ongoing Obllgntions. Merchant hereby covenants and agrees that even after it receives some or all of the Purchase Price from GFE, it will comply
with GFE's ongoing requests for any docutnentation from Merchant for the purpose of business and identify verification and underwriting and
verification (such as the merchant's driver's license, bank login, bank statements, or any other financial or business documentation). Merchant's failure to
provide to GFE the requested documentation within twenty-four (24) hours shall be deemed a breach of this Agreement and GFE shall no longer be
obligated to provide any further funding to Merchant In addition, if after receipt of said documentation from Merchant, GFE discovers that Merchant
made misrepresentations before receiving funding from GFE, GFE shall no longer be obligated to provide any further funding to Merchant and
Merchant's misrepresentations shall be deemed a breach of this Agreement.

IIL EVENTS OF DEFAULT AND REMEDIES
3.1 Events of Default. The occurrence of any of the following events shall constitute an "Event of Default" hereunder: (a) Merchant or Guarantor shall
violate any term or covenant in this Agreement; (b) Any representation or warranty by Merchant in this Agreement shall prove to have been incorrect,
false or misleading in any material respect when made; (c) the sending of notice of termination by Merchant; (d) Merchant shall transport, move,
interrupt, suspend, dissolve or terminate its business; (e) Merchant shall transfer or sell all or substantially all of its assets, or issue any notice of intended
bulk sale or transfer; (f) Merchant shall make or send notice of any intended bulk sale or transfer by Merchant; (g) Merchant shall use multiple depository
accounts without the prior written consent of GFE (h) Merchant shall change its depositing account without the prior written consent of GFE; (i)

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Merchant shall perfonn any act that reduces the value of any Collateral granted under this Agreement; G) the Specified :Percentage of its daily Receipts is
not available for ACH by GFE on any three (3) business days within any twenty (20) business day period; (k) Merchant shall default under any of the
tenns, covenants and conditions of any other agreement with GFE; or (1) Merchant fails to deposit its Receipts into the Account.
3.2 Personal Guarnnty. In the event of a Default under Sections 2.3, 2.5, 2.6, 2.9, 2.10, 2.11, 2.12, 2. 13, and 2.14 hereof, should GFE detennine that the
Purchased Amount cannot be obtained from the Merchant's business, GFE will enforce its rights against the Guarantors of this transaction. Said
Guarantors will be jointly and severally liable to GFE for all ofGFE's losses and damages, in additional to all costs, fees expenses and legal fees
associated with such enforcement. GFE shall not be required before exercising and enforcing its rights under this Personal Guaranty first to resort to
payment against Merchant or to any other person or to any collateral.
3.3 Remedies. In case any Event of Default occurs and is not waived pursuant to Section 4.4.1 hereof, GFE may proceed to protect and enforce its rights
or remedies by suit in equity or by action at law, or both, whether for the specific perfonnance of any covenant, agreement or other provision contained
herein, or to enforce the performance of Merchant's and each Owner's/Guarantor's obligations hereunder, under the Security Agreement or Guaranty, or
pursuant to any other legal or equitable right or remedy. Upon Merchant's and/or Owner's/Guarantor's default hereunder, the balance of the Purchased
Amount remaining due, plus any applicable fees, shall become immediately due and payable to GFE. In addition, upon an Event of Default, GFE may: i)
enforce the provisions of the Security Agreement and Guaranty against each Merchant and Owner/Guarantor; ii) enforce its security interest in the
 Collateral and the ; iii) debit Merchant's deposit accounts wherever situated by means of ACH debit or facsimiie signature on a computer generated check
drawn on Merchant's bank account for all or a portion of the balance of the Purchased Amount remaining due, or GFE may instruct the Processor to
forward to GFE, without any prior notice to Merchant, all or a portion of the balance of the Purchased Amount remaining due, and iv) without further
notice. enter judgment against Merchant(s) and Owner(s)/Guarantor(s) with the judgment clerk of the appropriate court based upon the affidavit(s) of
judgment.by confession previously executed by Merchant(s) and Owner(s)/Guarantor(s). All rights, powers and remedies of GFE which may be exercised
by GFE at any time after the occurrence of an Event of Default are cumulative and not exclusive, and shall be in addition to any other rights, powers or
remedies provided by law or equity.
3.4 Costs Merchant shall pay to GFE all reasonable costs associated with (a) a breach by Merchant of the Covenants in this Agreement and the
enforcement thereof, and(b) the enforcement of GFE 's remedies set forth in Section 3.3 above, including but not limited to court costs and attorneys'
fees.
3.5 Required Notifications. Merchant is required to give GFE written notice within 24 hours of any filing under Title 11 of the United States Code.
Merchant is required to give GFE seven days' written notice prior to the closing of any sale of all or substantially all of the Merchant's assets or stock.

IV.MISCELLANEOUS
4.1 Modifications; Agreements. No modification, amendment, waiver or consent of any provision of this Agreement shall be. effective unless the same
shall be in writing and signed by GFE.
4.2 Assignment. This Agreement shalJ be binding upon and inuw to the benefit of Merchant, Prlncipal(s), GFE and their respective successors and
assigns, except that Merchant and Principal(s) shall not have the right to assign or delegate any of their rights or obligations hereunder or any interest
herein without prior written consent of GFE, which consent may be withheld in GFE's sole discretion. Any such assignment or delegation without GFE's
prior written consent shall be void. GFE reserves the right to assign or delegate this Agreement or any of its rights or obligations hereunder with or
without prior notice to Merchant. GFE may assign, transfer or sell its rights to receive the Purchased Amount or delegate its duties hereunder, either in
whole or in part.
4.3 Notices. All notices, requests, consents, demands and other communications hereunder shall be delivered by certified mail, return receipt requested, to
the merchant at the address set forth above in this agreement and to GFE at 2999 NE 191st Street, Unit 901, Miami, FL 33180 with a copy to 27·01
Queens Plaza North, Suite 802, Long Island City, NY 11101. Notices to GFE shall become effective only upon receipt by GFE. Notices to Merchant shall
become effective three days after mailing.
4.4 Waiver Remedies. No failure on the part of GFE to exercise, and no delay in exercising, any right under this Agreement shalt operate as a waiver
thereof,. nor shall any single or partial exercise of any right under this Agreement preclude any other or further exercise thereof or the exercise of any other
right. The remedies provided hereunder are cumulative and not exclusive of any remedies provided by law or equity.
4.5 Binding Effect; Governing Law. Venue and Jurisdiction. This Agreement shall be binding upon and inure to the benefit of Merchant, GFE and
their respective successors and assigns, except that Merchant shall not have the right to assign its rights hereunder or any interest herein without the prior
written consent of GFE which consent may be withheld in GFE's sole discretion. GFE reserves the rights to assign this Agreement with or without prior
written notice to Merchant. This Agreement shall be governed by and construed in accordance with the laws of the state of New· York, without regards to
any applicable principals of conflicts of law. Any suit, action or proceeding arising hereunder, or the interpretation, perfonnance or breach hereof, may, if
GFE so elects, be instituted in any court sitting in New York, (the ..Acceptable Forums"). Merchant agrees that the Acceptable Forums are convenient to
it, and submits to the jurisdiction of the Acceptable Forums and waives any and all objections to jurisdiction or venue. Should such proceeding be initiated
in any other forum, Merchant waives any right to oppose any motion or application made by GFE to transfer such proceeding to an Acceptable Forum.
4.6 Survival of Representation. etc. AU representations, warranties and covenants herein shall survive the execution and delivery of this Agreement and
shall continue in full force until all obligations under this Agreement shall have been satisfied in full and this Agreement shall have tenninated
 4.7 lnternretation. All Parties hereto have reviewed this Agreement with attorney of their own choosing and have relied only on their own attorneys'
 guidance and advice. No construction detenninations shall be made against either Party hereto as drafter.
 4.8 Seyerability. In case any of the provision in this Agreement is found to be invalid, illegal or unenforceable in.any respect, the validity, legality and
 enforceability of any other provision contained herein shall not in any way be affected or impaired.
 4.9 Entire Agreement. Any provision hereof prohibited by law shall be ineffective only to the extent of such prohibition without invalidating the
 remaining provisions hereof. This Agreement and the Security Agreement and Guaranty hereto embody the entire agreement between Merchant and GFE
 and supersede all prior agreements and understandings relating to the subject matter hereof. Merchant and Principal(s) each acknowledge and agree that

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he, she or it.is not relying on any representations not specifically embodied inPage     64 of 141
                                                                                 this Agreement.
4.10 .!IJRY TRI AL WAIVER.

THE PARTIES HERETO WAIVE TRIAL BY WRY IN ANY COURT IN ANY SUIT, ACTION OR PROCEEDING ON ANY MATTER ARISING IN
CONNECTION WITH OR IN ANY WAY RELATED TO THE TRANSACTIONS OR THE ENFORCEMENT HEREOF. THE PARTIES HERETO
ACKNOWLEDGE THAT EACH MAKES THIS WAIVER KNOWINGLY, WILLINGLY AND VOLUNTARILY AND WITHOUT DURESS, AND
ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS OF THIS WAIVER WITH THEIR ATTORNEYS.
THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE OTHER PARTY AS A REPRESENTATIVE OR
MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT WHERE SUCH WAIVER IS PROHIBITED BY LAW AS AGAINST
PUBLIC POLICY. TO THE EXTENT EITHER PARTY IS PERMITTED BY LAW OR COURT OF LAW TO PROCEED WITH A CLASS OR
REPRESENTATIVE ACTION AGAINST THE OTHER, THE PARTIES HEREBY AGREE THAT: (I) THE PREVAILING PARTY SHALL NOT BE
ENTITLED TO RECOVER ATTORNEYS' FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE ACTION
(NOT WITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND ( 2) THE PARTY WHO INITIATES OR PARTICIPATES AS A
MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY RECOVERY SECURED THROUGH THE
CLASS OR REPRESENTATIVE ACTION.
4.11 Facsimile Acceptance. Merchant and Guarantor(s) hereby agree that-facsimile and/or electronic signatures on this Merchant Agreement and
Guaranty, or photocopies thereof, that shall be deemed acceptable and treated as originals for all purposes, and shall be admissible as evidence of the
Merchant Agreement and Guaranty.
4.12. Right of Access. In order to ensure that Merchant is complying with the terms of this Merchant Agreement, Merchant agrees that GFE shalt have
the right to (i) enter, without notice, the premises of Merchant's business for the purpose of inspecting and checking Merchant's transaction processing
terminals to ensure the terminals are properly programmed to submit and or batch Merchant's daily receipts to the Processor and to ensure that Merchant
has not v'iolated any other provision of this Agreement, and (ii) Merchant's shall provide access to its employees and records and all other items as
requested by GFE, and (iii) have Merchant's provide information about its business operations, banking relationships, vendors, landlord and other
infurmarion to allow GFE to interview any relevant parties, Furthermore, Merchant agrees to provide GFE, at aU times with "Live Contemporaneous
Access" to all of its bank accounts in order for GFE to evaluate Merchant's compliance with the Merchant Agreement1 and for collections in the event of a
default under the Merchant Agreement. "Live Contemporaneous Access" shall be defined as: Merchant, at all times and including but not limited to,
providing GFE with accurate login information necessary to access all of Merchant's Accounts, such as usernames and passwords, answers to challenge
questions, and security tokens.
4.13. Phone Recordings and Contact. Merchant agrees that any call between GFE and Merchant, and their agents and employees may be recorded or
monitored. Further, Merchant agrees that (i) it has an established business relationship with GFE, its employees and agents and that Merchant may be
contacted from time-to-time regarding this or other business transactions; (ii) that such communications and contacts are not unsolicited or inconvenient;
and (iii) that any such contact may be made at any phone number, emails address, or facsimile number given to GFE by the Merchant, its agents Ot.'
employees, including cellular telephones.
4.14. Monitoring. Recording. and Solicitations.
       a. Authorization to Contact Seller by Phone. Seller authorizes Buyer, its affiliates, agents and independent contr1:1.ctors to contact Selter at any
telephone number Seller provides to Buyer or from which Seller places a call to Buyer, or any telephone number where Buyer believes it may reach
Seller, using any means of communication, including but not limited.to calls or text messages to mobile, cellular, wireless or similar devices or calls or
text messages using an automated telephone dialing system and/or artificial voices or prerecorded messages, even if Seller incurs charges for receiving
such communications.
      b. Authorization to Contact SeIJer by Other Means. Seller also agree that Buyer, its affiliates, agents and independent contractors, may use any other
medium not prohibited by law including, but not limited to, mail, e-mail and facsimile, to contact Seller. Seller expressly consents to conduct business by
electronic means.




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                                                               SECURITY AGREEMENT

Security Interest, This Agreement will constitute a security agreement under the Unifonn Commercial Code. Merchant grants to GFE a security interest
in and lien upon: (a) all accounts receivables, accounts, chattel paper, documents, equipment, general intangibles, instruments, and inventory, as those
terms are defined in Article 9 of the Uniform Commercial Code (the "UCC"), now or hereafter owned or acquired by Merchant, (b) all proceeds, as that
term is defined in Article 9 of the UCC (c) all funds at any time in the Merchant's Account, regardless of the source of such funds, (d) present and future
Electronic Check Transactions, and (e) any amount which may be due to GFE under this Agreement, including but not limited to all rights to receive any
payments or credits under this Agreement (collectively, the "Secured Assets"). Merchant agrees to provide other security to GFE upon request to secure
Merchant's obligations under this Agreement. Merchant agrees that, if at any time there are insufficient funds in Merchant's Account to cover GFE's
entitlements under this Agreement, GFE is granted a further security interest in all of Merchant's assets of any kind whatsoever, and such assets shall then
become Secured Assets. These security interests and liens will secure all of GFE's entitlements under this Agreement and any other agreements now
existing or later entered into between Merchant, GFE or an affiliate ofGFE. GFE is authorized to execute and file any and all notices or .filings it deems
necessary or appropriate to enforce its entitlements hereunder.
This security interest may be exercised by GFE without notice or demand of any kind by making an immediate withdrawal or freezing the Secured Assets.
Pursuant to Article 9 of the Unifonn Commercial Code, as amended from time to time, GFE has control over and may direct the disposition of the
Secured Assets, without further consent of Merchant. Merchant hereby represents and warrants that no other person or entity has a security interest in the
Secured Assets. With respect to such security interests and liens, GFE will have all rights afforded under the Uniform Commercial Code, any other
applicable law and in equity. Merchant will obtain from GFE written consent prior to granting a security interest of any kind in the Secured Assets to a
third party. Merchant agrees that this is a contract of recoupment and GFE is not required to file a motion for relief from a bankruptcy action automatic
stay to realize on any of the Secured A-ssets. Nevertheless, Merchant agrees not to contest or object to any motion for relief from the automatic stay filed
by GFE. Merchant agrees to execute and deliver to GFE such instruments and documents GFE may reasonably request to perfect and confirm the lien,
security interest and right of setoff set forth in this Agreement. GFE is authorized to execute all such instruments and documents in Merchant's name.
In the event Merchant, any of its officers or directors or any Owner/Guarantor, during the tenn of this agreement or while Merchant remains liable to GFE
for any obligations under this agreement, directly or indirectly, including acting by, through or in conjunction with any other person; causes to be formed
a new entity, otherwise becomes associated with any new or existing entity, or was and/or is associated with an existing entity, whether corporate,
partnership, limited liahitity company or otherwise, which operates a business similar to or competitive with that of Merchant, such entity shall be deemed
to have expressly assumed the obligations due GFE under this Agreement. With respect to any such entity, GFE shall be deemed to have been granted an
irrevocable power of attorney with authority to file, naming such newly formed or existing entity as debtor, an initial UCC financing Statement and to
have it filed with any and all appropriate UCC filing offices, GFE shall be held harmless by Merchant and each Owner/Guarantor and be relieved of any
liability as a result of any such authentication and filing of any such Financing Statement or the resulting perfection of its ownership rights or security
interests in such entity's assets. GFE shall have the right to notify such entity's payors or account debtor (as defined by the UCC) of GFE's rights,
including without limitation, GFE's right to collect all accounts, and to notify any payment card processor or creditor of such entity that GFE has such
rights in such entity's assets. Merchant also agrees that, at the GFE's discretion, GFE may choose to amend any existing financing statement to include
any such newly formed entity as debtor.
Merchant and Guarantor each acknowledge and agree that any security interest granted to GFE under any other agreement between Merchant or
Guarantor and GFE (the ••crossMCollateral") will secure the obligations hereunder and under the Merchant Agreement.
Merchant and Guarantor each agrees to execute any documents or take any action in connection with this Agreement as GFE deems necessary to perfect
or maintain GFE's first priority security interest in the Co11ateral including the execution of any account control agreements. Merchant and Guarantor
each hereby authorizes GFE to file any financing statements deemed necessary by GFE to perfect or maintain GFE's security interest, which financing
statement may contain notification that Merchant and/or Guarantor have granted a negative pledge to GFE with respect to the Collaterah and that any
subsequent lien or may be tortuously interfering with GFE's rights. Merchant and Guarantor shall be liable for, and GFE may charge and collect, all costs
and expenses, including but not limited to attorney's fees, which may be incurred by GFE in protecting, preserving and enforcing GFE's security interest
and rights.
Negative Pledge. 'Merchant and Guarantor each agrees not to create, incur, assume, or pennit to exist, directly or indirectly, any lien on or with respect to
any of the Collateral or the Additional Collateral, as applicable.
Consent to Enter Premises and Assign Lease. GFE shall.have the right to cure Merchant's default in the payment of rent on the following tenns. In the
event Merchant is served. with papers in an action against Merchant for nonpayment of rent or for summary eviction, GFE may execute its rights and
remedies under the Assignment of Lease. Merchant also agrees that OFE may enter into an agreement with Merchant's landlord giving OFE the right: (a)
to enter Merchant's premises and to take possession of the fixtures and equipment therein for the purpose of protecting and preserving same; and/or (b) to
assign Merchant's lease to another qualified business capable of operating a business comparable to Merchant's at such premises.
 Remedies. Upon any Event of Default, GFE may pursue any remedy available at law (including those available under the provisions ofthe'UCC), or in
 equity to collect, enforce, or satisfy any obligations then owing to GFE, whether by acceleration or otherwise.

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Personal Guaranty of Performance. The undersigned Guarantor(s) hereby guarantees to GFE, Merchant's good faith, truthfulness and perfonnance of
all of the representations, warranties, covenants made by Merchant in the Merchant Agreement in Sections thereof 2.3, 2.5, 2.6, 2.9, 2.10, 2.11, 2.12, 2.13
and 2.14, as each agreement may be renewed, amended, extended or otherwise modified (the "Guaranteed Obligations"). Guarantor's obligations are due
at the time of any breach by Merchant of any representation, warranty, or covenant made by Merchant in the Agreement.
Guarantor Wgiyeys. In the event of a breach of the above, GFE may seek recovery from Guarantors for all of GFE's losses and damages by enforcement
of GFE's rights under this Agreement without first seeking to obtain payment from Merchant, any other guarantor, or any CoUateral or Additional
Collateral GFE may hold pursuant to this Agreement or _any other guaranty.
GFE does not have to notify Guarantor of any of the following events and Guarantor will not be released from its obligations under this Agreement if it is
not notified of: (i) Merchant's failure to pay timely any amount owed under the Merchant Agreement; (ii) any adverse change in Merchant's financial
condition or business; (iii) any sale or other disposition of any collateral securing the Guaranteed Obligations or any other guaranty of the Guaranteed
Obligations; (iv) GFE's acceptance of this Agreement; and (v) any renewal, extension or other modification of the Merchant Agreement or Merchant's
other obligations to GFE. In addition, GFE may take any of the following actions without releasing Guarantor from any of its obligations under this
Agreement: (i) renew, extend or otherwise modify the Merchant Agreement or Merchant's other obligations to GFE; (ii) release Merchant from its
obligations to GFE; (iii) sell, release, impair, waive or otherwise fail to realize upon any collateral securing the Guaranteed Obligations or any other
guaranty of the Guaranteed Obligations; and (iv) foreclose on any collateral securing the Guaranteed Obligations or any other guaranty of the Guaranteed
Obligations in a manner that impairs or precludes the right of Guarantor to obtain reimbursement for payment under this Agreement. Until the Merchant
Amount plus any accrued but unpaid interest and Merchant's other obligations to GFE under the Merchant Agreement and this Agreement are paid in fuIJ,
Guarantor sha11 not seek reimbursement from Merchant or any other guarantor for any amounts paid by it under this Agreement. Guarantor permanently
waives and shall not seek to exercise any of the following rights that it may have against Merchant, any other guarantor, or any collateral provided by
Merchant or any other guarantor, for any amounts paid by it, or acts perfonned by it, under this Agreement: (i) subrogation; (ii) reimbursement; (iii)
performance; (iv) indemnification; or (v) contribution.
Guarantor Acknowledgement. Guarantor acknowledges that: (i) He/She understands the seriousness of the provisions of this Agreement; (ii) He/She
has had a full opportunity to consult with counsel of his/her choice; and (iii) He/She has consulted with counsel of its choice or has decided not to avail
himself/herself of that opportunity.
Joint and Several Liability. The obligations hereunder of the persons or entities constituting Guarantor under this Agreement are joint and several.

THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE "MERCHANT AGREEMENT", INCLUDING
THE "TERMS AND CONDITIONS", ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS SECURITY AGREEMENT AND
GUARANTY. CAPITALIZED TERMS NOT DEFINED IN THIS SECURITY AGREEMENT AND GUARANTY, SHALL HAVE THE
MEANING SET FORTH IN THE MERCHANT AGREEMENT, INCLUDING THE TERMS AND CONDITIONS.




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     Signature




     Title                                                              Driver License No:
     Signature




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                                               APPENDIX A STRUCTURE:of 141

A. Origination Fee - % of Purchase Price to cover Underwriting and related expenses. This expense is charged at the
time of funding.
B. ACH Program Fee - % of Purchase Price ACH's are labor intensive and are not an automated process, requiring us
to charge this fee to cover costs. This expense is charged at the time of funding.
C. Miscellaneous Service Fees - Merchant shall pay certain fees for services related to the origination and maintenance
of Accolitlts, which fees are set forth below. Each Merchliht shall receive their funding electninkally to their designated
bank account, and the GFE may deduct some or all of the fees from the funded amount.
     A. Rejected ACH/Blocked ACH - $5,000.00 when Merchant blocks Account from our Debit ACH, or when
Merchant directs the bank to reject our debit ACH, which places them in default (per contract).
      B. Pre-Authorized Bank Chapge Fee - $50.00 When Merchant requires a change of Bank Account to be debited,
requiring us to adjust our system.
     C. Wire Fee - $50.00 Each Merchant shall receive their funding electronically to their designated bank account
and will be charged $50.00 for either a Fed Wire fee or a bank ACH fee.
          D. UCC Filing. Amendment or Termination Fee - $200.00.
       E. Default Fee - $5,000.00 when Merchant defaults under the Agreement, including but not limited to diverting its
Receivables from the bank account agreed upon in the "Authorization Agreement for Direct Deposit (ACH Credit) and
Direct Payments (ACH Debits)" or changing its credit card processing thus terminating or diverting the agreed upon
split.
       F. Account Management Fees - $45.00 upon origination, and $45.00 per month thereafter until the Purchase
Amount, together with any and all unpaid outstanding other fees have been paid in full. These Management Fees will
not be applied towards the reduction of the Purchase Amount.
       G. Stacking Fee - In the event that the Merchant enters into any cash advance or any Joan agreement that relates to
or involves the Receipts with any person or entity other than GFE during any portion of the term of this Agreement,
then: i) Merchant shall pay to GFE a "Stacking" fee equal to $5,000.00 per occurrence, and ii) the specified daily
remittances that Merchant is obligated to pay to GFE hereunder shall be doubled, and Merchant shall be deemed to have
authorized GFE to double the amount of its ACH Debits from the Merchant's Account on a daily basis.
      H. Third Partv Collections Fee-In the event that Merchant defaults under any of the terms and conditions of this
Agreement, Merchant shall pay to GFE, in addition to any other fees associated with Merchant's default, a third party
collections fee equal to fifteen (15%) of the outstanding balance after all fees at the time of default.
          I. NSF Fee (Standard) - $ 35.00 each until a default is declared.
      J. Non-ACH Transaction Fee - When a Merchant makes a payment other than through ACH, the Merchant is
responsible for the cost of that transaction.




  Title                                                     Driver License No:
  Signature




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 Merchant Name: JESSE LEE KAGARICE
  1. Do you currently or within the last 90 days have any intentions, plans or discussions regarding closing your Business?                          NO
  2. Do you currently or within the least 90 days have any intentions, plans or discussions to change the name or legal structure of the business?   NO
 3. Are you currently in, or contemplating personal bankruptcy?                                                                                      NO
 4. Are you currently in, or contemplating business bankrupicy?                                                                                      NO
  5. Is your business currently for sale?                                                                                                            NO
  6. Do you have any existing merchant cash advance balances?                                                                                        NO
  7. Are you involved in any litigation proceedings or are a party to a lawsuit?                                                                     NO
 8. Is your business currently in default of any agreement with a creditor?                                                                          NO
 9. Is your business currently in forbearance agreement with a creditor?                                                                             NO
  10. Will selling the Future Receivables cause you to breach any agreement with a creditor?                                                         NO


  If you have answered YES to any of the above questions, please explain:




I hereby certify that the above statements are true and correct to the best of my knowledge; I authorize my landlord and credit card
processor to discuss confidential account information for the purpose of satisfying the requirements of GFE NY, LLC.

Completed and attested by:




  Title                                                                    Driver License No:
 Signature




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                         AUTHORIZATION AGREEMENT FOR DIRECT DEPOSIT (ACH CREDIT)
                                    AND DIRECT PAYMENTS (ACH DEBITS)

This Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits) is part of (and incorporated by reference into) the
Merchant Agreement. Merchant should keep this important legal document for Merchant's records.

 DISBURSEJ\.1ENT OF ADVANCE PROCEEDS. By signing below, Merchant authorizes GFE to disburse the Advance proceeds less the amount of any
 applicable fees upon Advance approval by initiating an ACH credit to the checking account indicatedbelow (or a .substitute checking account Merchant
 later identifies and is acceptable to GFE) (hereinafter referred to as the 11Designated Checking Account") This authorization is to remain in full force and
 effect until GFE has received written notification from Merchant of its termination in such time and in such manner as to afford GFE and Merchant's
 depository bank a reasonable opportunity to act on it.

BUSINESS PURPOSE ACCOUNT. By signing below, Merchant attests that the Designated Checking Account was established for business purposes and
not primarily for personal, family or household purposes,

MISCELLANEOUS, GFE is not responsible for any fees charged by Merchant's bank as the result of credits or debits initiated under this agreement. The
origination of ACH transactions to Merchant's account must comply with the provisions of U.S. law.

 I, (We) JESSE LEE KAGARICE hereby Authorize, GFE NY. LLC. (Hereinafter known as "GFE11) to Electronically (ACH) debit the Bank Account
 Below, of which I am a signer:

                                  NODAWAY VALLEY
  Bank Name:                                                        Tax ID:
                                  BANK
  ABA: Routing:                                                     DDA: Account:
  For the amount of:              $3,999.00                        (Or) Percentage of each Banking Deposit:            15%

  On the Following Days:          MONDAY-FRIDAY
 This authorization is to remain in full force and effect until COMPANY has received written notification from me at least 5 banking days
 prior of its tennination to afford COMPANY a reasonable opportunity to act on it.




  Title                                                                  Driver License No:
  Signature




 Merchant #1 Initials:   _Q_t:_                                               -69-                                                             Page 13of19
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                                                                                 Name: ISO - Premium MainFunding
                                           Document      Page 70 of 141
thank you for accepting an offer from GFE NY, LLC ("GFE"). We look forward to being your funding partner for
as long as you need.
Please note that the way your advance is set up with GFE, GFE requires viewiog access to your bank account each
business day, throughout the term of this Agreement, in order that GFE may calculate and verify the amount of
your daily remittance. Please be assured that we will carefully safeguard your confidential information and only
essential personnel will have access to it.
GFE NY, LLC. will also require viewing access to your bank account, prior to funding, as part of the underwriting
process.
Please be advised that for security purposes, GFE will request this information prior to funding. By signing below,
you hereby agree that if you fail to provide the requested bank login information prior to funding, GFE shall have
no obligation to provide funding. Please be further advised that if you change any of the bank login information
during the term of this Agreement or at any time willle you still have any outstanding obligations to GFE, you are
required to immediately inform GFE of the changes made and provide GFE with the new bank login information.
Please see below for the list of questions that will be by GFE as it relates to the bankiog ioformation.
          1. Bank Portal Website;
          2. Bank Account Username;
          3. Bank Account Password;
          4. Security Question/Answer 1 of this Bank Account;
          5. Security Question/Answer 2 of this Bank Account;
          6. Security Question/Answer 3 of this Bank Account; and
          7. Any other information necessary to access your Bank Account.

If you have any questions please feel free to contact our cash management department.




  Title                                                Driver License No:
  Signature




 Merchant #1 Initials:   [3 \L..                          -70-                                           Page 14 ofl9
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                                                                           18:04:59          DescMerchant
                                                                                Name: ISO - Premium MainFunding
                                          Document      Page 71 of 141
                                     BANK ACCOUNT DISCLOSURE AFFIDAVIT

For the purpose of obtaining the Business Cash Advance evidence by the Merchant Agreement of this same date herewith (the
"Business Cash Advance") from GFE NY, LLC., the undersigned Seller/Merchant hereby makes the following statement
under penalty of law:

 OPTION 1 - DISCLOSURE AND AUTHORIZATION FOR ADDITIONAL ACCOUNTS:

By selecting this option, the Seller/Merchant hereby declares that in addition to the designated for ACH debit, the
Seller/Merchant also has the following additional account(s) which he authorizes us to use in the event we are unable to debit
from the designated account. The Seller/Merchant declares and warrents that it currently maintains no other bank account at
any fmancial institution other than those banks and accounts referenced below.




 OPTION 2 - By selecting this option, the merchant swears, under penalty oflaw, that Merchant has no accounts in any
 lending institution in addition to the one provided for ACH debit

 PLEASE SELECT AN OPTION AND SIGN BELOW:




  Title                                                   Driver License No:
  Signature




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 Merchant #1 Initials: ( ]   ~L._                                                                                  Page 15of19
          Case 23-04033-btf
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                                                 Document      Page 72 of 141
                                             ADDENDUM TO MERCHANT AGREEMENT


      This Agreement will be governed by and constmed in accordance with the laws of the State of New York, without
regard to any applicable principles of conflicts of law. Any litigation relating to this Agreement must be commenced and
maintained in any court located in New York State (the "Acceptable Forums"), however any action or proceeding to enforce a
judgment or arbitration award may also be commenced and maintained in any other court of competent jurisdiction. The
parties agree that the Acceptable Forums are convenient, submit to the jurisdiction of the Acceptable Forums, and waive any
anu all objections to the jurisdiction or venue of the Acceptable Forums. If any litigation is initiated in any other venue or
forum, the parties waive any right to oppose any motion or application made by any party to transfer snch litigation to an
Acceptable Forum.

          THE PARTIES AGREE TO WAIVE TRIAL BY JURY IN ANY DISPUTE BETWEEN THEM.

      In any litigation commenced by GFE, Merchant and Guarantor will not be permitted to interpose any counterclaim.
Merchant and Guarantor agree that any claim that is not asserted against GFE within 1 year of its accrual will be time barred.
IfGFE prevails in any litigation with Merchant and/or Guarantor, then Merchant and Guarantor must pay GFE's reasonable
attorney fees, which may include a contingency fee of up to 33% of the amount claimed, expert fees, costs of suit, and
prejudgment interest at a rate of 16% per annum (or the maximum rate permitted by applicable law iflower). GFE, Merchant,
and Guarantor agree that they may bring claims against each other relating to this Agreement only in their individual
capacities, and not as a plaintiff or class action member in any purported class or representative proceedings.

      Merchant and Guarantor consent to service of orocess and legal notices made by certified mail. return receipt
 requested delivered by the United States Postal Service and addressed to the Contact Address set forth immediately
 below or on Page 1 of this Agreement. any such service will be deemed complete 5 days after dispatch.

I have read and agreed to the Terms and Conditions set forth above:

  1\lLRCllA~T (#1)                                        Signature
  Full Name:            JESSE LEE KAGARICE                Home Address:
  Title                 Sole Member                       Cell Phone Number:
  Soclal Security No:                                     Home or Secondary Number:
  Driver License N'o:                                     Email:                      jesse@jlkconstruction.com




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                                                  TRADE REFERENCES  of 141

Please provide a list of 3-5 professional references

 TRADE REFERENCE #1:
 Name:
 Phone Number:
 Email Address:

 TRADE REFERENCE #2:
 Name:
 Phone Number:
 Email Address:

 TRADE REFERENCE#3:
 Name:
 Phone Number:
 Email Address:

 TRADE REFERENCE #4:
 Name:
 Phone Number:
 Email Address:

 TRADE REFERENCE #5:
 Name:
  Phone Number:
  Email Address:




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                                                                A!!achment A 74 of 141
                                            Weekly Advance Addendum to the Merchant Agreement

This Weekly Advance Addendum amends the Merchant Agreement and Security Agreement between GFE and the merchant listed below
(the "Merchant") dated 12/07/2021, (the "Agreement"). All capitalized terms used in his Addendum shall have the same meaning as
defined in the Agreement. Except as modified below, the terms of the Agreement remain in full force and effect.

                                                             MERCHANT INFORMATION

 Merchant's 1egl}l Name·                                 JLK CONSTRUCTION, LLC.
 DIBIA'                                                   JLK CONSTRUCTION, LLC.
 Eei;!eral Elli·
 :fh::z::sical Addressi                                   18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505

This Weekly Advance Addendum amends the Merchant Agreement and Security Agreement between GFE and the merchant listed below
(the "Merchant") dated 12/07/2021, (the "Agreement"). All capitalized terms used in his Addendum shall have the same meaning as
defirteil lri the Agreement. Except as moilifieil below, the terms of the Agreeinertt reinalrt in fill! force iilli! effect.

                                                          AGREEMENT AS TO ADVANCES

1. Weekl::z:: Sale and Purchase of Merchant'§ Future Receipts: Merchant hereby offers to sell and GFE agrees to purchase, up to the Receipts Purchased
Amount, future Receipts on a weekly basis according to the attached schedule. GFE shall have the right to tenninate the purchase of any additional future
Receipts as set forth in Section 2 of this Addendum.
2. GpE's Ohligatjon to Make Future Pnrr;hases: GFE reserves the right to tenninate its obligation to make the weekly purchases at its option, if upon: (i) a
Event of Default has occurred, as defined in the Agreement; (ii) Merchant fails to provide to GFE a monthly Account statement, access codes to the
Account, and full access to merchant's Account prior making any weekly purchase as contemplated herein; (iii) Merchant obtains any additional funding
without providing prior written notice to and receiving written approval from GFE; (iv) the Specified Percentage of its weekly Receipts is not available
for ACH by GFE on any three (3) business days within any twenty (20) business day period; (v) Merchant has a 20% decline in monthly deposits that is
not due to regular seasonal payment fluctuations; (vi) GFE believes in its sole judgment that Merchant's business may not be able to generate future
Receipts sufficient to deliver the Purchased Receipts in a timely manner, vii) the Account has a negative balance; viii) Merchant is in arrears with respect
to its payment obligations under the Agreement or ix) the Merchant has failed to provide GFE with a complete account receivable report within any thirty
(30) day period prior to any weekly purchase contemplated herein In the event that weekly purchases are tenninated, the Merchant will remain obligated
to deliver the Specified Percentage of its weekly Receipts to GFE until GFE has received the Receipts GFE purchased prior to tennination, and to comply
with all other provisions of this Agreement.
3. Merchant's Indebtedness When Receints 11Irchased Amount Ts Sold Tp Increments: When Merchant sells and GFE purchases the Receipts Purchased
Amount, or portions thereof, in increments, the Merchant's indebtedness to GFE under the Agreement (excluding any fees and expenses then then due
and owing) shall at any given point in time be equal to the percentage of the total Receipts Purchase Amount that the total of all increments then paid by
GFE to the Merchant bears to Total Purchase Price as set forth in the Agreement.
THE TERMS OF THIS ATTACHMENT AARE HEREBY INCORPORATED INTO AND MADE A PART OF THE MERCHANT AGREEMENT
IDENTIFIED ABOVE, AND MERCHANT.HEREBY ACKNOWLEDGES THAT THE PERIODIC PURCHASE OF FUTURE RECEIPTS
HEREUNDER ARE SUBJECT TO THE TERMS AND CONDITIONS OF THE MERCHANT AGREEMENT
 l\IERCHAN I' (#1)                                               Signature
 Full Name:                  JESSE LEE KA GARI CE                Home Address:
 Title                       Sole Member                         Cell Phone Number:
 Social Security No:                                             Home or Secondary Number:
 Driver License No:                                              Email:                        jesse@jlkconstruction.com


 O\\INEll/GUARAi'i roR (#1)                                      Signature
 Full Name:         JESSE LEE KAOARICE                           Home Address:                               'ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
 Title                       Sole Member                         Cell Phone Number:
 Social Security No:                                             Home or Secondary Number:
 Driver License No:                                              Email:                         jesse@jlkconstruction.com




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 D/B/A;                                                  JLK CONSTRUCTION, LLC.
 Ee~eral ETN·

 Phj'.sical Address:                                     18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505



                                             GFE Weekly Distribution Grid-Special Agreement


              Increment                 1               2                     3                  4                     5
              Amount                    $106,090.50     $33,090.50            $33,090.50         $33,090.50            $33,090.50
              Increment                 6               7                     8                  9                     10
              Amount                    $33,090.50      $33,090.50            $33,090.50         $33,090.50            $33,090.50
              Increment                 11              12                    13                 14                    15
              Amount                    $33,090.50      $33,090.50            $33,090.50         $33,090.50            $33,090.50
              Increment                 16
              Amount                    $30,642.50




                                      *Appropriate fee will be deducted from the first increment.

                                              See APPENDIX A STRUCTURE for fee details.

 i\IERCllANT (#1)                                             Signature
 Full Name:                  JESSE LEE KAGARICE               Home Address:                             .ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
 Title                       Sole Member                      Cell Phone Number:
 Social Security No:                                          Home or Secundary Number:
 Driver License No:                                           Email:                       jesse@jlkconstruction.com




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Source Envelope:
Document Pages: 19                             Signatures: 13                                     Envelope Originator:
Certificate Pages: 5                           Initials: 19                                       GFE Contract Team
AutoNav: Enabled                                                                                  27-01 Queens Plaza North, Suite 802
Envelopeld Stamping: Enabled                                                                      Long Island City, NY 11101
Time Zone: (UTC-05:00) Eastern Time (US & Canada)                                                 contracts@globalfundingexperts.com
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Sam Brugman
sbrugman@pmfus:com
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Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
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contracts@globalfundlngexperts.com                 .                         _
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Global Funding Experts
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Electronic Record and Signature Disclosure:
   Not Offered via DocuSign




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        Parties agreea ta: JESSE LEE KAGARICE




                    ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

                    From time to time, Global Funding Experts (we, us or Company) may be required by law to
                    provide to you certain written notices or disclosures, Described below are the terms and
                    conditions for providing to you such notices and disclosures electronically through the DocuSign
                    system. Please read the information below carefully and thoroughly, and if you can access this
                    information electronically to your satisfaction and agree to this Electronic Record and Signature
                    Disclosure (ERSD), please confirm your agreement by selecting the check-box next to 'I agree to
                    use electronic records and signatures' before clicking 'CONTINUE' within the DocuSign
                    system.


                    Getting paper copies

                    At any time, you may request from us a paper copy of any record provided or made available
                    electronically to you by us. You will have the ability to download and print documents we send
                    to you through the DocuSign system during and immediately after the signing session and, if you
                    elect to create a DocuSign account, you may access the documents for a limited period of time
                    (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
                    send you paper copies of any such documents from our office to you, you will be charged a
                    $0.00 per-page fee. You may request delivery of such paper copies from us by following the
                    procedure described below.


                    Withdrawing your consent

                    If you decide to receive notices and disclosures from us electronically, you may at any time
                    change your mind and tell us that thereafter you want to receive required notices and disclosures
                    only in paper format. How you must inform us of your decision to receive future notices and
                    disclosure in paper format and withdraw your consent to receive notices and disclosures
                    electronically is described below.


                    Consequences of changing your mind

                    If you elect to receive required notices and disclosures only in paper format, it will slow the
                    speed at which we can complete certain steps in transactions with you and delivering services to
                    you because we will need first to send the required notices or disclosures to you in paper format,
                    and then wait until we receive back from you your acknowledgment of your receipt of such
                    paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
                    receive required notices and consents electronically from us or to sign electronically documents
                    from us.


                     All notices and disclosures will be sent to you electronically




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Unless you tell us otherwise in accordance with the procedures described herein, we will provide
electronically to you through the DocuSign system all required notices, disclosures,
authorizations, acknowledgements, and other documents that are required to be provided or made
available to you during the course of our relationship with you. To reduce the chance of you
inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
notices and disclosures to you by the same method and to the same address that you have given
us. Thus, you can receive all the disclosures and notices electronically or in paper format through
the paper mail delivery system. If you do not agree with this process, please let us know as
described below. Please also see the paragraph immediately above that describes the
consequences of your electing not to receive delivery of the notices and disclosures
electronically from us.


How to contact Global Funding Experts:

You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
To contact us by email send messages to: samin@globalfundingexperts.com


To advise Global Fonding Experts of your new email address

To let us know of a change in your email address where we should send notices and disclosures
electronically to you, you must send an email message to us at samin@globalfundingexperts.com
and in the body of such request you must state: your previous email address, your new email
address. We do not require any other information from you to change your email address.

If you created a DocuSign account, you may update it with your new email address through your
account preferences.


To request paper copies from Global Funding Experts

To request delivery from us of paper copies of the notices and disclosures previously provided
by us to you electronically, you must send us an email to samin@globalfundingexperts.com and
in the body of such request you must state your email address, full name, mailing address, and
telephone number. We will bill you for any fees at that time, if any.


To withdraw your consent with Global Funding Experts

To inform us that you no longer wish to receive future notices and disclosures in electronic
format you may:




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      i. decline to sign a document from within your signing session, and on the subsequent page,
      select the check-box indicating you wish to withdraw your consent, or you may;

      ii. send us an email to samin@globalfundingexperts.com and in the body of such request you
      must state your email, full name, mailing address, and telephone number. We do not need any
      other information from you to withdraw consent.. The consequences of your withdrawing
      consent for online documents will be that transactions may take a longer time to process ..


      Required hardware and software

      The minimum system requirements for using the DocuSign system may change over time. The
      current system requirements are found here: https://support.docusign.com/guides/signer-guide-
      signing-system-requirements.


      Acknowledging your access and consent to receive and sign documents electronically

      To confirm to us that you can access this information electronically, which will be similar to
      other electronic notices and disclosures that we will provide to you, please confirm that you have
      read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
      your future reference and access; or (ii) that you are able to email this ERSD to an email address
      where you will be able to print on paper or save it for your future reference and access. Further,
      if you consent to receiving notices and disclosures exclusively in electronic format as described
      herein, then select the check-box next to 'I agree to use electronic records and signatures' before
      clicking 'CONTINUE' within the DocuSign system.

      By selecting the check-box next to 'I agree to use electronic records and signatures', you confirm
      that:

         •    You can access and read this Electronic Record and Signature Disclosure; and
         •    You can print bn paper this Electtbnic Recbrd ahd Signature Disdbsure, br save bt send
              this Electronic Record and Disclosure to a location where you can print it, for future
              reference and access; and
          •   Until or unless you notify Global Funding Experts as described above, you consent to
              receive exclusively through electronic means all notices, disclosures, authorizations,
              acknowledgements, and other documents that are required to be provided or made
              available to you by Global Funding Experts during the course of your relationship with
              Global Funding Experts.




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                       MERCHANT CONTRACT:

                       JLK CONSTRUCTION, LLC.




    I hereby certify that ISO - Premium Merchant Funding (“Agent”) acted as a Merchant’s agent.


                                      Completed and attested by:


                                          {{ ds_merchant_title_sign_1 }}




        07/13/2022       Agent Name: ISO - Premium Merchant Funding

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                                          27-01 Queens Plaza North, Suite 802, Long Island City, NY 11101
                                                      Tel: 1-877-253-7686, Fax: 718-504-3736
                               Website: www.globalfundingexperts.com / Email: underwriting@globalfundingexperts.com
 __________________________________________________________________________________________________________________________________________


                                                                   MERCHANT AGREEMENT
Agreement dated _____07/13/2022_____ between White Road Capital LLC, Series: 120785, D/B/A: GFE Holdings ("White Road") and the Merchant listed
below ("MERCHANT")
                       (Month) (Day) (Year)
                                                                       MERCHANT INFORMATION

  Merchant’s Legal Name:                                            JLK CONSTRUCTION, LLC.
  D/B/A:                                                            JLK CONSTRUCTION, LLC.
  State of Incorporation / Organization:                            MO
  Type of Business Entity:                                          LLC
  Federal EIN:
  Physical Address:                                                 18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
  Mailing Address:                                                  PO BOX 8820, Saint Joseph, MO, 64508
  Primary Contact & Number:                                         JESSE LEE KAGARICE ((816) 273-7860)

                                                       PURCHASE AND SALE OF FUTURE RECEIVABLES
Merchant (“Merchant”), in consideration of the funds provided to Merchant by White Road as specified below (“Purchase Price”), hereby sells, assigns and transfers to White Road
(making White Road the absolute owner) the Specified Percentage indicated below of all of Merchant’s future accounts, contract rights and other entitlements arising from or relating to
the payment of monies from Merchant’s customers’ and/or other third party payors (the “Receipts”) defined as all payments made by cash, check, electronic transfer or other form of
monetary payment in the ordinary course of the Merchant’s business, for the payments due to Merchant as a result of Merchant’s sale of goods or services (the “Transactions”) until the
amount specified below (the “Purchased Amount”) has been delivered by or on behalf of Merchant to White Road.

The Purchased Amount shall be paid to White Road by Merchant irrevocably directing and authorizing that there be only one depositing bank account, which account must be
acceptable to and pre-approved by White Road (the “Account”) into which Merchant and Merchant’s customers shall remit the percentage specified below (the “Specified Percentage”)
of the Merchant’s settlement amounts due from each Transaction, until such time as White Road receives payment in full of the Purchased Amount. Merchant hereby authorizes White
Road to ACH Debit the specified remittances from the Merchant’s Account on the frequency outlined herein below in the “Specified Remittance Amount & Frequency” box and will
provide White Road with all required access codes and monthly bank statements. Merchant understands that it is responsible for ensuring that the Specified Percentage to be debited by
White Road remains in the Account and will be held responsible for any fees incurred by White Road resulting from a rejected ACH attempt or an event of default. (See Appendix A)
White Road is not responsible for any overdrafts or rejected transactions that may result from White Road’s ACH debiting the specified amounts under the terms of this agreement.
White Road will debit the specified remittance amount during a business day based on the frequency outlined herein below in the “Specified Remittance Amount & Frequency” box.
The Merchant shall deliver to White Road, no later than the 18th date of each month the bank statement for the Account in respect of the immediately preceding month. Within three
business days of White Road’s receipt of the Merchant’s monthly bank statements, White Road shall reconcile the Merchant’s Account by either crediting or debiting the difference
from or back to the Merchant’s Account so that the amount debited per month equals the Specified Percentage. If the Merchant fails to deliver the bank statement for the Account for
any month, White Road shall consider that the specific remittances were equal to the Specified Percentage of the settlement amount due from each Transaction for such month. White
Road may, upon Merchant’s request, adjust the amount of any payment due under this Agreement at White Road’s sole discretion and as it deems appropriate. Notwithstanding anything
to the contrary in this Agreement or any other agreement between White Road and Merchant, upon the violation of any provision contained in Section 1.11 of the MERCHANT
AGREEMENT TERMS AND CONDITIONS or the occurrence of an Event of Default under Section 3 of the MERCHANT AGREEMENT TERMS AND CONDITIONS, the
Specified Percentage shall equal 100%. A list of all fees applicable under this Agreement is contained in Appendix A.


  ORIGINAL OFFER:
  Total Purchase Price:                                $277,000.00                       Merchant’s Average Monthly Revenue:                             $435,706.03
  Purchased Amount of Receivables:                     $387,523.00                       Specified Percentage of Monthly Revenue:                        15%
  Total Fees*:                                         $0.00                             Specified Remittance Amount & Frequency:                        $2,499.00 / Daily
  Net Funded Amount**:                                 $277,000.00                       Initial Estimated # of Remittance Payments:                     156

* This amount reflects the total fees Merchant will pay at funding. See Appendix A for a complete breakdown of fees.
** This amount reflects the total funds Merchant will receive after all the fees and balance transfers are deducted from the Total Purchase Price. See Balance Transfer Form
for a complete breakdown of the remaining RTR balances.
*** If an Early Payment Addendum has been executed by White Road and the Merchant, the promotional early termination discount referenced above shall be applicable
subject to the terms and conditions set forth in the Early Payment Addendum.

The Total Purchase Price may also be paid incrementally over time, in the increments and in the Specific Remittance Amounts set forth in the Attachment A Addendum
annexed hereto.
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Merchant #1 Initials: _______                                                                                                                                           Page 2 of 20
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          Case 23-04033-btf
THE MERCHANT AGR
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                                           Filed 10/25/23       Entered 10/25/23 18:04:59 Desc Main
                                                       ON PAGE 2, THE “SECURITY AGREEMENT AND GUARANTY” AND THE
                                          Document         Page    84A of
“ADMINISTRATIVE FORM HEREOF, ARE ALL HEREBY INCORPORATED IN AND MADE       141
                                                                        PART OF THIS MERCHANT AGREEMENT. BY SIGNING
BELOW, MERCHANT HEREBY REPRESENTS AND WARRANTS THAT NOTHING CONTAINED HEREIN IS FALSE, MISLEADING, AND THAT MERCHANT
HAS NOT FAILED TO DISCLOSE ANY MATERIAL INFORMATION TO OBTAIN FUNDING FROM White Road.


  MERCHANT (#1)                                           Signature                    {{ ds_merchant_sign_1 }}
  Full Name:             JESSE LEE KAGARICE               Home Address:                18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
  Title                  Sole Member                      Cell Phone Number:          
                                                                                       {{ ds_merch_1_cp }}
  Social Security No:                                     Home or Secondary Number:   
                                                                                       {{ ds_merch_1_hp }}
  Driver License No:                                      Email:                       jesse@jlkconstruction.com


  OWNER / GUARANTOR (#1)                                  Signature                    {{ ds_merchant_sign_1 }}
  Full Name:             JESSE LEE KAGARICE               Home Address:                18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505
  Title                  Sole Member                      Cell Phone Number:          
                                                                                       {{ ds_owner_1_cp }}
  Social Security No:                                     Home or Secondary Number:   
                                                                                       {{ ds_owner_1_hp }}
  Driver License No:                                      Email:                       jesse@jlkconstruction.com




White Road Capital LLC, Series: 120785, D/B/A: GFE Holdings
By:
___________________________________________________
                         (Company Officer)




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Merchant #1 Initials: _______                                                                                                       Page 3 of 20
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          Case 23-04033-btf                Doc 1 Filed 10/25/23 Entered 10/25/23 18:04:59                                        Desc Main
                                          MERCHANT AGREEMENT TERMS AND CONDITIONS
                                                Document      Page 85 of 141
I. TERMS OF ENROLLMENT IN PROGRAM
1.1 Merchant Deposit Agreement. Merchant shall execute an agreement (the “Merchant Deposit Agreement”) acceptable to White Road with a Bank
acceptable to White Road to obtain electronic fund transfer services for the Merchant’s account at the Bank approved by White Road (the “Account”).
Merchant shall provide White Road and/or its authorized agent(s) with all of the information, authorizations and passwords necessary for verifying
Merchant’s receivables, receipts, deposits and withdrawals into and from the Account. Merchant hereby authorizes White Road and/or its agent(s) to
deduct from the Account the amounts owed to White Road for the receipts as specified herein and to pay such amounts to White Road. Merchant also
hereby authorizes White Road to withdraw from the Account the Specified Percentage(s) and/or sums by White Road debiting the account. These
authorizations apply not only to the approved Account but also to any subsequent or alternate account used by the Merchant for these deposits, whether
pre-approved by White Road or not. This additional authorization is not a waiver of White Road’s entitlement to declare this Agreement breached by
Merchant as a result of its usage of an account which White Road did not first pre-approve in writing prior to Merchant’s usage thereof. The
aforementioned authorizations shall be irrevocable without the written consent of White Road.

Merchant understands and agrees that this Agreement, including the authorizations to access Merchant`s accounts (including the Account) set forth
herein, as well as all other payment processing agreements entered into with respect to the Transactions irrevocably authorize the processor of such
payments (the “Processor”) and Operator to pay the cash attributable to the Specified Percentage of Receivables to White Road rather than to Merchant
until White Road receives the cash attributable to the entire Specified Amount of Future Receivables from Processor and Operator. Merchant and
Guarantor(s) authorize White Road and its agents: i) to investigate Merchant’s financial status and history, and will provide to White Road any
authorizations, bank or financial statements, tax returns, etc., as White Road deems necessary in its sole and absolute discretion prior to or at any time
after execution of this Agreement. and ii) to update such information and financial and credit profiles from time to time as White Road deems appropriate.
Merchant hereby authorizes all of its banks, brokers, processors and customers to provide White Road with Merchant's bank statements, brokerage
statements, processing history and such other statements and information as White Road may in its sole discretion require to determine Merchant’s and
Guarantor’s qualification or continuation in this program and for collections purposes. Merchant shall provide White Road with copies of any documents
related to Merchant's card processing activity or financial and banking affairs within five days after a request from White Road.

These authorizations and instructions may be revoked only with the prior written consent of White Road. Merchant agrees that Processor and Operator
may rely upon the instructions of White Road, without any independent verification, in making the cash payments above. Merchant waives any claim for
damages it may have against Processor or Operator in connection with actions taken based on instructions from White Road, unless such damages were
due to such Processor`s or Operator`s failure to follow White Road`s instructions. Merchant acknowledges and agrees that (a) Processor and Operator will
be acting on behalf of White Road with respect to the specified Percentage of Receivables until cash attributable to the entire Specified Amount of Future
Receivables has been remitted by Processor and Operator to White Road, (b) Processor and Operator may or may not be affiliates of White Road, (c)
White Road does not have any power or authority to control Processor`s or Operator`s actions with respect to the processing of Card transactions or
remittance of cash to White Road, (d) White Road is not responsible and shall not be liable for, and Merchant agrees to hold White Road harmless for, the
actions of Processor and Operator, and (e) funds representing the Specified Percentage of Receivables in the possession of Processing or Operator
constitute property owned solely by White Road, and Merchant disclaims any and all interest therein. For purposes of this Agreement, the term
“Operator” shall mean White Road or any person or entity designated by White Road to debit or otherwise withdraw (via the Automated Clearing House
(“ACH”) system, electronic checks, wires, or otherwise) any amounts from Merchant`s or principal(s) accounts as authorized or permitted by this
Agreement.

1.2 Term of Agreement. This Agreement shall remain in full force and effect until the entire “Purchased Amount” is received by White Road as per the
terms of this Agreement. The termination of this Agreement shall not affect Merchant’s continuing obligation and responsibility to fully satisfy all
outstanding obligations that are due to White Road.

1.3 Future Purchases. White Road reserves the right to rescind the offer to make any purchase payments hereunder, in its sole and absolute discretion.
1.4 Financial Condition. Merchant and Guarantor(s) (as hereinafter defined) authorize White Road, its agents and representatives, as well as any credit
reporting agency engaged by White Road, i) to investigate their financial responsibility and history, including any references given or any other
statements or data obtained from or about Merchant or any of the Guarantor(s); ii) to obtain consumer and business credit reports on the Merchant and
Guarantor(s); iii) to contact any current or prior bank of the Merchant in order to obtain whatever information it may require regarding any and all of
Merchant’s transactions with any such bank, including, but not limited to applications, bank statements, financial statements and tax returns; and (iv) to
contact personal and business references provided by the Merchant or Guarantor(s), at any time now or for so long as Merchant and/or Guarantor(s)
continue to have any obligation owed to White Road as a consequence of this Merchant Agreement or for White Road's ability to determine Merchant’s
eligibility to enter into any future agreement with White Road. Merchant and Guarantor(s) will further provide to White Road any authorizations, bank or
financial statements, tax returns, etc., as White Road deems necessary in its sole and absolute discretion prior to or at any time after execution of this
Agreement. A photocopy of this authorization will be deemed as acceptable as an authorization for release of financial and credit information. White
Road is authorized to update such information and financial and credit profiles from time to time as it deems appropriate. Merchant and Guarantor(s)
acknowledge and agree that all information (financial and other) provided by or on behalf of Merchant and Guarantor(s) has been relied upon to White
Road in connection with its decision to purchase the Specified Amount of Future Receivables from Merchant.

1.5 Transactional History. Merchant authorizes all of their banks and brokers to provide White Road with Merchant’s banking, brokerage and/or
processing history to determine qualification or continuation in this program. Merchant herby (i) authorizes White Road to contact any past, present or
future processor of Merchant, its predecessors or affiliates, to obtain any information that White Road deems necessary or appropriate regarding any of
their transactions with such processors, and (ii) authorizes and directs such processors to provide White Road with all such information in compliance
with this Section. Such information may include information to verify the amount of Card receivables previously processed on behalf of Merchant, its
predecessors or affiliates, and any amounts that may have been paid to, offset, held or reversed by, such processors. Without limiting the generality of the
foregoing, Merchant authorizes White Road to contact any past, present or future processor of Merchant, its predecessors or affiliates, to confirm that
Merchant is exclusively using the Processor accepted by White Road in accordance with this Agreement.
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Merchant #1 Initials: _______                                                                                                                 Page 4 of 20
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          Case 23-04033-btf
1.6 Indemnification.
                                            Doc 1         Filed 10/25/23              Entered 10/25/23 18:04:59                       Desc Main
                                                                         indemnify and hold harmless Processor and Operator, their respective officers,
                                                        Document              Page 86 of 141
directors, affiliates, employees, agents, representatives and shareholders against all losses, damages, claims, liabilities and expenses (including reasonable
attorney’s fees) suffered or incurred by Processor or Operator resulting from (a) claims asserted by White Road for monies owed to White Road from
Merchant and (b) actions taken by Processor in reliance upon any fraudulent, misleading or deceptive information or instructions provided by White
Road.

1.7 No Liability. In no event will Processor, Operator or White Road be liable for any claims asserted by Merchant or Guarantors under any legal theory
or law, including any tort or contract theory for lost profits, lost revenues, lost business opportunities, exemplary, punitive, special, incidental, indirect or
consequential damages, each of which is waived by both Merchant and Guarantor(s). In the event these claims are nonetheless raised, Merchant and
Guarantors will be jointly liable for all of White Road’s legal fees and expenses resulting therefrom.

1.8 Reliance on Terms. Section 1.1, 1.7, 1.8 and 2.5 of this Agreement are agreed to for the benefit of Merchant, White Road and Processor, and
notwithstanding the fact that Processor is not a party of this Agreement, Processor may rely upon their terms and raise them as a defense in any action.

1.9 Sale of Receipts. Merchant and White Road agree that the Purchase Price under this Agreement is in exchange for the Purchased Amount, and that
such Purchase Price is not intended to be, nor shall it be construed as a loan from White Road to Merchant. Merchant agrees that the Purchase Price is in
exchange for the Receipts pursuant to this Agreement, and that it equals the fair market value of such Receipts. White Road has purchased and shall own
all the Receipts described in this Agreement up to the full Purchased Amount as the Receipts are created. Payments made to White Road in respect to the
full amount of the Receipts shall be conditioned upon Merchant’s sale of products and services, and the payment therefore by Merchant’s customers in the
manner provided in Section 1.1. In no event shall the aggregate of all amounts or any portion thereof be deemed as interest hereunder, and in the event it
is found to be interest despite the parties hereto specifically representing that it is NOT interest, - it shall be found that no sum charged or collected
hereunder shall exceed the highest rate permissible at law. In the event that a court nonetheless determines that White Road has charged or received
interest hereunder in excess of the highest applicable rate, the rate in effect hereunder shall automatically be reduced to the maximum rate permitted by
applicable law and White Road shall promptly refund to Merchant any interest received by White Road in excess of the maximum lawful rate, it being
intended that Merchant not pay or contract to pay, and that White Road not receive or contract to receive, directly or indirectly in any manner whatsoever,
interest in excess of that which may be paid by Merchant under applicable law. Merchant is not a debtor to White Road as of the date of this Agreement.
As a result thereof, Merchant knowingly and willingly waives the defense of Usury in any action or proceeding.

1.10 Power of Attorney. Merchant irrevocably appoints White Road as its agent and attorney-in-fact with full authority to take any action or execute any
instrument or document to settle all obligations due to White Road from Processor, or in the case of a violation by Merchant of Section 1.12 or the
occurrence of an Event of Default under Section 4 hereof, from Merchant, under this Agreement, including without limitation (i) to obtain and adjust
insurance; (ii) to collect monies due or to become due under or in respect of any of the Collateral; (iii) to receive, endorse and collect any checks, notes,
drafts, instruments, documents or chattel paper in connection with clause (i) or clause (ii) above; (iv) to sign Merchant’s name on any invoice, bill of
lading, or assignment directing customers or account debtors to make payment directly to White Road; and (v) to file any claims or take any action or
institute any proceeding which White Road may deem necessary for the collection of any of the unpaid Purchased Amount from the Collateral, or
otherwise to enforce its rights with respect to payment of the Purchased Amount. In connection therewith, all costs, expenses and fees, including legal
fees, shall be payable by and from Merchant, and White Road is authorized to use Merchant’s funds to pay for same. In addition to any other remedies
available for violation of the Merchant’s Contractual Covenants, in the event that Merchant changes or permits the change of the Processor accepted by
White Road or utilizes the services of an additional Processor, White Road shall have the right, without waiving any of its rights or remedies and without
notice to Merchant or Principal(s), to notify the new or additional Processor of the sale of the Specified Amount of Future Receivables hereunder and to
direct such new or additional Processor to make payment to White Road of all or any portion of the amounts received or held by such Processor for or on
behalf of Merchant to pay any amounts White Road is entitled to receive hereunder. Merchant hereby grants White Road an irrevocable power of
attorney, which power of attorney shall be coupled with an interest, and hereby appoints White Road and its designees as Merchant’s attorney-in-fact, to
take any and all actions necessary and appropriate to direct such new or additional Processor to make payment to White Road as contemplated by this
Section. Merchant further hereby grants White Road an irrevocable power of attorney, which power of attorney shall be coupled with an interest, and
hereby appoints White Road and its designees as Merchant’s attorney-in-fact, to execute any all documents in the Merchant’s name sufficient to provide
and perfect any security interest granted by Merchant to White Road hereunder, including but not limited to security interests in motor vehicles and real
estate.

1.11 Protections against Default. The following Protections 1 through 8 may be invoked by White Road immediately and without notice to Merchant in
the event: (a) Merchant takes any action to discourage the use of electronic check processing that are settled through Processor, or permits any event to
occur that could have an adverse effect on the use, acceptance, or authorization of checks or other payments or deposits for the purchase of Merchant’s
services and products including but not limited to direct deposit of any checks into a bank account without scanning into the White Road electronic check
processor; (b) Merchant changes its arrangements with Processor in any way that is adverse or unacceptable to White Road; (c) Merchant changes the
electronic check processor through which the Receipts are settled from Processor to another electronic check processor, or permits any event to occur that
could cause diversion of any of Merchant’s check or deposit transactions to another processor or an unauthorized depository account; (d) Merchant
interrupts the operation of this business (other than adverse weather, natural disasters or acts of God), transfers, moves, sells, disposes, or otherwise
conveys its business and/or assets without (i) the express prior written consent of White Road, and (ii) the written agreement of any purchaser or
transferee to the assumption of all of Merchant’s obligations under this Agreement pursuant to documentation satisfactory to White Road; (e) Merchant
takes any action, fails to take any action, or offers any incentive—economic or otherwise—the result of which will be to induce any customer or
customers to pay for Merchant’s services with any means other than payments, checks or deposits that are settled through Processor or (f) Merchant enters
into any agreement with any third person or entity that relates to the Receipts or any portion thereof, whether in the form of a purchase, sale, loan, pledge
or the granting of any security interest in the Receipts or any portion thereof These protections are in addition to any other remedies available to White
Road at law, in equity or otherwise pursuant to this Agreement.

Protection 1. The full uncollected Purchase Amount plus all fees (including legal fees) due under this Agreement and the attached Security Agreement
become due and payable in full immediately.

Protection 2. White Road may enforce the provisions of the Personal Guaranty of Performance against the Guarantor(s).
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Merchant #1 Initials: _______                                                                                                                       Page 5 of 20
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          Case 23-04033-btf
Protection 3. Merchan
                                           Doc 1        Filed 10/25/23             Entered 10/25/23 18:04:59                     Desc Main
                                                                     Judgment in favor of White Road in the amount of Purchase Amount stated in the
                                                    Document             Page 87 of 141
Agreement. Merchant also hereby authorizes White Road to execute in the name of the Merchant affidavit(s) of Confession of Judgment in favor of White
Road in the amount of Purchase Amount stated in the Agreement. Upon breach of any provision in this paragraph 1.11, White Road may, without further
notice, enter judgment against Merchant(s) and Owner(s)/Guarantor(s) with the judgment clerk of any appropriate court based upon the affidavit(s) of
judgment by confession previously executed by Merchant(s) and Owner(s)/Guarantor(s).

Protection 4. White Road may enforce its security interest in the Collateral identified in the Security Agreement hereof.

Protection 5. The entire Purchase Amount and all fees (including legal fees) shall become immediately refundable and payable to White Road from
Merchant.

Protection 6. White Road may proceed to protect and enforce its rights and remedies by lawsuit. In any such lawsuit, under which White Road shall
recover Judgment against Merchant, Merchant shall be liable for all of White Road’s costs of the lawsuit, including but not limited to all reasonable
attorneys’ fees and court costs. White Road reserves the right to apply amounts received by it under this Agreement to any fees or other charges due to
White Road from Merchant prior to applying such amounts to reduce the amount of any outstanding Purchase Amount.

Protection 7. This Agreement shall be deemed Merchants Assignment of Merchant’s Lease of Merchant’s business premises to White Road. Upon
breach of any provision in this Agreement, White Road may exercise its rights under this Assignment of Lease without prior Notice to Merchant.

Protection 8. White Road may debit Merchant’s depository accounts wherever situated by means of ACH debit or facsimile White Road on a
computer-generated check drawn on Merchant’s bank account or otherwise for all sums due to White Road.

1.12 Protection of Information. Merchant and each person signing this Agreement on behalf of Merchant and/or as Owner or Guarantor, in respect of
himself or herself personally, authorizes White Road, its agents and employees to obtain and disclose information concerning Merchant’s and each
Owner’s and each Guarantor’s credit standing (including credit bureau reports that White Road obtains) and business conduct only to it employees.
agents, affiliates, subsidiaries, and credit reporting bureaus. Merchant and each Owner and each Guarantor hereby and each waives to the maximum
extent permitted by law any claim for damages against White Road or any of its affiliates relating to any (i) investigation undertaken by or on behalf of
White Road as permitted by this Agreement or (ii) disclosure of information as permitted by this Agreement.

1.13 Confidentiality. Merchant understands and agrees that the terms and conditions of the products and services offered by White Road, including this
Agreement and any other White Road documentations (collectively, “Confidential Information”) are proprietary and confidential information of White
Road. Accordingly unless disclosure is required by law or court order, Merchant shall not disclose Confidential Information of White Road to any person
other than an attorney, accountant, financial advisor or employee of Merchant who needs to know such information for the purpose of advising Merchant
(“Advisor”), provided such Advisor uses such information solely for the purpose of advising Merchant and first agrees in writing to be bound by the terms
of this section. A breach hereof entitles White Road to not only damages and legal fees but also to both a Temporary Restraining Order and a Preliminary
Injunction without Bond or Security.

1.14 Publicity. Merchant and each of Merchant’s Owners and all Guarantors hereto all hereby authorizes White Road to use its, his or her name in listings
of clients and in advertising and marketing materials.

1.15 D/B/A’s. Merchant hereby acknowledges and agrees that White Road may be using “doing business as” or “d/b/a” names in connection with various
matters relating to the transaction between White Road and Merchant, including the filing of UCC-1 financing statements and other notices or filings.

1.16 Purchase of Increments. In the event that White Road offers to purchase additional Receipts in the "increments' stated on Attachment A of this
Agreement, then White Road reserves the unilateral right to delay or rescind such offer in its sole and absolute discretion at any time.

1.17 Sharing of Information. Merchant hereby authorizes White Road to share information regarding Merchant’s performance under this Agreement
with affiliates and unaffiliated third parties.

II. REPRESENTATIONS, WARRANTIES AND COVENANTS
Merchant represents warrants and covenants that, as of this date and during the term of this Agreement, and until White Road is fully paid:
2.1 Financial Condition and Financial Information. Merchant’s and Guarantors’ bank and financial Statements, copies of which have been furnished to
White Road, and future statements which will be furnished hereafter at the discretion of White Road, fairly represent the financial condition of Merchant
at such dates, and since those dates there has been no material adverse changes, financial or otherwise, in such condition, operation or ownership of
Merchant. Merchant and Guarantors have a continuing, affirmative obligation to advise White Road of any material adverse change in their financial
condition, operation or ownership. Merchant hereby warrants that its Average Monthly Revenue as enumerated on page (1) of this Agreement is accurate,
and that any and all cash advances or loans outstanding by Merchant have be disclosed to White Road. White Road may request statements at any time
during the performance of this Agreement and the Merchant and Guarantors shall provide them to White Road within 5 business days. Merchant’s or
Guarantors’ failure to do so is a material breach of this Agreement.

2.2 Governmental Approvals. Merchant is in compliance and shall comply with all laws and has valid permits, authorizations and licenses to own,
operate and lease its properties and to conduct the business in which it is presently engaged and/or will engage in hereafter.

2.3 Authorization. Merchant, and the person(s) signing this Agreement on behalf of Merchant, have full power and authority to incur and perform the
obligations under this Agreement, all of which have been duly authorized.

2.4 Insurance. Merchant will maintain business-interruption insurance naming White Road as loss payee and additional insured in amounts and against
risks as are satisfactory to White Road and shall provide White Road proof of such insurance upon request. Merchant shall also maintain such other
insurance in such amounts and against such risks as White Road deems necessary to protect Merchant’s business, and Merchant shall provide proof of
such insurance to White Road upon demand.

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Merchant #1 Initials: _______                                                                                                                 Page 6 of 20
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          Case 23-04033-btf
2.5 Electronic Check
                                            Doc 1        Filed 10/25/23              Entered 10/25/23 18:04:59                      Desc Main
                                                                     ge its processor, add terminals, change its financial institution or bank account(s)or
                                                      Document             Page 88 of 141
take any other action that could have any adverse effect upon Merchant’s obligations under this Agreement, without White Road’s prior written consent.
Any such changes shall be a material breach of this Agreement.

2.6 Change of Name or Location and Related Entities. Merchant will not conduct Merchant’s businesses under any name other than as disclosed to the
Processor and White Road, nor shall Merchant change any of its places of business without prior written consent by White Road. Merchant does not and
shall not conduct Merchant’s business under any name other than as set forth in this agreement and shall not change its place of business. Merchant shall
not change its legal name, entity type or jurisdiction of organization. In the event Merchant, any of its officers or directors or any Owner/Guarantor,
during the term of this agreement or while Merchant remains liable to White Road for any obligations under this agreement, directly or indirectly,
including acting by, through or in conjunction with any other person, causes to be formed a new entity, otherwise becomes associated with any new or
existing entity, or was and/or is associated with an existing entity, whether corporate, partnership, limited liability company or otherwise, which operates
a business similar to or competitive with that of Merchant, such entity shall be deemed to have expressly assumed the obligations due White Road under
this Agreement. With respect to any such entity, White Road shall have the right to name such newly formed or existing entity as a debtor in any claim,
suit, or legal proceeding.

2.7 Daily Batch Out. Merchant will batch out receipts with the Processor on a daily basis.

2.8 Estoppel Certificate. Merchant will at every and all times, and from time to time, upon at least one (1) day’s prior notice from White Road to
Merchant, execute, acknowledge and deliver to White Road and/or to any other person, firm or corporation specified by White Road, a statement
certifying that this Agreement is unmodified and in full force and effect (or, if there have been modifications, that the same is in full force and effect as
modified and stating the modifications) and stating the dates which the Purchased Amount or any portion thereof has been repaid.

2.9 No Bankruptcy. As of the date of this Agreement, Merchant is not insolvent and does not contemplate and has not filed any petition for
bankruptcy protection under Title 11 of the United States Code and there has been no involuntary petition brought or pending against
Merchant. Merchant further warrants that it does not anticipate filing any such bankruptcy petition and it does not anticipate that an
involuntary petition will be filed against it.

2.10 Working Capital Funding. Merchant shall not enter into any arrangement, agreement or commitment that relates to or involves the Receipts or
future check sales, or any portion thereof, whether in the form of a purchase, sale, a loan against, collateral against or the sale or purchase of credits
against, such Receipts or future check sales, with any party other than White Road. White Road may share information regarding this Merchant
Agreement with any third party in order to determine whether Merchant is in compliance with this provision.

2.11 Unencumbered Receipts. Merchant has, and at all times will have, good, complete, unencumbered and marketable title to all Receipts, free and
clear of any and all liabilities, liens, claims, changes, restrictions, conditions, options, rights, mortgages, security interests, equities, pledges and
encumbrances of any kind or nature whatsoever or any other rights or interests that may be inconsistent with the transactions contemplated with, or
adverse to the interests of White Road. Without limiting the generality of the foregoing, all future Receipts purchased by White Road hereunder shall be
free and clear of any and all liens (other than White Road’s ownership rights therein) at the time they become Receivables. All amounts received by White
Road attributable to the Specified Amount of Future Receivables purchased by White Road hereunder shall arise from bona fide sales by Merchant of its
goods and services to Card holders who present their Cards as payment thereof.

2.12 Business Purpose. Merchant is a valid business in good standing under the laws of the jurisdictions in which it is organized and/or operates, and
Merchant is entering into this Agreement for business purposes and not as a consumer for personal, family or household purposes.

2.13 Defaults under Other Contracts. Merchant’s execution of, and/or performance under this Agreement, will not cause or create an event of default
by Merchant under any contract with another person or entity.

2.14 Good Faith, Best Efforts and Due Diligence. Merchant and Guarantors hereby affirm that it will conduct its business in Good Faith and will
expend its Best Efforts to maintain and grow its business, to ensure that White Road obtains the Purchased Amount. Furthermore, Merchant and
Guarantors hereby agree, warrant and represent hereby that they will constantly perform all appropriate Due Diligence and credit checks of all of the
customers’ finances, cash flow, solvency, good faith, payment histories and business reputations (the “Due Diligence Requirements”) as may suffice to
ensure any and all products and/or services provided, sold or delivered by Merchant to said customers will be paid for by customers in full and on time,
and will not result in the creation of an unpaid account. These Due Diligence Requirements must be performed prior to any sales to any customer, and
repeated no less frequently than monthly for so long as any sums are due from those customers. Full documentation of all of Merchant’s compliance with
its Due Diligence Requirements must be maintained in Merchant’s files so long as White Road has not fully collected all sums due to it. This is not a
guaranty of payment by customers, but is a guaranty of full, adequate and good faith Due Diligent investigation and credit check of customers before
extending credit to them and continuing no less frequently than monthly so long as sums are still due.

2.15 Taxes. Merchant will promptly pay all necessary taxes, including but not limited to employment, sales and use taxes.
2.16 No Violation of Prior Agreements. Merchant warrants that its execution and performance of this Merchant Agreement will not violate or conflict
with any other agreement, obligation, promise, court order, administrative order or decree, law or regulation to which Merchant is subject, including any
agreement that prohibits the sale or pledge of Merchant’s future receipts or the Purchased Amount.

2.17 Opportunity for Counsel. Merchant represents, warrants and agrees that it is a sophisticated business entity familiar with the kind of transaction
covered by the Merchant Agreement, and that it has been represented by legal counsel or has had full opportunity to consult with its own legal counsel.

2.18 Ongoing Obligations. Merchant hereby covenants and agrees that even after it receives some or all of the Purchase Price from White Road, it will
comply with White Road’s ongoing requests for any documentation from Merchant for the purpose of business and identify verification and underwriting
and verification (such as the merchant’s driver’s license, bank login, bank statements, or any other financial or business documentation). Merchant’s
failure to provide to White Road the requested documentation within twenty-four (24) hours shall be deemed a breach of this Agreement and White Road
shall no longer be obligated to provide any further funding to Merchant. In addition, if after receipt of said documentation from Merchant, White Road
discovers that Merchant made misrepresentations before receiving funding from White Road, White Road shall no longer be obligated to provide any
                                                                           -88- a breach of this Agreement.
further funding to Merchant and Merchant’s misrepresentations shall be deemed

Merchant #1 Initials: _______                                                                                                                     Page 7 of 20
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III. EVENTS OF DEFAULT AND REMEDIES
                                                Page 89 of 141
3.1 Events of Default. The occurrence of any of the following events shall constitute an “Event of Default” hereunder: (a) Merchant or Guarantor shall
violate any term or covenant in this Agreement; (b) Any representation or warranty by Merchant in this Agreement shall prove to have been incorrect,
false or misleading in any material respect when made; (c) the sending of notice of termination by Merchant; (d) Merchant shall transport, move,
interrupt, suspend, dissolve or terminate its business; (e) Merchant shall transfer or sell all or substantially all of its assets, or issue any notice of intended
bulk sale or transfer; (f) Merchant shall make or send notice of any intended bulk sale or transfer by Merchant; (g) Merchant shall use multiple depository
accounts without the prior written consent of White Road (h) Merchant shall change its depositing account without the prior written consent of White
Road; (i) Merchant shall perform any act that reduces the value of any Collateral granted under this Agreement; (j) the Specified Percentage of its daily
Receipts is not available for ACH by White Road on any three (3) business days within any twenty (20) business day period; (k) Merchant shall default
under any of the terms, covenants and conditions of any other agreement with White Road; or (l) Merchant fails to deposit its Receipts into the Account.

3.2 Personal Guaranty. In the event of a Default under Sections 2.3, 2.5, 2.6, 2.9, 2.10, 2.11, 2.12, 2.13, and 2.14 hereof, should White Road determine
that the Purchased Amount cannot be obtained from the Merchant’s business, White Road will enforce its rights against the Guarantors of this transaction.
Said Guarantors will be jointly and severally liable to White Road for all of White Road’s losses and damages, in additional to all costs, fees expenses and
legal fees associated with such enforcement. White Road shall not be required before exercising and enforcing its rights under this Personal Guaranty first
to resort to payment against Merchant or to any other person or to any collateral.

3.3 Remedies. In case any Event of Default occurs and is not waived pursuant to Section 4.4.1 hereof, White Road may proceed to protect and enforce its
rights or remedies by suit in equity or by action at law, or both, whether for the specific performance of any covenant, agreement or other provision
contained herein, or to enforce the performance of Merchant's and each Owner's/Guarantor's obligations hereunder, under the Security Agreement or
Guaranty, or pursuant to any other legal or equitable right or remedy. Upon Merchant's and/or Owner's/Guarantor's default hereunder, the balance of the
Purchased Amount remaining due, plus any applicable fees, shall become immediately due and payable to White Road. In addition, upon an Event of
Default, White Road may: i) enforce the provisions of the Security Agreement and Guaranty against each Merchant and Owner/Guarantor; ii) enforce its
security interest in the Collateral and the ; iii) adjust debits of Merchant's Account to a daily debit; iv) debit Merchant's deposit accounts wherever situated
by means of ACH debit or facsimile signature on a computer generated check drawn on Merchant's bank account for all or a portion of the balance of the
Purchased Amount remaining due, or White Road may instruct the Processor to forward to White Road, without any prior notice to Merchant, all or a
portion of the balance of the Purchased Amount remaining due, and v) without further notice, enter judgment against Merchant(s) and
Owner(s)/Guarantor(s) with the judgment clerk of the appropriate court based upon the affidavit(s) of judgment by confession previously executed by
Merchant(s) and Owner(s)/Guarantor(s). All rights, powers and remedies of White Road which may be exercised by White Road at any time after the
occurrence of an Event of Default are cumulative and not exclusive, and shall be in addition to any other rights, powers or remedies provided by law or
equity.

3.4 Costs. Merchant shall pay to White Road all reasonable costs associated with (a) a breach by Merchant of the Covenants in this Agreement and the
enforcement thereof, and(b) the enforcement of White Road ‘s remedies set forth in Section 3.3 above, including but not limited to court costs and
attorneys’ fees.

3.5 Required Notifications. Merchant is required to give White Road written notice within 24 hours of any filing under Title 11 of the United States
Code. Merchant is required to give White Road seven days’ written notice prior to the closing of any sale of all or substantially all of the Merchant’s
assets or stock.

IV.MISCELLANEOUS
4.1 Modifications; Agreements. No modification, amendment, waiver or consent of any provision of this Agreement shall be effective unless the same
shall be in writing and signed by White Road.

4.2 Assignment. This Agreement shall be binding upon and inure to the benefit of Merchant, Principal(s), White Road and their respective successors and
assigns, except that Merchant and Principal(s) shall not have the right to assign or delegate any of their rights or obligations hereunder or any interest
herein without prior written consent of White Road, which consent may be withheld in White Road’s sole discretion. Any such assignment or delegation
without White Road’s prior written consent shall be void. White Road reserves the right to assign or delegate this Agreement or any of its rights or
obligations hereunder with or without prior notice to Merchant. White Road may assign, transfer or sell its rights to receive the Purchased Amount or
delegate its duties hereunder, either in whole or in part.

4.3 Notices. All notices, requests, consents, demands and other communications hereunder shall be delivered by certified mail, return receipt requested, to
the merchant at the address set forth above in this agreement and to White Road at 2999 NE 191st Street, Unit 901, Miami, FL 33180 with a copy to 27-01
Queens Plaza North, Suite 802, Long Island City, NY 11101. Notices to White Road shall become effective only upon receipt by White Road. Notices to
Merchant shall become effective three days after mailing.

4.4 Waiver Remedies. No failure on the part of White Road to exercise, and no delay in exercising, any right under this Agreement shall operate as a
waiver thereof, nor shall any single or partial exercise of any right under this Agreement preclude any other or further exercise thereof or the exercise of
any other right. The remedies provided hereunder are cumulative and not exclusive of any remedies provided by law or equity.

4.5 Binding Effect; Governing Law, Venue and Jurisdiction. This Agreement shall be binding upon and inure to the benefit of Merchant, White Road
and their respective successors and assigns, except that Merchant shall not have the right to assign its rights hereunder or any interest herein without the
prior written consent of White Road which consent may be withheld in White Road’s sole discretion. White Road reserves the rights to assign this
Agreement with or without prior written notice to Merchant. This Agreement shall be governed by and construed in accordance with the laws of the state
of New York, without regards to any applicable principals of conflicts of law. Any suit, action or proceeding arising hereunder, or the interpretation,
performance or breach hereof, may, if White Road so elects, be instituted in any court sitting in New York, (the “Acceptable Forums”). Merchant agrees
that the Acceptable Forums are convenient to it, and submits to the jurisdiction of the Acceptable Forums and waives any and all objections to jurisdiction
or venue. Should such proceeding be initiated in any other forum, Merchant waives any right to oppose any motion or application made by White Road to
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Merchant #1 Initials: _______                                                                                                                        Page 8 of 20
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4.6 Survival of Representation, etc. All representations, warranties and covenants herein shall survive the execution and delivery of this Agreement and
shall continue in full force until all obligations under this Agreement shall have been satisfied in full and this Agreement shall have terminated.

4.7 Interpretation. All Parties hereto have reviewed this Agreement with attorney of their own choosing and have relied only on their own attorneys’
guidance and advice. No construction determinations shall be made against either Party hereto as drafter.

4.8 Severability. In case any of the provision in this Agreement is found to be invalid, illegal or unenforceable in any respect, the validity, legality and
enforceability of any other provision contained herein shall not in any way be affected or impaired.

4.9 Entire Agreement. Any provision hereof prohibited by law shall be ineffective only to the extent of such prohibition without invalidating the
remaining provisions hereof. This Agreement and the Security Agreement and Guaranty hereto embody the entire agreement between Merchant and
White Road and supersede all prior agreements and understandings relating to the subject matter hereof. Merchant and Principal(s) each acknowledge and
agree that he, she or it is not relying on any representations not specifically embodied in this Agreement.

4.10 JURY TRIAL WAIVER.

THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR PROCEEDING ON ANY MATTER ARISING IN
CONNECTION WITH OR IN ANY WAY RELATED TO THE TRANSACTIONS OR THE ENFORCEMENT HEREOF. THE PARTIES HERETO
ACKNOWLEDGE THAT EACH MAKES THIS WAIVER KNOWINGLY, WILLINGLY AND VOLUNTARILY AND WITHOUT DURESS, AND
ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS OF THIS WAIVER WITH THEIR ATTORNEYS.

THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE OTHER PARTY AS A REPRESENTATIVE OR
MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT WHERE SUCH WAIVER IS PROHIBITED BY LAW AS AGAINST
PUBLIC POLICY. TO THE EXTENT EITHER PARTY IS PERMITTED BY LAW OR COURT OF LAW TO PROCEED WITH A CLASS OR
REPRESENTATIVE ACTION AGAINST THE OTHER, THE PARTIES HEREBY AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT BE
ENTITLED TO RECOVER ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE ACTION
(NOT WITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND ( 2) THE PARTY WHO INITIATES OR PARTICIPATES AS A
MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY RECOVERY SECURED THROUGH THE
CLASS OR REPRESENTATIVE ACTION.

4.11 Facsimile Acceptance. Merchant and Guarantor(s) hereby agree that facsimile and/or electronic signatures on this Merchant Agreement and
Guaranty, or photocopies thereof, that shall be deemed acceptable and treated as originals for all purposes, and shall be admissible as evidence of the
Merchant Agreement and Guaranty.

4.12. Right of Access. In order to ensure that Merchant is complying with the terms of this Merchant Agreement, Merchant agrees that White Road shall
have the right to (i) enter, without notice, the premises of Merchant’s business for the purpose of inspecting and checking Merchant’s transaction
processing terminals to ensure the terminals are properly programmed to submit and or batch Merchant’s daily receipts to the Processor and to ensure that
Merchant has not violated any other provision of this Agreement, and (ii) Merchant’s shall provide access to its employees and records and all other items
as requested by White Road, and (iii) have Merchant’s provide information about its business operations, banking relationships, vendors, landlord and
other information to allow White Road to interview any relevant parties. Furthermore, Merchant agrees to provide White Road, at all times with “Live
Contemporaneous Access” to all of its bank accounts in order for White Road to evaluate Merchant’s compliance with the Merchant Agreement, and for
collections in the event of a default under the Merchant Agreement. “Live Contemporaneous Access” shall be defined as: Merchant, at all times and
including but not limited to, providing White Road with accurate login information necessary to access all of Merchant’s Accounts, such as usernames
and passwords, answers to challenge questions, and security tokens.

4.13. Phone Recordings and Contact. Merchant agrees that any call between White Road and Merchant, and their agents and employees may be
recorded or monitored. Further, Merchant agrees that (i) it has an established business relationship with White Road, its employees and agents and that
Merchant may be contacted from time-to-time regarding this or other business transactions; (ii) that such communications and contacts are not unsolicited
or inconvenient; and (iii) that any such contact may be made at any phone number, emails address, or facsimile number given to White Road by the
Merchant, its agents or employees, including cellular telephones.

4.14. Monitoring, Recording, and Solicitations.
       a. Authorization to Contact Seller by Phone. Seller authorizes Buyer, its affiliates, agents and independent contractors to contact Seller at any
telephone number Seller provides to Buyer or from which Seller places a call to Buyer, or any telephone number where Buyer believes it may reach
Seller, using any means of communication, including but not limited to calls or text messages to mobile, cellular, wireless or similar devices or calls or
text messages using an automated telephone dialing system and/or artificial voices or prerecorded messages, even if Seller incurs charges for receiving
such communications.
      b. Authorization to Contact Seller by Other Means. Seller also agree that Buyer, its affiliates, agents and independent contractors, may use any other
medium not prohibited by law including, but not limited to, mail, e-mail and facsimile, to contact Seller. Seller expressly consents to conduct business by
electronic means.




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Merchant #1 Initials: _______                                                                                                                    Page 9 of 20
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  Merchant’s Legal Name:                                  JLK CONSTRUCTION, LLC.
  D/B/A:                                                  JLK CONSTRUCTION, LLC.
  Federal EIN:

  Physical Address:                                       18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505

                                                               SECURITY AGREEMENT


Security Interest. This Agreement will constitute a security agreement under the Uniform Commercial Code. Merchant grants to White Road a security
interest in and lien upon: (a) all accounts receivables, accounts, chattel paper, documents, equipment, general intangibles, instruments, and inventory, as
those terms are defined in Article 9 of the Uniform Commercial Code (the “UCC”), now or hereafter owned or acquired by Merchant, (b) all proceeds, as
that term is defined in Article 9 of the UCC (c) all funds at any time in the Merchant’s Account, regardless of the source of such funds, (d) present and
future Electronic Check Transactions, and (e) any amount which may be due to White Road under this Agreement, including but not limited to all rights
to receive any payments or credits under this Agreement (collectively, the “Secured Assets”). Merchant agrees to provide other security to White Road
upon request to secure Merchant’s obligations under this Agreement. Merchant agrees that, if at any time there are insufficient funds in Merchant’s
Account to cover White Road’s entitlements under this Agreement, White Road is granted a further security interest in all of Merchant’s assets of any
kind whatsoever, and such assets shall then become Secured Assets. These security interests and liens will secure all of White Road’s entitlements under
this Agreement and any other agreements now existing or later entered into between Merchant, White Road or an affiliate of White Road. White Road is
authorized to execute and file any and all notices or filings it deems necessary or appropriate to enforce its entitlements hereunder.

This security interest may be exercised by White Road without notice or demand of any kind by making an immediate withdrawal or freezing the Secured
Assets. Pursuant to Article 9 of the Uniform Commercial Code, as amended from time to time, White Road has control over and may direct the
disposition of the Secured Assets, without further consent of Merchant. Merchant hereby represents and warrants that no other person or entity has a
security interest in the Secured Assets. With respect to such security interests and liens, White Road will have all rights afforded under the Uniform
Commercial Code, any other applicable law and in equity. Merchant will obtain from White Road written consent prior to granting a security interest of
any kind in the Secured Assets to a third party. Merchant agrees that this is a contract of recoupment and White Road is not required to file a motion for
relief from a bankruptcy action automatic stay to realize on any of the Secured Assets. Nevertheless, Merchant agrees not to contest or object to any
motion for relief from the automatic stay filed by White Road. Merchant agrees to execute and deliver to White Road such instruments and documents
White Road may reasonably request to perfect and confirm the lien, security interest and right of setoff set forth in this Agreement. White Road is
authorized to execute all such instruments and documents in Merchant’s name.

In the event Merchant, any of its officers or directors or any Owner/Guarantor, during the term of this agreement or while Merchant remains liable to
White Road for any obligations under this agreement, directly or indirectly, including acting by, through or in conjunction with any other person, causes
to be formed a new entity, otherwise becomes associated with any new or existing entity, or was and/or is associated with an existing entity, whether
corporate, partnership, limited liability company or otherwise, which operates a business similar to or competitive with that of Merchant, such entity shall
be deemed to have expressly assumed the obligations due White Road under this Agreement. With respect to any such entity, White Road shall be
deemed to have been granted an irrevocable power of attorney with authority to file, naming such newly formed or existing entity as debtor, an initial
UCC financing Statement and to have it filed with any and all appropriate UCC filing offices. White Road shall be held harmless by Merchant and each
Owner/Guarantor and be relieved of any liability as a result of any such authentication and filing of any such Financing Statement or the resulting
perfection of its ownership rights or security interests in such entity’s assets. White Road shall have the right to notify such entity’s payors or account
debtor (as defined by the UCC) of White Road’s rights, including without limitation, White Road’s right to collect all accounts, and to notify any payment
card processor or creditor of such entity that White Road has such rights in such entity’s assets. Merchant also agrees that, at the White Road’s discretion,
White Road may choose to amend any existing financing statement to include any such newly formed entity as debtor.

Merchant and Guarantor each acknowledge and agree that any security interest granted to White Road under any other agreement between Merchant or
Guarantor and White Road (the “Cross-Collateral”) will secure the obligations hereunder and under the Merchant Agreement.

Merchant and Guarantor each agrees to execute any documents or take any action in connection with this Agreement as White Road deems necessary to
perfect or maintain White Road’s first priority security interest in the Collateral including the execution of any account control agreements. Merchant and
Guarantor each hereby authorizes White Road to file any financing statements deemed necessary by White Road to perfect or maintain White Road’s
security interest, which financing statement may contain notification that Merchant and/or Guarantor have granted a negative pledge to White Road with
respect to the Collateral, and that any subsequent lien or may be tortuously interfering with White Road’s rights. Merchant and Guarantor shall be liable
for, and White Road may charge and collect, all costs and expenses, including but not limited to attorney’s fees, which may be incurred by White Road in
protecting, preserving and enforcing White Road’s security interest and rights.

Negative Pledge. Merchant and Guarantor each agrees not to create, incur, assume, or permit to exist, directly or indirectly, any lien on or with respect to
any of the Collateral or the Additional Collateral, as applicable.

Consent to Enter Premises and Assign Lease. White Road shall have the right to cure Merchant’s default in the payment of rent on the following terms.
In the event Merchant is served with papers in an action against Merchant for nonpayment of rent or for summary eviction, White Road may execute its
rights and remedies under the Assignment of Lease. Merchant also agrees that White Road may enter into an agreement with Merchant’s landlord giving
White Road the right: (a) to enter Merchant’s premises and to take possession of the fixtures and equipment therein for the purpose of protecting and
preserving same; and/or (b) to assign Merchant’s lease to another qualified business capable of operating a business comparable to Merchant’s at such
premises.
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Merchant #1 Initials: _______                                                                                                                 Page 10 of 20
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                                                                          medy available at law (including those available under the provisions of the UCC),
                                                          Document            Page 92 of 141
or in equity to collect, enforce, or satisfy any obligations then owing to White Road, whether by acceleration or otherwise.

                                                                       GUARANTY


Personal Guaranty of Performance. The undersigned Guarantor(s) hereby guarantees to White Road, Merchant’s good faith, truthfulness and
performance of all of the representations, warranties, covenants made by Merchant in the Merchant Agreement in Sections thereof 2.3, 2.5, 2.6, 2.9, 2.10,
2.11, 2.12, 2.13 and 2.14, as each agreement may be renewed, amended, extended or otherwise modified (the “Guaranteed Obligations”). Guarantor’s
obligations are due at the time of any breach by Merchant of any representation, warranty, or covenant made by Merchant in the Agreement.

Guarantor Waivers. In the event of a breach of the above, White Road may seek recovery from Guarantors for all of White Road’s losses and damages
by enforcement of White Road’s rights under this Agreement without first seeking to obtain payment from Merchant, any other guarantor, or any
Collateral or Additional Collateral White Road may hold pursuant to this Agreement or any other guaranty.
White Road does not have to notify Guarantor of any of the following events and Guarantor will not be released from its obligations under this Agreement
if it is not notified of: (i) Merchant’s failure to pay timely any amount owed under the Merchant Agreement; (ii) any adverse change in Merchant’s
financial condition or business; (iii) any sale or other disposition of any collateral securing the Guaranteed Obligations or any other guaranty of the
Guaranteed Obligations; (iv) White Road’s acceptance of this Agreement; and (v) any renewal, extension or other modification of the Merchant
Agreement or Merchant’s other obligations to White Road. In addition, White Road may take any of the following actions without releasing Guarantor
from any of its obligations under this Agreement: (i) renew, extend or otherwise modify the Merchant Agreement or Merchant’s other obligations to
White Road; (ii) release Merchant from its obligations to White Road; (iii) sell, release, impair, waive or otherwise fail to realize upon any collateral
securing the Guaranteed Obligations or any other guaranty of the Guaranteed Obligations; and (iv) foreclose on any collateral securing the Guaranteed
Obligations or any other guaranty of the Guaranteed Obligations in a manner that impairs or precludes the right of Guarantor to obtain reimbursement for
payment under this Agreement. Until the Merchant Amount plus any accrued but unpaid interest and Merchant’s other obligations to White Road under
the Merchant Agreement and this Agreement are paid in full, Guarantor shall not seek reimbursement from Merchant or any other guarantor for any
amounts paid by it under this Agreement. Guarantor permanently waives and shall not seek to exercise any of the following rights that it may have against
Merchant, any other guarantor, or any collateral provided by Merchant or any other guarantor, for any amounts paid by it, or acts performed by it, under
this Agreement: (i) subrogation; (ii) reimbursement; (iii) performance; (iv) indemnification; or (v) contribution.

Guarantor Acknowledgement. Guarantor acknowledges that: (i) He/She understands the seriousness of the provisions of this Agreement; (ii) He/She
has had a full opportunity to consult with counsel of his/her choice; and (iii) He/She has consulted with counsel of its choice or has decided not to avail
himself/herself of that opportunity.

Joint and Several Liability. The obligations hereunder of the persons or entities constituting Guarantor under this Agreement are joint and several.

THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE “MERCHANT AGREEMENT”, INCLUDING
THE “TERMS AND CONDITIONS”, ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS SECURITY AGREEMENT AND
GUARANTY. CAPITALIZED TERMS NOT DEFINED IN THIS SECURITY AGREEMENT AND GUARANTY, SHALL HAVE THE
MEANING SET FORTH IN THE MERCHANT AGREEMENT, INCLUDING THE TERMS AND CONDITIONS.



  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE                      Social Security No:
  Title                         Sole Member                             Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}

  OWNER / GUARANTOR (#1)
  Full Name:                    JESSE LEE KAGARICE                      Social Security No:
  Title                         Sole Member                             Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                                                 Page 11 of 20
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A. Origination Fee - 0% of Purchase Price to cover Underwriting and related expenses. This expense is charged at the
time of funding.
B. ACH Program Fee - 0% of Purchase Price ACH’s are labor intensive and are not an automated process, requiring us
to charge this fee to cover costs. This expense is charged at the time of funding.
C. Miscellaneous Service Fees - Merchant shall pay certain fees for services related to the origination and maintenance
of Accounts, which fees are set forth below. Each Merchant shall receive their funding electronically to their designated
bank account, and the White Road may deduct some or all of the fees from the funded amount.
     A. Rejected ACH/Blocked ACH - $5,000.00 when Merchant blocks Account from our Debit ACH, or when
Merchant directs the bank to reject our debit ACH, which places them in default (per contract).
      B. Pre-Authorized Bank Change Fee - $50.00 When Merchant requires a change of Bank Account to be debited,
requiring us to adjust our system.
     C. Wire Fee - $50.00 Each Merchant shall receive their funding electronically to their designated bank account
and will be charged $50.00 for either a Fed Wire fee or a bank ACH fee.
          D. UCC Filing, Amendment or Termination Fee - $200.00.
       E. Default Fee - $5,000.00 when Merchant defaults under the Agreement, including but not limited to diverting its
Receivables from the bank account agreed upon in the “Authorization Agreement for Direct Deposit (ACH Credit) and
Direct Payments (ACH Debits)” or changing its credit card processing thus terminating or diverting the agreed upon
split.
      F. Account Management Fees - $45.00 upon origination, and $45.00 per month thereafter until the Purchase
Amount, together with any and all unpaid outstanding other fees have been paid in full. These Management Fees will
not be applied towards the reduction of the Purchase Amount.
       G. Stacking Fee - In the event that the Merchant enters into any cash advance or any loan agreement that relates to
or involves the Receipts with any person or entity other than White Road during any portion of the term of this
Agreement, then: i) Merchant shall pay to White Road a “Stacking” fee equal to $5,000.00 per occurrence, and ii) the
specified daily remittances that Merchant is obligated to pay to White Road hereunder shall be doubled, and Merchant
shall be deemed to have authorized White Road to double the amount of its ACH Debits from the Merchant’s Account
on a daily basis.
      H. Third Party Collections Fee – In the event that Merchant defaults under any of the terms and conditions of this
Agreement, Merchant shall pay to White Road, in addition to any other fees associated with Merchant’s default, a third
party collections fee equal to fifteen (15%) of the outstanding balance after all fees at the time of default.
          I. NSF Fee (Standard) - $ 35.00 each until a default is declared.
      J. Non-ACH Transaction Fee - When a Merchant makes a payment other than through ACH, the Merchant is
responsible for the cost of that transaction.


  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE           Social Security No:
  Title                         Sole Member                  Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                     Page 12 of 20
                                                                                                  Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf                  Doc 1        Filed 10/25/23 Entered 10/25/23 18:04:59                                         Desc Main
                                                           Merchant Verification
                                                         Document      Page 94Form
                                                                                 of 141
  Merchant Name: JESSE LEE KAGARICE

  1. Do you currently or within the last 90 days have any intentions, plans or discussions regarding closing your Business?
                                                                                                                                             {{ ds_m_1_q_1
                                                                                                                                             }}
  2. Do you currently or within the least 90 days have any intentions, plans or discussions to change the name or legal structure of the     {{ ds_m_1_q_2
  business?                                                                                                                                  }}

  3. Are you currently in, or contemplating personal bankruptcy?
                                                                                                                                             {{ ds_m_1_q_3
                                                                                                                                             }}

  4. Are you currently in, or contemplating business bankruptcy?
                                                                                                                                             {{ ds_m_1_q_4
                                                                                                                                             }}

  5. Is your business currently for sale?
                                                                                                                                             {{ ds_m_1_q_5
                                                                                                                                             }}

  6. Do you have any existing merchant cash advance balances?
                                                                                                                                             {{ ds_m_1_q_6
                                                                                                                                             }}

  7. Are you involved in any litigation proceedings or are a party to a lawsuit?
                                                                                                                                             {{ ds_m_1_q_7
                                                                                                                                             }}

  8. Is your business currently in default of any agreement with a creditor?
                                                                                                                                             {{ ds_m_1_q_8
                                                                                                                                             }}

  9. Is your business currently in forbearance agreement with a creditor?
                                                                                                                                             {{ ds_m_1_q_9
                                                                                                                                             }}
                                                                                                                                             {{
  10. Will selling the Future Receivables cause you to breach any agreement with a creditor?                                                 ds_m_1_q_10
                                                                                                                                             }}


  If you have answered YES to any of the above questions, please explain:
  {{ ds_m_1_t }}




I hereby certify that the above statements are true and correct to the best of my knowledge; I authorize my landlord and credit card
processor to discuss confidential account information for the purpose of satisfying the requirements of White Road Capital LLC, Series:
120785, D/B/A: GFE Holdings.

Completed and attested by:

  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE                          Social Security No:
  Title                         Sole Member                                 Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                                                     Page 13 of 20
                                                                                          Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf               Doc 1
                                      Filed 10/25/23 Entered 10/25/23 18:04:59 Desc Main
                      AUTHORIZATION AGREEMENT
                                     Document FOR    DIRECT
                                                   Page       DEPOSIT (ACH CREDIT)
                                                        95 of 141
                                              AND DIRECT PAYMENTS (ACH DEBITS)

This Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits) is part of (and incorporated by reference into) the
Merchant Agreement. Merchant should keep this important legal document for Merchant's records.

DISBURSEMENT OF ADVANCE PROCEEDS. By signing below, Merchant authorizes White Road to disburse the Advance proceeds less the amount
of any applicable fees upon Advance approval by initiating an ACH credit to the checking account indicated below (or a substitute checking account
Merchant later identifies and is acceptable to White Road) (hereinafter referred to as the "Designated Checking Account") This authorization is to remain
in full force and effect until White Road has received written notification from Merchant of its termination in such time and in such manner as to afford
White Road and Merchant's depository bank a reasonable opportunity to act on it.

BUSINESS PURPOSE ACCOUNT. By signing below, Merchant attests that the Designated Checking Account was established for business purposes and
not primarily for personal, family or household purposes.

MISCELLANEOUS. White Road is not responsible for any fees charged by Merchant's bank as the result of credits or debits initiated under this
agreement. The origination of ACH transactions to Merchant's account must comply with the provisions of U.S. law.

I, (We) JESSE LEE KAGARICE hereby Authorize, White Road Capital LLC, Series: 120785, D/B/A: GFE Holdings. (Hereinafter known as "White
Road") to Electronically (ACH) debit the Bank Account Below, of which I am a signer:

                                  NODAWAY VALLEY
  Bank Name:                                                     Tax ID:
                                  BANK
  ABA: Routing:                                                  DDA: Account:
  For the amount of:              $2,499.00                      (Or) Percentage of each Banking Deposit:          15%
  On the Following Days:          MONDAY-FRIDAY

This authorization is to remain in full force and effect until COMPANY has received written notification from me at least 5 banking days
prior of its termination to afford COMPANY a reasonable opportunity to act on it.


  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE                    Social Security No:
  Title                         Sole Member                           Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                                              Page 14 of 20
                                                               Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf               Doc 1
                                        Filed 10/25/23 Entered 10/25/23 18:04:59 Desc Main
Thank you for accepting an offer from White Road Capital
                                       Document          LLC,96
                                                      Page    Series:
                                                                of 141120785, D/B/A: GFE Holdings (“White
Road”). We look forward to being your funding partner for as long as you need.
Please note that the way your advance is set up with White Road, White Road requires viewing access to your bank
account each business day, throughout the term of this Agreement, in order that White Road may calculate and
verify the amount of your daily remittance. Please be assured that we will carefully safeguard your confidential
information and only essential personnel will have access to it.
White Road Capital LLC, Series: 120785, D/B/A: GFE Holdings. will also require viewing access to your bank
account, prior to funding, as part of the underwriting process.
Please be advised that for security purposes, White Road will request this information prior to funding. By signing
below, you hereby agree that if you fail to provide the requested bank login information prior to funding, White
Road shall have no obligation to provide funding. Please be further advised that if you change any of the bank login
information during the term of this Agreement or at any time while you still have any outstanding obligations to
White Road, you are required to immediately inform White Road of the changes made and provide White Road
with the new bank login information. Please see below for the list of questions that will be by White Road as it
relates to the banking information.
          1. Bank Portal Website;
          2. Bank Account Username;
          3. Bank Account Password;
          4. Security Question/Answer 1 of this Bank Account;
          5. Security Question/Answer 2 of this Bank Account;
          6. Security Question/Answer 3 of this Bank Account; and
          7. Any other information necessary to access your Bank Account.

If you have any questions please feel free to contact our cash management department.

  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE         Social Security No:
  Title                         Sole Member                Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                 Page 15 of 20
                                                                       Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf               Doc 1    Filed 10/25/23 Entered 10/25/23 18:04:59                Desc Main
                                              BANKDocument
                                                  ACCOUNT DISCLOSURE
                                                                Page 97 ofAFFIDAVIT
                                                                           141
For the purpose of obtaining the Business Cash Advance evidence by the Merchant Agreement of this same date herewith (the
“Business Cash Advance”) from White Road Capital LLC, Series: 120785, D/B/A: GFE Holdings., the undersigned
Seller/Merchant hereby makes the following statement under penalty of law:

OPTION 1 – DISCLOSURE AND AUTHORIZATION FOR ADDITIONAL ACCOUNTS:

By selecting this option, the Seller/Merchant hereby declares that in addition to the designated for ACH debit, the
Seller/Merchant also has the following additional account(s) which he authorizes us to use in the event we are unable to debit
from the designated account. The Seller/Merchant declares and warrents that it currently maintains no other bank account at
any financial institution other than those banks and accounts referenced below.


  Bank Name
  Name on Account
  Account Number
  Routing Number
  Fed ID number associated with this account
  Name associated with this account
  Phone number of person whose name is associated with this account


  Bank Name
  Name on Account
  Account Number
  Routing Number
  Fed ID number associated with this account
  Name associated with this account
  Phone number of person whose name is associated with this account


  Bank Name
  Name on Account
  Account Number
  Routing Number
  Fed ID number associated with this account
  Name associated with this account
  Phone number of person whose name is associated with this account

OPTION 2 - By selecting this option, the merchant swears, under penalty of law, that Merchant has no accounts in any
lending institution in addition to the one provided for ACH debit
PLEASE SELECT AN OPTION AND SIGN BELOW:


  MERCHANT (#1)
  Full Name:                    JESSE LEE KAGARICE          Social Security No:
  Title                         Sole Member                 Driver License No:
  Signature                     {{ ds_merchant_sign_1 }}




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Merchant #1 Initials: _______                                                                                         Page 16 of 20
                                                                                                    Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf                        Doc 1    Filed 10/25/23 Entered 10/25/23 18:04:59                                    Desc Main
                                                       ADDENDUM   TO MERCHANT
                                                           Document      Page 98AGREEMENT
                                                                                 of 141

       This Agreement will be governed by and construed in accordance with the laws of the State of New York, without
regard to any applicable principles of conflicts of law. Any litigation relating to this Agreement must be commenced and
maintained in any court located in New York State (the "Acceptable Forums"), however any action or proceeding to enforce a
judgment or arbitration award may also be commenced and maintained in any other court of competent jurisdiction. The
parties agree that the Acceptable Forums are convenient, submit to the jurisdiction of the Acceptable Forums, and waive any
and all objections to the jurisdiction or venue of the Acceptable Forums. If any litigation is initiated in any other venue or
forum, the parties waive any right to oppose any motion or application made by any party to transfer such litigation to an
Acceptable Forum.

          THE PARTIES AGREE TO WAIVE TRIAL BY JURY IN ANY DISPUTE BETWEEN THEM.

       In any litigation commenced by White Road, Merchant and Guarantor will not be permitted to interpose any
counterclaim. Merchant and Guarantor agree that any claim that is not asserted against White Road within 1 year of its accrual
will be time barred. If White Road prevails in any litigation with Merchant and/or Guarantor, then Merchant and Guarantor
must pay White Road’s reasonable attorney fees, which may include a contingency fee of up to 33% of the amount claimed,
expert fees, costs of suit, and prejudgment interest at a rate of 16% per annum (or the maximum rate permitted by applicable
law if lower). White Road, Merchant, and Guarantor agree that they may bring claims against each other relating to this
Agreement only in their individual capacities, and not as a plaintiff or class action member in any purported class or
representative proceedings.

     Merchant and Guarantor consent to service of process and legal notices made by certified mail, return receipt
requested delivered by the United States Postal Service and addressed to the Contact Address set forth immediately
below or on Page 1 of this Agreement, any such service will be deemed complete 5 days after dispatch.

I have read and agreed to the Terms and Conditions set forth above:

  MERCHANT (#1)                                                                  Signature             {{ ds_merchant_sign_1 }}
  Full Name:             JESSE LEE KAGARICE                                      Social Security No:
  Title                  Sole Member                                             Driver License No:
  Home Address:          18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505   Email:                jesse@jlkconstruction.com




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Merchant #1 Initials: _______                                                                                                                      Page 17 of 20
                                                          Agent Name: ISO - Premium Merchant Funding
          Case 23-04033-btf        Doc 1      Filed 10/25/23 Entered 10/25/23 18:04:59        Desc Main
                                                  TRADE REFERENCES
                                             Document      Page 99 of 141
Please provide a list of 3-5 professional references

  TRADE REFERENCE #1:
  Name:
  Phone Number:
  Email Address:

  TRADE REFERENCE #2:
  Name:
  Phone Number:
  Email Address:


  TRADE REFERENCE #3:
  Name:
  Phone Number:
  Email Address:

  TRADE REFERENCE #4:
  Name:
  Phone Number:
  Email Address:


  TRADE REFERENCE #5:
  Name:
  Phone Number:
  Email Address:




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Merchant #1 Initials: _______                                                                            Page 18 of 20
                                                                                                    Agent Name: ISO - Premium Merchant Funding
           Case 23-04033-btf                       Doc 1           Filed 10/25/23 Entered 10/25/23 18:04:59                             Desc Main
                                                                  DocumentAttachment
                                                                               Page A100 of 141
                                                Weekly Advance Addendum to the Merchant Agreement

This Weekly Advance Addendum amends the Merchant Agreement and Security Agreement between White Road and the merchant listed
below (the “Merchant”) dated 07/13/2022, (the “Agreement”). All capitalized terms used in his Addendum shall have the same meaning as
defined in the Agreement. Except as modified below, the terms of the Agreement remain in full force and effect.
                                                                            MERCHANT INFORMATION

  Merchant’s Legal Name:                                                JLK CONSTRUCTION, LLC.
  D/B/A:                                                                JLK CONSTRUCTION, LLC.
  Federal EIN:
  Physical Address:                                                     18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505

This Weekly Advance Addendum amends the Merchant Agreement and Security Agreement between White Road and the merchant listed
below (the “Merchant”) dated 07/13/2022, (the “Agreement”). All capitalized terms used in his Addendum shall have the same meaning as
defined in the Agreement. Except as modified below, the terms of the Agreement remain in full force and effect.

                                                                        AGREEMENT AS TO ADVANCES

1. Weekly Sale and Purchase of Merchant`s Future Receipts: Merchant hereby offers to sell and White Road agrees to purchase, up to the Receipts
Purchased Amount, future Receipts on a weekly basis according to the attached schedule. White Road shall have the right to terminate the purchase of any
additional future Receipts as set forth in Section 2 of this Addendum.

2. White Road’s Obligation to Make Future Purchases: White Road reserves the right to terminate its obligation to make the weekly purchases at its
option, if upon: (i) a Event of Default has occurred, as defined in the Agreement; (ii) Merchant fails to provide to White Road a monthly Account
statement, access codes to the Account, and full access to merchant’s Account prior making any weekly purchase as contemplated herein; (iii) Merchant
obtains any additional funding without providing prior written notice to and receiving written approval from White Road; (iv) the Specified Percentage of
its weekly Receipts is not available for ACH by White Road on any three (3) business days within any twenty (20) business day period; (v) Merchant has
a 20% decline in monthly deposits that is not due to regular seasonal payment fluctuations; (vi) White Road believes in its sole judgment that Merchant’s
business may not be able to generate future Receipts sufficient to deliver the Purchased Receipts in a timely manner, vii) the Account has a negative
balance; viii) Merchant is in arrears with respect to its payment obligations under the Agreement or ix) the Merchant has failed to provide White Road
with a complete account receivable report within any thirty (30) day period prior to any weekly purchase contemplated herein In the event that weekly
purchases are terminated, the Merchant will remain obligated to deliver the Specified Percentage of its weekly Receipts to White Road until White Road
has received the Receipts White Road purchased prior to termination, and to comply with all other provisions of this Agreement.

3. Merchant’s Indebtedness When Receipts Purchased Amount Is Sold In Increments: When Merchant sells and White Road purchases the Receipts
Purchased Amount, or portions thereof, in increments, the Merchant’s indebtedness to White Road under the Agreement (excluding any fees and expenses
then then due and owing) shall at any given point in time be equal to the percentage of the total Receipts Purchase Amount that the total of all increments
then paid by White Road to the Merchant bears to Total Purchase Price as set forth in the Agreement.

THE TERMS OF THIS ATTACHMENT A ARE HEREBY INCORPORATED INTO AND MADE A PART OF THE MERCHANT AGREEMENT
IDENTIFIED ABOVE, AND MERCHANT HEREBY ACKNOWLEDGES THAT THE PERIODIC PURCHASE OF FUTURE RECEIPTS
HEREUNDER ARE SUBJECT TO THE TERMS AND CONDITIONS OF THE MERCHANT AGREEMENT
  MERCHANT (#1)                                                                  Signature             {{ ds_merchant_sign_1 }}
  Full Name:             JESSE LEE KAGARICE                                      Social Security No:
  Title                  Sole Member                                             Driver License No:
  Home Address:          18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505   Email:                jesse@jlkconstruction.com


  OWNER / GUARANTOR (#1)                                                         Signature             {{ ds_merchant_sign_1 }}
  Full Name:             JESSE LEE KAGARICE                                      Social Security No:
  Title                  Sole Member                                             Driver License No:
  Home Address:          18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505   Email:                jesse@jlkconstruction.com




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Merchant #1 Initials: _______                                                                                                                      Page 19 of 20
                                                                                                            Agent Name: ISO - Premium Merchant Funding
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                                                                              ANT INFORMATION
                                                                                                                                                Desc Main
                                                                    Document     Page 101 of 141
  Merchant’s Legal Name:                                                  JLK CONSTRUCTION, LLC.
  D/B/A:                                                                  JLK CONSTRUCTION, LLC.
  Federal EIN:
  Physical Address:                                                       18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505



                                       White Road Weekly Distribution Grid-Special Agreement


               Increment                  1                              2                        3                  4                     5
               Amount                     $20,241.10                     $19,546.10               $19,546.10         $19,546.10            $19,546.10
               Increment                  6                              7                        8                  9                     10
               Amount                     $19,546.10                     $19,546.10               $19,546.10         $19,546.10            $19,546.10
               Increment                  11                             12                       13                 14                    15
               Amount                     $17,171.10                     $12,221.10               $9,821.10          $9,821.10             $9,821.10
               Increment                  16                             17                       18
               Amount                     $7,901.10                      $7,826.10                $6,261.30



                                     *Appropriate fee will be deducted from the first increment.

                                                   See APPENDIX A STRUCTURE for fee details.

  MERCHANT (#1)                                                                    Signature                   {{ ds_merchant_sign_1 }}
  Full Name:               JESSE LEE KAGARICE                                      Social Security No:
  Title                    Sole Member                                             Driver License No:
  Home Address:            18900 STATE ROUTE DD HIGHWAY, Saint Joseph, MO, 64505   Email:                      jesse@jlkconstruction.com




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Certificate Of Completion
Envelope Id:                                                                                        Status: Completed
Subject: GFE Merchant Contract for JLK CONSTRUCTION, LLC..
Source Envelope:
Document Pages: 20                                 Signatures: 14                                   Envelope Originator:
Certificate Pages: 5                               Initials: 19                                     GFE Contract Team
AutoNav: Enabled                                                                                    27-01 Queens Plaza North, Suite 802
EnvelopeId Stamping: Enabled                                                                        Long Island City, NY 11101
Time Zone: (UTC-05:00) Eastern Time (US & Canada)                                                   underwriting@globalfundingexperts.com
                                                                                                    IP Address: 54.68.3.6

Record Tracking
Status: Original                                   Holder: GFE Contract Team                        Location: DocuSign
        7/13/2022 3:37:44 PM                                underwriting@globalfundingexperts.com

Signer Events                                      Signature                                        Timestamp
JESSE LEE KAGARICE                                                                                  Sent: 7/13/2022 3:37:46 PM
jesse@jlkconstruction.com                                                                           Viewed: 7/13/2022 3:39:35 PM
President                                                                                           Signed: 7/13/2022 4:01:35 PM
Security Level: Email, Account Authentication
(None)                                             Signature Adoption: Pre-selected Style
                                                   Using IP Address:


Electronic Record and Signature Disclosure:
   Accepted: 7/13/2022 3:39:35 PM
   ID:


In Person Signer Events                            Signature                                        Timestamp

Editor Delivery Events                             Status                                           Timestamp

Agent Delivery Events                              Status                                           Timestamp

Intermediary Delivery Events                       Status                                           Timestamp

Certified Delivery Events                          Status                                           Timestamp

Carbon Copy Events                                 Status                                           Timestamp
ISO - Premium Merchant Funding                                                                      Sent: 7/13/2022 3:37:47 PM
underwriting@pmfus.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Liliana V. Hernandez                                                                                Sent: 7/13/2022 3:37:47 PM
iso@globalfundingexperts.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign




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                                                        Document     Page 103 of 141
Carbon Copy Events                                 Status                            Timestamp
Underwriting departement                                                             Sent: 7/13/2022 3:37:46 PM
underwriting@globalfundingexperts.com                                                Resent: 7/13/2022 4:01:39 PM
GFE Contract Team
Global Funding Experts
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                     Signature                         Timestamp

Notary Events                                      Signature                         Timestamp

Envelope Summary Events                            Status                            Timestamps
Envelope Sent                                      Hashed/Encrypted                  7/13/2022 3:37:47 PM
Certified Delivered                                Security Checked                  7/13/2022 3:39:35 PM
Signing Complete                                   Security Checked                  7/13/2022 4:01:35 PM
Completed                                          Security Checked                  7/13/2022 4:01:35 PM

Payment Events                                     Status                            Timestamps
Electronic Record and Signature Disclosure




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             Case 23-04033-btf              Doc 1     Filed 10/25/23 Entered 10/25/23 18:04:59     Desc Main
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                                                     Document     Page 104 of 141



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Global Funding Experts (we, us or Company) may be required by law to
            provide to you certain written notices or disclosures. Described below are the terms and
            conditions for providing to you such notices and disclosures electronically through the DocuSign
            system. Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically




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Unless you tell us otherwise in accordance with the procedures described herein, we will provide
electronically to you through the DocuSign system all required notices, disclosures,
authorizations, acknowledgements, and other documents that are required to be provided or made
available to you during the course of our relationship with you. To reduce the chance of you
inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
notices and disclosures to you by the same method and to the same address that you have given
us. Thus, you can receive all the disclosures and notices electronically or in paper format through
the paper mail delivery system. If you do not agree with this process, please let us know as
described below. Please also see the paragraph immediately above that describes the
consequences of your electing not to receive delivery of the notices and disclosures
electronically from us.


How to contact Global Funding Experts:

You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
To contact us by email send messages to: underwriting@globalfundingexperts.com


To advise Global Funding Experts of your new email address

To let us know of a change in your email address where we should send notices and disclosures
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at underwriting@globalfundingexperts.com and in the body of such request you must state: your
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select the check-box indicating you wish to withdraw your consent, or you may;

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JLK Construction LLC                                             Annual Interest Rate                  250.3150%
Global Funding Experts 8-2-21                                    Daily Interest Rate                     0.6858%

            Date            Transaction              Payment             Interest        Principle        Balance

       8/2/2021 Original Loan Amount                                                                    47,246.84
                Loan fee deducted                                                                        8,750.00
                Loan deposited                                                                          38,496.84
       8/3/2021 Payment                              1,300.00            264.01          1,035.99       37,460.85
       8/4/2021 Payment                              1,300.00            256.90          1,043.10       36,417.75
       8/5/2021 Payment                              1,300.00            249.75          1,050.25       35,367.50
       8/6/2021 Payment                              1,300.00            242.55          1,057.45       34,310.05
       8/9/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      43,556.89
       8/9/2021 Payment                              1,300.00            298.71          1,001.29       42,555.60
      8/10/2021 Payment                              1,300.00            291.84          1,008.16       41,547.45
      8/11/2021 Payment                              1,300.00            284.93          1,015.07       40,532.38
      8/12/2021 Payment                              1,300.00            277.97          1,022.03       39,510.35
      8/13/2021 Payment                              1,300.00            270.96          1,029.04       38,481.31
      8/16/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      47,728.15
      8/16/2021 Payment                              1,300.00            327.32            972.68       46,755.46
      8/17/2021 Payment                              1,300.00            320.65            979.35       45,776.11
      8/18/2021 Payment                              1,300.00            313.93            986.07       44,790.04
      8/13/2021 Payment                              1,300.00            307.17            992.83       43,797.21
      8/20/2021 Payment                              1,300.00            300.36            999.64       42,797.57
      8/23/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      52,044.41
      8/23/2021 Payment                              1,300.00            356.92            943.08       51,101.32
      8/24/2021 Payment                              1,300.00            350.45            949.55       50,151.77
      8/25/2021 Payment                              1,300.00            343.94            956.06       49,195.71
      8/26/2021 Payment                              1,300.00            337.38            962.62       48,233.09
      8/27/2021 Payment                              1,300.00            330.78            969.22       47,263.87
      8/30/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      56,510.71
      8/30/2021 Payment                              1,300.00            387.55            912.45       55,598.26
      8/31/2021 Payment                              1,300.00            381.29            918.71       54,679.55
       9/1/2021 Payment                              1,300.00            374.99            925.01       53,754.54
       9/2/2021 Payment                              1,300.00            368.65            931.35       52,823.19
       9/3/2021 Payment                              1,300.00            362.26            937.74       51,885.44
       9/7/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      61,132.28
       9/7/2021 Payment                              1,300.00            419.24            880.76       60,251.53
       9/7/2021 Payment                              1,300.00            413.20            886.80       59,364.73
       9/8/2021 Payment                              1,300.00            407.12            892.88       58,471.85
       9/9/2021 Payment                              1,300.00            401.00            899.00       57,572.84
      9/10/2021 Payment                              1,300.00            394.83            905.17       56,667.68
      9/13/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      65,914.52
      9/13/2021 Payment                              1,300.00            452.04            847.96       65,066.55
      9/14/2021 Payment                              1,300.00            446.22            853.78       64,212.78
      9/15/2021 Payment                              1,300.00            440.37            859.63       63,353.15
      9/16/2021 Payment                              1,300.00            434.47            865.53       62,487.62
      9/17/2021 Payment                              1,300.00            428.54            871.46       61,616.15
      9/20/2021 Additional monies (see note)        (9,246.84)             0.00         (9,246.84)      70,862.99
      9/20/2021 Payment                              1,300.00            485.97            814.03       70,048.97


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      Date             Transaction                Payment       Interest     Principle        Balance

 9/21/2021 Payment                                1,300.00      480.39         819.61       69,229.36
 9/22/2021 Payment                                1,300.00      474.77         825.23       68,404.13
 9/23/2021 Payment                                1,300.00      469.11         830.89       67,573.24
 9/24/2021 Payment                                1,300.00      463.41         836.59       66,736.66
 9/27/2021 Additional monies (see note)          (9,246.84)       0.00      (9,246.84)      75,983.50
 9/28/2021 Payment                                1,300.00      521.09         778.91       75,204.59
 9/29/2021 Payment                                1,300.00      515.75         784.25       74,420.34
 9/30/2021 Payment                                1,300.00      510.37         789.63       73,630.71
 10/1/2021 Payment                                1,300.00      504.96         795.04       72,835.66
 10/4/2021 Payment                                1,300.00      499.50         800.50       72,035.17
 10/4/2021 Additional monies (see note)          (3,778.44)       0.00      (3,778.44)      75,813.61
 10/5/2021 Payment                                1,300.00      519.93         780.07       75,033.53
 10/6/2021 Payment                                1,300.00      514.58         785.42       74,248.11
 10/7/2021 Payment                                1,300.00      509.19         790.81       73,457.30
 10/8/2021 Payment                                1,300.00      503.77         796.23       72,661.06
10/12/2021 Payment                                1,300.00      498.31         801.69       71,859.37
10/12/2021 Payment                                1,300.00        0.00       1,300.00       70,559.37
10/13/2021 Payment                                1,300.00      483.89         816.11       69,743.26
10/14/2021 Payment                                1,300.00      478.30         821.70       68,921.56
10/15/2021 Payment                                1,300.00      472.66         827.34       68,094.22
10/18/2021 Payment                                1,300.00      466.99         833.01       67,261.20
10/19/2021 Payment                                1,300.00        0.00       1,300.00       65,961.20
10/20/2021 Payment                                1,300.00      452.36         847.64       65,113.56
10/21/2021 Payment                                1,300.00      446.55         853.45       64,260.11
10/22/2021 Payment                                1,300.00      440.69         859.31       63,400.80
10/25/2021 Payment                                1,300.00      434.80         865.20       62,535.60
10/26/2021 Payment                                1,300.00      428.87         871.13       61,664.46
10/27/2021 Payment                                1,300.00      422.89         877.11       60,787.35
10/28/2021 Payment                                1,300.00        0.00       1,300.00       59,487.35
10/29/2021 Payment                                1,300.00      407.96         892.04       58,595.32
 11/1/2021 Payment                                1,300.00      401.84         898.16       57,697.16
 11/2/2021 Payment                                1,300.00      395.68         904.32       56,792.84
 11/3/2021 Payment                                1,300.00      389.48         910.52       55,882.33
 11/4/2021 Payment                                1,300.00      383.24         916.76       54,965.56
 11/5/2021 Payment                                1,300.00      376.95         923.05       54,042.51
 11/8/2021 Payment                                1,300.00      370.62         929.38       53,113.13
 11/9/2021 Payment                                1,300.00        0.00       1,300.00       51,813.13
11/10/2021 Payment                                1,300.00      355.33         944.67       50,868.47
11/12/2021 Payment                                1,300.00      348.85         951.15       49,917.32
11/12/2021 Payment                                1,300.00      342.33         957.67       48,959.65
11/15/2021 Payment                                1,300.00      335.76         964.24       47,995.41
11/16/2021 Payment                                1,300.00      329.15         970.85       47,024.56




             Totals - Net of Additional monies   97,500.00    11,510.96    229,726.28


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JLK Construction LLC                                            Annual Interest Rate                   133.5360%
Global Funding Experts 12-7-21                                  Daily Interest Rate                      0.3659%

            Date           Transaction              Payment             Interest         Principle        Balance

      12/8/2021 Original Loan Amount                                                                   106,090.50
                Loan fee deducted                                                                            0.00
                Loan deposited                                                                         106,090.50
      12/9/2021 Payment                             3,999.00            388.13           3,610.87      102,479.63
     12/10/2021 Payment                             3,999.00            374.92           3,624.08       98,855.56
     12/13/2021 Payment                             3,999.00            361.67           3,637.33       95,218.22
     12/14/2021 Payment                             3,999.00            348.36           3,650.64       91,567.58
     12/15/2021 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     124,658.08
     12/15/2021 Payment                             3,999.00            456.06           3,542.94      121,115.15
     12/16/2021 Payment                             3,999.00            443.10           3,555.90      117,559.25
     12/17/2021 Payment                             3,999.00            430.09           3,568.91      113,990.34
     12/20/2021 Payment                             3,999.00            417.04           3,581.96      110,408.38
     12/21/2021 Payment                             3,999.00            403.93           3,595.07      106,813.31
     12/22/2021 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     139,903.81
     12/22/2021 Payment                             3,999.00            511.84           3,487.16      136,416.65
     12/23/2021 Payment                             3,999.00            499.08           3,499.92      132,916.73
     12/24/2021 Payment                             3,999.00            486.28           3,512.72      129,404.01
     12/27/2021 Payment                             3,999.00            473.43           3,525.57      125,878.44
     12/28/2021 Payment                             3,999.00            460.53           3,538.47      122,339.97
     12/29/2021 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     155,430.47
     12/29/2021 Payment                             3,999.00            568.65           3,430.35      152,000.11
     12/30/2021 Payment                             3,999.00            556.10           3,442.90      148,557.21
     12/31/2021 Payment                             3,999.00            543.50           3,455.50      145,101.71
       1/3/2022 Payment                             3,999.00            530.86           3,468.14      141,633.56
       1/4/2022 Payment                             3,999.00            518.17           3,480.83      138,152.73
       1/5/2022 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     171,243.23
       1/5/2022 Payment                             3,999.00            626.50           3,372.50      167,870.73
       1/6/2022 Payment                             3,999.00            614.16           3,384.84      164,485.89
       1/7/2022 Payment                             3,999.00            601.78           3,397.22      161,088.66
      1/10/2022 Payment                             3,999.00            589.35           3,409.65      157,679.01
      1/11/2022 Payment                             3,999.00            576.87           3,422.13      154,256.88
      1/12/2022 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     187,347.38
      1/12/2022 Payment                             3,999.00            685.41           3,313.59      184,033.80
      1/13/2022 Payment                             3,999.00            673.29           3,325.71      180,708.09
      1/14/2022 Payment                             3,999.00            661.12           3,337.88      177,370.21
      1/18/2022 Payment                             3,999.00            648.91           3,350.09      174,020.12
      1/18/2022 Payment                             3,999.00            636.66           3,362.34      170,657.78
      1/19/2022 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     203,748.28
      1/19/2022 Payment                             3,999.00            745.42           3,253.58      200,494.70
      1/20/2022 Payment                             3,999.00            733.51           3,265.49      197,229.21
      1/21/2022 Payment                             3,999.00            721.57           3,277.43      193,951.78
      1/24/2022 Payment                             3,999.00            709.58           3,289.42      190,662.36
      1/25/2022 Payment                             3,999.00            697.54           3,301.46      187,360.90
      1/26/2022 Additional monies (see note)      (33,090.50)             0.00         (33,090.50)     220,451.40
      1/26/2022 Payment                             3,999.00            806.53           3,192.47      217,258.92


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     Date            Transaction              Payment      Interest     Principle        Balance

1/27/2022 Payment                             3,999.00      794.85      3,204.15      214,054.77
1/28/2022 Payment                             3,999.00      783.12      3,215.88      210,838.89
1/31/2022 Payment                             3,999.00      771.36      3,227.64      207,611.25
 2/1/2022 Payment                             3,999.00      759.55      3,239.45      204,371.80
 2/2/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     237,462.30
 2/2/2022 Payment                             3,999.00      868.76      3,130.24      234,332.06
 2/3/2022 Payment                             3,999.00      857.31      3,141.69      231,190.37
 2/4/2022 Payment                             3,999.00      845.81      3,153.19      228,037.19
 2/7/2022 Payment                             3,999.00      834.28      3,164.72      224,872.47
 2/8/2022 Payment                             3,999.00      822.70      3,176.30      221,696.17
 2/9/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     254,786.67
 2/9/2022 Payment                             3,999.00      932.14      3,066.86      251,719.81
2/10/2022 Payment                             3,999.00      920.92      3,078.08      248,641.73
2/11/2022 Payment                             3,999.00      909.66      3,089.34      245,552.39
2/14/2022 Payment                             3,999.00      898.36      3,100.64      242,451.75
2/15/2022 Payment                             3,999.00      887.01      3,111.99      239,339.76
2/16/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     272,430.26
2/16/2022 Payment                             3,999.00      996.69      3,002.31      269,427.96
2/17/2022 Payment                             3,999.00      985.71      3,013.29      266,414.66
2/18/2022 Payment                             3,999.00      974.68      3,024.32      263,390.35
2/22/2022 Payment                             3,999.00      963.62      3,035.38      260,354.97
2/22/2022 Payment                             3,999.00      952.51      3,046.49      257,308.48
2/23/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     290,398.98
2/23/2022 Payment                             3,999.00    1,062.43      2,936.57      287,462.41
2/24/2022 Payment                             3,999.00    1,051.69      2,947.31      284,515.10
2/25/2022 Payment                             3,999.00    1,040.90      2,958.10      281,557.00
2/28/2022 Payment                             3,999.00    1,030.08      2,968.92      278,588.08
 3/1/2022 Payment                             3,999.00    1,019.22      2,979.78      275,608.30
 3/2/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     308,698.80
 3/2/2022 Payment                             3,999.00    1,129.38      2,869.62      305,829.19
 3/3/2022 Payment                             3,999.00    1,118.88      2,880.12      302,949.07
 3/4/2022 Payment                             3,999.00    1,108.35      2,890.65      300,058.41
 3/7/2022 Payment                             3,999.00    1,097.77      2,901.23      297,157.18
 3/8/2022 Payment                             3,999.00    1,087.16      2,911.84      294,245.34
 3/9/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     327,335.84
 3/9/2022 Payment                             3,999.00    1,197.56      2,801.44      324,534.40
3/10/2022 Payment                             3,999.00    1,187.32      2,811.68      321,722.72
3/11/2022 Payment                             3,999.00    1,177.03      2,821.97      318,900.75
3/14/2022 Payment                             3,999.00    1,166.70      2,832.30      316,068.45
3/15/2022 Payment                             3,999.00    1,156.34      2,842.66      313,225.80
3/16/2022 Additional monies (see note)      (33,090.50)       0.00    (33,090.50)     346,316.30
3/16/2022 Payment                             3,999.00    1,267.01      2,731.99      343,584.30
3/17/2022 Payment                             3,999.00    1,257.01      2,741.99      340,842.31
3/18/2022 Payment                             3,999.00    1,246.98      2,752.02      338,090.29
3/21/2022 Payment                             3,999.00    1,236.91      2,762.09      335,328.20
3/22/2022 Payment                             3,999.00    1,226.81      2,772.19      332,556.01
3/23/2022 Additional monies (see note)      (30,642.50)       0.00    (30,642.50)     363,198.51


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    Date             Transaction                 Payment       Interest     Principle        Balance

3/23/2022 Payment                                3,999.00     1,328.77      2,670.23      360,528.28
3/24/2022 Payment                                3,999.00     1,319.00      2,680.00      357,848.28
3/25/2022 Payment                                3,999.00     1,309.20      2,689.80      355,158.47
3/28/2022 Payment                                3,999.00     1,299.35      2,699.65      352,458.83
3/29/2022 Payment                                3,999.00     1,289.48      2,709.52      349,749.30
3/30/2022 Payment                                3,999.00     1,279.57      2,719.43      347,029.87
3/31/2022 Payment                              566,076.00     1,269.62    564,806.38     (217,776.52)
3/31/2022 Payment                                3,999.00         0.00      3,999.00     (221,775.52)
 4/1/2022 Payment                                3,999.00         0.00      3,999.00     (225,774.52)
4/11/2022 Refund                               (27,993.00)        0.00    (27,993.00)    (197,781.52)




           Totals - Net of Additional monies   893,994.00    41,381.82    797,781.52




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JLK Construction LLC                                                 Annual Interest Rate                    169.3500%
Global Funding Experts - 7/13/22                                     Daily Interest Rate                       0.4640%

            Date             Transaction                  Payment            Interest         Principle         Balance

      7/14/2022 Original Loan Amount                                                                          20,241.10
                Loan fee deducted                                                                                  0.00
                Loan deposited                                                                                20,241.10
      7/18/2022 Payment                                  2,499.00            375.65           2,123.35        18,117.75
      7/19/2022 Payment                                  2,499.00            336.25           2,162.75        15,955.00
      7/20/2022 Payment                                  2,499.00            296.11           2,202.89        13,752.11
      7/21/2022 Additional monies - see note           (19,546.10)             0.00         (19,546.10)       33,298.21
      7/21/2022 Payment                                  2,499.00            617.98           1,881.02        31,417.18
      7/22/2022 Payment                                  2,499.00            583.07           1,915.93        29,501.25
      7/25/2022 Payment                                  2,499.00            547.51           1,951.49        27,549.76
      7/26/2022 Payment                                  2,499.00            511.29           1,987.71        25,562.06
      7/27/2022 Payment                                  2,499.00            474.40           2,024.60        23,537.46
      7/28/2022 Additional monies - see note           (19,546.10)             0.00         (19,546.10)       43,083.56
      7/28/2022 Payment                                  2,499.00            799.58           1,699.42        41,384.14
      7/28/2022 Payment                                 60,716.29            768.04          59,948.25       (18,564.10)
       8/4/2022 Additional monies - see note            (4,998.00)          (344.53)         (4,653.47)      (13,910.63)


                   Totals - Net of Additional
                   monies                               83,207.29          4,965.36          78,241.93




Note: Additional Monies - The loan was broken into 18 amounts made on a weekly basis. The lender
only advances 4 of the 18 scheduled amounts for a total of $64,331.20.

On July 28, 2022, the lender withdrew the final payment of $60,716.29 to pay off the loan.
The lender then on August 4, 2022, sent additional funds in the amount of $4,998.00.
The amount withdrawn less the final additional funds provided resulted in the lender
receiving $13,910.63 in money in excess of the amounts loaned




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JLK Construction LLC                                          Annual Interest Rate                  263.1000%
Global Funding Experts - 8/5/22                               Daily Interest Rate                     0.7208%

            Date           Transaction              Payment           Interest       Principle        Balance

       8/9/2022 Original Loan Amount                                                                50,000.00
                Loan fee deducted                                                                    5,000.00
                Loan deposited                                                                      45,000.00
       8/9/2022 Payment                              590.45           324.37          266.08        44,733.92
      8/10/2022 Payment                              590.45           322.45          268.00        44,465.92
      8/11/2022 Payment                              590.45           320.52          269.93        44,195.99
      8/12/2022 Payment                              590.45           318.57          271.88        43,924.12
      8/15/2022 Payment                              590.45           316.61          273.84        43,650.28
      8/16/2022 Payment                              590.45           314.64          275.81        43,374.47
      8/17/2022 Payment                              590.45           312.65          277.80        43,096.67
      8/18/2022 Payment                              590.45           310.65          279.80        42,816.87
      8/19/2022 Payment                              590.45           308.63          281.82        42,535.06
      8/22/2022 Payment                              590.45           306.60          283.85        42,251.21
      8/23/2022 Payment                              590.45           304.56          285.89        41,965.32
      8/24/2022 Payment                              590.45           302.50          287.95        41,677.36
      8/25/2022 Payment                              590.45           300.42          290.03        41,387.33
      8/26/2022 Payment                              590.45           298.33          292.12        41,095.21
      8/29/2022 Payment                              590.45           296.22          294.23        40,800.98
      8/30/2022 Payment                              590.45           294.10          296.35        40,504.64
      8/31/2022 Payment                              590.45           291.97          298.48        40,206.15
       9/1/2022 Payment                              590.45           289.81          300.64        39,905.52
       9/2/2022 Payment                              590.45           287.65          302.80        39,602.71
       9/6/2022 Payment                              590.45           285.47          304.98        39,297.73
       9/6/2022 Payment                              590.45           283.27          307.18        38,990.55
       9/7/2022 Payment                              590.45           281.05          309.40        38,681.15
       9/8/2022 Payment                              590.45           278.82          311.63        38,369.52
       9/9/2022 Payment                              590.45           276.58          313.87        38,055.65
      9/12/2022 Payment                              590.45           274.31          316.14        37,739.51
      9/13/2022 Payment                              590.45           272.03          318.42        37,421.09
      9/14/2022 Payment                              590.45           269.74          320.71        37,100.38
      9/15/2022 Payment                              590.45           267.43          323.02        36,777.36
      9/16/2022 Payment                              590.45           265.10          325.35        36,452.01
      9/19/2022 Payment                              590.45           262.75          327.70        36,124.32
      9/20/2022 Payment                              590.45           260.39          330.06        35,794.26
      9/21/2022 Payment                              590.45           258.01          332.44        35,461.82
      9/22/2022 Payment                              590.45           255.62          334.83        35,126.99
      9/23/2022 Payment                              590.45           253.20          337.25        34,789.74
      9/26/2022 Payment                              590.45           250.77          339.68        34,450.06
      9/27/2022 Payment                              590.45           248.32          342.13        34,107.94
      9/28/2022 Payment                              590.45           245.86          344.59        33,763.34
      9/29/2022 Payment                              590.45           243.37          347.08        33,416.27
      9/30/2022 Payment                              590.45           240.87          349.58        33,066.69
      10/3/2022 Payment                              590.45           238.35          352.10        32,714.59
      10/4/2022 Payment                              590.45           235.81          354.64        32,359.95


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     Date            Transaction             Payment       Interest    Principle        Balance

 10/5/2022 Payment                             590.45      233.26        357.19       32,002.76
 10/6/2022 Payment                             590.45      230.68        359.77       31,642.99
 10/7/2022 Payment                             590.45      228.09        362.36       31,280.63
10/11/2022 Payment                             590.45      225.48        364.97       30,915.66
10/11/2022 Payment                             590.45      222.85        367.60       30,548.06
10/12/2022 Payment                             590.45      220.20        370.25       30,177.81
10/13/2022 Payment                             590.45      217.53        372.92       29,804.88
10/14/2022 Payment                             590.45      214.84        375.61       29,429.27
10/17/2022 Payment                             590.45      212.13        378.32       29,050.96
10/18/2022 Payment                             590.45      209.41        381.04       28,669.91
10/19/2022 Payment                             590.45      206.66        383.79       28,286.12
10/20/2022 Payment                             590.45      203.89        386.56       27,899.56
10/21/2022 Payment                             590.45      201.11        389.34       27,510.22
10/24/2022 Payment                             590.45      198.30        392.15       27,118.07
10/25/2022 Payment                             590.45      195.47        394.98       26,723.09
10/26/2022 Payment                             590.45      192.63        397.82       26,325.27
10/27/2022 Payment                             590.45      189.76        400.69       25,924.58
10/28/2022 Payment                             590.45      186.87        403.58       25,521.00
10/31/2022 Payment                             590.45      183.96        406.49       25,114.51
 11/1/2022 Payment                             590.45      181.03        409.42       24,705.09
 11/2/2022 Payment                             590.45      178.08        412.37       24,292.72
 11/3/2022 Payment                             590.45      175.11        415.34       23,877.38
 11/4/2022 Payment                             590.45      172.11        418.34       23,459.04
 11/7/2022 Payment                             590.45      169.10        421.35       23,037.69
 11/8/2022 Payment                             590.45      166.06        424.39       22,613.30
 11/9/2022 Payment                             590.45      163.00        427.45       22,185.85
11/10/2022 Payment                             590.45      159.92        430.53       21,755.32
11/14/2022 Payment                             590.45      156.82        433.63       21,321.69
11/14/2022 Payment                             590.45      153.69        436.76       20,884.93
11/14/2022 Payment                          26,090.30        0.00     26,090.30       (5,205.37)


            Totals                          67,421.80    17,216.43    50,205.37




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